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                                        CAUSE NOS.    6986         7127           7130

               THE   STATE    OF   TEXAS                    IN    THE    DISTRICT         COURT         OF.


                                                            MORRIS       COUNTY          TEXAS
               VS.
                                                            76TH       JUDICIAL        DISTRICT


               BILLY   JOE    WARDLOW                       AUGUST       TERM      A.D.      1994




                             DEFENDANTS     MOTION        FOR   CHANGE       OF   VENUE
                                                                                                    -




                                            August    12        1994


                                        VOLUME   5   of    43    volumes




                                                                        FILED     IN
                                                                COURT OF   PROW    A   nruAI e



                                                                       OCT   1.1 1995



                                                                Troy C. Bennett    Jr.   uierk
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    22                                                               COURT OF   CRIMN n       4LS




    23                                                                     OCT 111995


    24                                                               Troy C. Bennett   Jr.   -ýjrk



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                                      LLOYD   E.    BILLUPS   CSR.   149

                                          76TH      ACA   DMMO
                                              Ma.   RFAMW.    tons
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      6                     RON   GOETZ

      7                               DIRECT                                                   22/5

      8                               CROSS                                                    36/5

      9                               REDIRECT                                                 37/5


     10                     RONALD    M.    COWAN

     11                               DIRECT                                                   38/5


     12                               CROSS                                                    48/5


     13                               REDIRECT                                                 52/5

     14                     GROVER    DYAS


     15                               DIRECT                                                   54/5


     16                               CROSS                                                    57/5

     17                               REDIRECT                                                 58/5


     18                     WILLIAM    H.    McCOY

     19                               DIRECT                                                   60/5


    .2                                CROSS                                                    66/5


    21                                REDIRECT                                                 68/5


    22                                RECROSS                                                  69/5


     23                               REDIRECT                                                 70/5


     24                     JOEL BUMPASS


     25                               DIRECT                                                   71/5




                                                                                                      1
                                             LLOYD   E.    BILLUPS       CSR 149
                                                ORRCIAL      COURT     REPORTER

                                                 76TH      AIAICWL     DISTRICT

                                                     MI.   PLEASANT.    TEXAS
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      5                               REDIRECT                                                  76/5


      6                     JOHNNY    FLOYD

      7                               DIRECT                                                    77/5


     8                                CROSS                                                     80/5


      9                               REDIRECT                                                  83/5


     10                     RUSSELL        GUEST


     11                               DIRECT                                                     85/5


     12                               CROSS                                                      88/5


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     14                     FLETCHER        HARTGROVE


     15                                DIRECT                                                    91/5


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     18                     ROBERT     HENDERSON


     19                                DIRECT                                                    96/5


     20                     JAMES     HILL


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     23                     SUE     HILL


     24                                DIRECT                                                   105/5


     25                                CROSS                                                    107/5




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                                                       W.   PLEASNJT.    TDfAS
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     5                     A.W.    LAWTON

     6                                DIRECT                                                  109/5


     7                                CROSS                                                   113/5


     8                                REDIRECT                                                113/5


     9                     CATHY    BYRD


    10                                DIRECT                                                  115/5


    11                     PATSY    MARTIN


     12                               DIRECT                                                  119/5


     13                    W.S.    NASH


    14                                DIRECT                                                  124/5


     15                               CROSS                                                   126/5


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     24



     25




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                                                      MT.    F   LE S.   NT. TEXAS
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1
          3                                                                   MORRIS            COUNTY     TEXAS
                  VS.
          4                                                                    76TH        JUDICIAL       DISTRICT

          5       BILLY   JOE    WARDLOW                                      AUGUST            TERM     A.D.   1994


          6




          7                     DEFENDANTS       MOTION               FOR          CHANGE         OF VENUE


          8                                     August              12           1994


          9                                VOLUME      5      of         43 volumes


         10




         11                            Before Honorable                         Paul           Banner


         12                            Judge   by Judicial                       Assignment

         13




         14                                         APPEARANCES


         15




         16        ATTORNEYS     FOR    THE    STATE    OF          TEXAS

         17                      MR.    RICHARD     TOWNSEND
                                 District Attorney
         18                      Morris County Courthouse
                                 Daingerfield           Texas                  75638
         19




         20



         21        ATTORNEYS     FOR    THE    DEFENDANT

         22                      MR. BIRD OLD III
                                 Law Offices of Bird                            Old         III
         23                      P.O. Box 448
                                 Mt.    Pleasant           Texas                754560448
         24



         25




                                                                                                                            1
                                                  LLOYD     E.    BILLUPS      CSR 149
                                                       OFRcIAL COURT          REPORTER

                                                           76TH   AAICIAL     ISMCT
                                                           Art.   PLEASANT.   TEXAS
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                                                   On     the      12th                       of        August                        1994
          1

                                                                                    day                                 A.D.


                   at    the                  Term                       1994
          2
                                August                    A.D.                                the       above-entitled                  and
1

          3
                  numbered causes                 came    on for hearing                        before         said Honorable

          4
                  Court         Judge       Paul     Banner               Judge               by    Judicial            Assignment

          5
                  presiding            and the           following proceedings                                 were       had

          6




          7
                                                                          MR.          OLD          Judge before we                     get




         --13
          8        started       can    I    get    the     Sheriff                  to       bring me          my client

          9
                                                                          THE           COURT             Okay.           This         case

         10
                   originally is              11698611          apparently                         re-indicted               to       7127

         11        and now       this       the    presenting                 indictment                  as       7130.

         12
                                                                          MR.           TOWNSEND                Your Honor


                                                                          THE           COURT             Capital murder.

         14
                                                                          MR.           TOWNSEND               -   -   Your Honor

         15        I    would   ask    that       we      for the            purpose                of   this hearing                  file


         16        to    be     carried           forward          from             each           case       as       far        as    the

         17       motion.

         18
                                                                           THE          COURT            Mr.       Old have you

         19       been     in    it    all    along

         20                                                               MR.              OLD           No        sir.           I    have

         21        not.


         22                                                                THE               COURT             Is         there         any

         23        reason       that        any    motions           or        that           might        have         been          dealt

         24        with       earlier         why        they      shouldnt                        be    made          part       of    the


         25        record       of    this    without           doing              everything              all         over       again



                                                                                                                                              2
                                                           LLOYD   E.   BILLUPS     CSR 149
                                                                OFFIGAL COURT      REPORTER

                                                                 76TH.IAICIALT      SIRICT

                                                                   MT. PLEASANT.   TEXAS
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      1
                                                                          MR.          OLD        No          Your     Honor.


                                                                                       COURT
      2
                                                                          THE                            Fine.

      3
                                                                          MR.       TOWNSEND                  Thank     you Your
      4        Honor.


      5
                                                                          MR.          OLD           Your       Honor         may     I


      6        call    the   Courts attention                             to       a     problem we             may         have

      7
                                                                          THE          COURT             Yes         sir.


      8                                                                   MR.          OLD           I    was    told when            I



      9        got    to   the    courthouse           this               morning that                    your        assignment

     10        to    the   case    read    Marion               county.

     11                                                                   THE          COURT             Actually            theres

     12        two    assignments              one      has               been              corrected                there     is    -a



     13
               subsequent         one    that    corrected                         it       to   indicate             it.


     14                                                                   MR.          OLD       I       have not           seen the

     15        corrected.


     16                                                                   THE          COURT             Morris        county         I



     17        didnt       bring        them    but        I         have                seen     the          one     that    .say

     18        Morris county              on    it.


     19                                                                   MR.       OLD          Thats my objection.

     20                                                                   THE          COURT             It    was about           four


     21        days    later.


     22                                    Thats                     the            Defendants                   Motion             for


     23        Abatement

     24                                                                   MR.          OLD        Yes.Your                  Honor.


     25                                    Not        on       the            assignment                      Your Honor            no


                                                                                                                                      3
                                                      LLOYD    E.    BILLUPS      CSR 149
                                                           OFPAM. coURr          REPORTER

                                                              76TH   J   DK14   DARICT
                                                               Mr. P     .E   AW. TDAS
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      1
              sir.     On a different                    matter.


                                                                                         COURT
      2
                                                                          THE                                      Okay.        What          you

      3
              are    asking         on    an abatement                      is          that                this    hearing             not    be

      4
              done    today

      5
                                                                          MR.          OLD                  Thats correct                 Your

      6
              Honor.


                                                                          THE           COURT                    On the ground that

      8       there     might            be    something                     that                 I         would        hear       on        the


      9       assumption            another      judge           is        assigned to actually                                     preside

     10       he    wouldnt know               what       is      heard

     11                                                                   MR.           OLD                  Thats           correct.


     12                                                                   THE          COURT                     Does    that mean the


     13       Defense       concedes             that       the             motion                      is       not     going           to    be

     14
              granted       to      transfer

     15                                                                   MR.            OLD                 No         sir.        It    does


     16       not.      I   would         just      like         to       have                a       judge        at    a     later date

     17       if    my motion is denied                    either                   carry               the motion              or reopen


     18       the    motion         without         having                to          have              the        benefit         of     this


     19       evidence.


     20                                                                   THE          COURT                  Mr.      Townsend           have

     21
              you got       a    position           on    his          abatement

     22                                                                   MR.           TOWNSEND                        Your     Honor          I


     23       was    served          was      given a copy                     of            this by Mr.                  Old about            an

     24       hour    and       a    half      or    two         hours                  ago.                 I    have       not        had    an

     25        opportunity           to    research          the           law on                     it.        However           it    would




                                                         LLOYD   E.    BILLUPS      CSR 149                                                     4
                                                            OFRCLAL      couRl     REPORT6t

                                                               76TH    J.AIdAL     OISRACT

                                                                 MT.   PLEASANT.    TEXAS
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      1
               seem to us that we have been waiting                                                            long         enough for this

      2       Motion for Change                      of     Venue.                       From a practical                                 standpoint

      3       we     would          like    to     go      ahead                and           hear the                  motion.

      4                                                                             THE           COURT                 Well              okay.              The


      5        Motion          to    Abate       is     overruled.


      6
                                                   Mr.      Old                 I    believe we have discussed                                                on

      7        --    by       telephone          a    week           or             so        ago            or       maybe          earlier this

      8        week       is       that    the     bestI could                                 tell           theres not                          anything

      9        that       if       the    case       stayed here                             --         in other                words              if        its

     10        not        transferred                 and        if             there                    are           problems                   in         jury

     11        selection             because          of        having                   a     tainted                 pool          or       difficult


     12        pool       from which             to     get       a jury I                             dont know                    of    any reason

     13        a    judge          couldnt         do      it     and my guess                                    is    that         --       I    am hard

     14        pressed              to    figure           out          some                  way             or       another                that            the


     15        Defendant             would       be disadvantaged                                        by.      proceeding                      on.


     16                                              Obviously                       the           Defendant                    is       in custody.


      17                                                                             MR.               OLD              The          disadvantage

     18        that       I        see    Your        Honor               a         judge                at       a    later date                       is   not

      19
               going to             have     the      benefit                       of       having               heard             this          evidence


     20        that        is       going     to      be        presented                              today.               I       dont believe

     21        that           it     would       be        proper                        to            be     offered                    to       him         the


     22        Statement             of     Facts.              In    such                   things               you have               got        to       show


      23       the    unavailability                      of     a witness                              to    use       such         a    thing you

      24       have        got       to    show       the        unavailability                                        of       a    witness                 in    a


      25       criminal              case    at       least           I         believe                      that       would             be       the        law




                                                                                                                                                                   5
                                                                LLOYD     E.    BILLUPS        CSR 149
                                                                      OFTTCV        COURT    REPORTER

                                                                        76TH    .AC          DISTRICT

                                                                          MT.   P.EAW4T.      TETIAS
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           1
                   and     I       think          that       even        if           he       viewed                 it        by    Statement             of

          2
                   Facts           he     is      deprived             of      the          subjective                           judgment            of    the


           3       witness              seated            their          demeanor                             the         way        they          testify.

           4
                   It    has         an      effect          on   credibility.

           5
                                                                                        MR.            TOWNSEND-                  Your Honor              may.

           6
                   I     speak          to     that   briefly

           7
                                                                                        THE             COURT                Yes.


           8                                                                            MR.              TOWNSEND                     I      think         any

           9       judge           sitting during the jury selection                                                         that     decided             that


          10       a    fair       panel could not be selected                                                 that decision                       is    going

          11       to    be based              on what            he     sees            with                that         jury panel anyway

          12       hes         not        going       to      make          his           decision                     based          on       something

          13       that        another             judge          has       already made                              a    decision                on.

          14
                                                                                         THE                 COURT                You        folks         are


          15       welcome              to     have      a    seat          unless                    you         just       like         to       stand.


          16                                                                             MR.             TOWNSEND                    And       I    believe

          17        that       - -
ti




          18                                                                             THE             COURT               I    mean         I    had all

          19       you guys up                    there       standing                     too.               I       just       thought            you all

          20       didn        t     have anything                 you were doing                                 j   us t      wanted         to       stand.


          21        I    apologize.


          22                                                                             MR.            TOWNSEND                     My position            is


          23        that       having             a hearing             today              but               later         on    that        would        have


          24        to    be determined by the                               judge                   at       that         time         it     would       not


          25        be    based              on    this           earlier                 testimony                        after          he        saw    the




                                                                                                                                                              6
                                                                       LLOYD    E.    BILLUPS        CSR 149
                                                                            OfnCIAL COURT        REPORTER

                                                                               76TH   AO$OAL     t   SRNCT

                                                                               MT.    PIFASAM.       TEXAS
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              panel.
     1




     2                                                  Your           Honor               I         would              like           to        add    this

      3       I        know       you    have       a        lot       more              experience                      in       these            matters


      4       than        I       do    and    I    have       not           had an opportunity                                             to    research


      5
              that            this       is a capital                   murder case and                                  I    certainly                 dont

      6
              want        to       do    anything             to       cause              a problem in                            the        future but


      7        I       dont believe                 it       would.


      8                                                                              THE            COURT                I    fail           to    see that


         9     there              is     anything             that             would                    prejudice                      Mr.        Wardlow

     10        additionally there                            are        two          trips                    two ways                 to    get a case


     11           transferred                 other          than           by           agreement                       one           is        that       if    a


     12        hearing             such       as the          one        scheduled                           today           it        would           be that


     13           the    Defendant             would not be accorded                                               a    fair           trial       because


     14           of    whatever              the   general                 population                             in which                 the        jury to


      15          be     selected             was       prejudice                        the            other way                     is     if        in   fact


      16           in    trying          to    select              a    jury that                            it    become               obvious              that


                   a                   could        not        be           you            know                    jurors              could           not       be
                        panel
                                                                                                                                                   -




      17




      18           selected.


      19                                                 I    just          dont                    --        and one             isnt going                     to


      20           have       a    lot    to       do    with           the          other as                      I    see           it.



      21                                                 Gentlemen                        I         think              what       I     would          like      to


      22           do Im               going to have                   to      take            about               a    four          or five           minute


                   recess and we will                         be       off       the           record.                   Let me              talk       to       the
         23



         24        lawyers             in chambers                 now.


         25




                                                                                                                                                                      7
                                                                       LLOYD    E.   BILLUPS        CSR.     149
                                                                            OcRCM        COW       REPORTER


                                                                               76THAXAL        I
                                                                                                    SIRICT


                                                                               MT.   P    MNT.     TOW
Case 4:04-cv-00408-MAC Document 44-10 Filed 12/11/17 Page 17 of 164 PageID #: 1455
  1




       1
                                                  Recess.

       2




       3                                                                   THE               COURT           Okay.     We    will      be

       4      I   guess        on    the        record         7130                 which              is    inclusive        of       the


       5      two    prior indictments.

       6
                                                 Mr.    Wardlow                          I       am Paul          Banner    and    I    am

       7
              a   District           Judge.      that       sits            over                 in Hunt          county    which       is


       8      in Greenville.


       9                                         It    is    my understanding                                 that    because          the


      10
              judge       in     the      court       in which                 this               case       is    pending    is       not


      11      going       to   hear        it    that       the       case will                        actually       be presided


      12      over     by      somebody           assigned                 to            it.           The    indictment          is    in


      13      the     276th          is    that       Judge         Porters                           court

      14                                                                    THE                DISTRICT           CLERK        76th

      15      or     Judge      Moye       really is              the           last              one       that    passed    on       it

      16       the    76th.

      17                                                                     THE             COURT           Okay.         So both      of


      18       the   sitting judges                    elected               judges                   for this district            have


      19       stepped         aside

      20                                                                     THE             DISTRICT         CLERK         Yes    sir.


      21                                                                     THE             COURT           Anyway what       I   need


      22       to    do     is       it     has       been          called                       to    my     attention        and          I



      23       understand                 that        your          lawyer                        has        probably         already


      24       discussed            it    with you and Mr.                          Old your counsel                       may or may


      25       not    have          back        about       four             generations                      upon     both        sides




                                                                                                                                             8
                                                            LLOYD   E.    BILLUPS CSR.           149
                                                               ORTCNI       COURT    REPORTER

                                                                  76TH    .LDCIA    DSTRICT

                                                                    MT.   PLLASA    r.   TEXAS
Case 4:04-cv-00408-MAC Document 44-10 Filed 12/11/17 Page 18 of 164 PageID #: 1456

      1
              somewhere          in   the     past       may            or may                 not     have          been       related

      2
              to    the      alleged deceased                    that               is         to    Mr.       Cole.


      3                                       I    have     discussed                           once       it       was       called         to


      4
              my attention            that        might     or might                           not    have          been       the       case


      5
              as    I   discussed       it        with    Mr.           Old awhile                     ago and                Im     given

      6        to   understand          that        you      are              aware                 that        there         might          or


      7
              might not          have   been.


      8                                       The         problem                          that            comes              is         that


      9        apparently Mr.           Old        is    trying                to         verify           whether             he       is    in.


     10        some way        or another           that         there               was        by marriage                   some       sort


     11        of   common ancestor                back     upstream.                               When Mr.             Old tried to


     12        check      that    out    he        does     not            get            any        confirmation                   of       any

     13        kind     of    family tree history                          hes               got      but       I    do   understand


     14        that     might     or might          not      be           the           case.           There             isno          legal


      15       problem        that      Im        aware     of          whether                     that       were       to       be    true


      16       or    not.


      17                                      As far as you are concerned                                                is    there any


      18       problem that           you would            have

      19                                                                  THE           DEFENDANT                        No     sir.


      20                                                                  THE            COURT                 Okay.          Fine.


      21                                          Lets      go           on          to        what        I        am    really         here


      22       about      and that       is       the    transfer hearing                               or Change               of Venue


      23       Hearing.


      24                                          The burden                 is on              the Defense                so   I    guess

      25       Mr.      Old you can begin                 to call                    some witnesses                       or whatever




                                                         LLOYD    E.    BILLUPS      CSR 149
                                                            ORICIAL COURT           REPORT6i

                                                                 76TH    CICLAL     CISRCT

                                                                  MT.   PLEASANT.   TDAS
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      1
              it    is    that       you are going to                          present.

      2
                                                                             MR.         TOWNSEND                  Judge         may        I


      3
              approach          the    bench

      4
                                                                             THE         COURT           Sure.


      5




      6                                           Of f    the           record                 discussion at the bench

      7       out    of    the       hearing        of    the           Court Reporter.

      8




      9                                                                      THE         COURT           I    asked       the    Clerk

     10       too    and    I    have       read     the      motion to transfer                                   it     okay.            In


     11       7130        the     State      of     Texas               Vs.          Billy         Joe       Wardlow            if        you

     12       would       arraign the             Defendant.


     13                                                                      MR.          TOWNSEND                 In      the        name

     14       and by        the      authority           of       the              State          of   Texas              The     Grand

     15       Jurors        for       the    County         of           Morris                  State        of    Texas             duly

     16        selected          empaneled               sworn charged and organized                                           as such


     17        at    the        February-March                 Term                     A.D.       1994        of        the         276th

     18        Judicial         District          Court of                   said county                     upon       their oaths

     19
              present           in   and     to    said       court                   that        Billy       Joe        Wardlow           on

     20        the       14th        day     of      June                    A.D.               1993         and        before            the


     21
               presentment of               this     indictment                                in said county             and state

     22        did       then    and    there        intentionally. cause                                    the        death        of    an


     23        individual             namely Carl Cole                                 by       intentionally              shooting

     24        the   said Carl Cole with                       a        firearm                   and the-Defendant                       was


     25        then and there               in the course                      of        committing            and attempting



                                                                                                                                           10
                                                         LLOYD     E.   BILLUPS       CSR 149
                                                              ocHc      AL   cou8   REPORTER

                                                                 76TH   AAIC1AL     DISTRICT

                                                                 MT.    PLEASANT     TEXAS
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      1
               to    commit       the    offense         of       robbery                       of    Carl Cole           against

      2
               the       peace    and dignity of                 the             state                signed Bobby Brown

      3        Foreman of          the    Grand         Jury.

      4
                                                                         THE                    COURT                   And         the


      5
               indictment              does   the       Defendant                        have         any    suggestion            that


      6
               his       name     is     other      than           set                 out       on     the       face        of    the


      7        indictment


      8                                                                  THE             DEFENDANT                Yes      sir.


      9                                                                  THE                  COURT           How        does       the


     10        Defendant          choose      to    plead              to            the        indictment

     11                                                                  THE              DEFENDANT               Not    guilty.

     12                                                                  THE                  COURT          A    plea        of    not

     13
               guilty is          received         from the                    Defendant                to    the      indictment

     14
               so    I    guess we need            to    go       on           to         our motion             then.


     15                                                                  MR.              OLD          Are we       to    hear the

      16
               Change       of    Venue

      17                                      The       Defendant                          is    ready Your              Honor.


      18                                                                 MR.                  TOWNSEND            The     State      is


      19       ready        Your Honor.

     20                                                                   THE              COURT            Okay.


     21                                                                   MR.             OLD          Your Honor             at   this


     22        time       the     Defendant        would          have                  the      Motion          for    Instructed


      23       Verdict           on the    Motion        for           Change                   of    Venue.


      24                                      There are two grounds                                     set      forth by 31.03


      25       which        the    Court can        change                 venue                on.     As       the    Court well




                                                                                                                                      11
                                                        LLOYD     E.   BILLUPS         CSR 149
                                                           oRaAL         COURT       REPORTER

                                                                76TH   31D$C   Al.   DISTRICT

                                                                 MI.   PEASANT.       TtXAS
Case 4:04-cv-00408-MAC Document 44-10 Filed 12/11/17 Page 21 of 164 PageID #: 1459

      1
              knows     that      by        raising           those                   grounds           and     by     obtaining

     2
              affidavits        of     two       or three more persons                                   the Defendant                 has

      3
              raised      the          issue.                The             State              must           controvert               by

      4
              controverting                 affidavit                    the               facts         alleged             in        the


      5       Defendants           motion          in     order                  for          the    issue       to    be     joined

      6       and     thereby      a    trial.               If       the             State         does       not    join        those


      7       issues     or does         not       file       affidavits                        we are entitled                   to    an


      8       instructed          verdict               as        a          matter             of       law.           If        those

      9       affidavits          do    not       controvert                        our        affidavit             then     we       are

     10       also     entitled             to    an    instructed                            verdict          and     it    is        our

     11
              position            that            the         affidavits                            controverting                      the


     12       Defendants           affidavit              must go                     to      both      the     31.03        grounds

     13       and     that      is       there          exists                     in         the       county        where            the


     14
              prosecution          is       commenced                 such            a      great prejudice                 against

     15       him that       he    cannot          obtain                a       fair         and       impartial trial.

     16                                          And    the           second                  issue      is     that        there       is


     17
              a      dangerous          combination                          against                a     --      against              him

     18
               instigated         by    influential persons.

     19                                          The         State                    has           not         in       any           way

     20        controverted             that           there              is           a       dangerous             combination

     21        against him instigated by influential persons                                                            secondly

     22        the    States       affidavit                  what               it       attempts         to        raise is          the


     23        credibility             of        the    Defendant                             affiant           it     makes           the


     24        statement       that         Defendant                 affiants                  are prejudice                to    said


     25        Defendant        as      to       the    credibility                            issue       and       that     is       not




                                                         LLOYD      E.   BILLUPS      CSR 149                                           12
                                                              OFflCIAI    COURT     REPORTR

                                                                  76TH   JAICIAL   DSIRICT

                                                                   Mr.   R AS.   Wr. TEXAS
Case 4:04-cv-00408-MAC Document 44-10 Filed 12/11/17 Page 22 of 164 PageID #: 1460

               supported by any               facts        and            it        is           nonsense        meaningless
      1
                                                                                            a


      2
               statement               the   affiants                      affidavits                  do       not     show     a

      3
              prejudice           as    to   the    Defendant.


      4
                                              We        have                   reduced               our        Motion         for


      5        Instructed          Verdict         to    writing                    and request             permission to

      6        file     the      same    with      the     Court.


      7




      8                                       Handed              to          the           Court.

      9




                                                                          THE          COURT           Would




     --14
     10
                                                                                                                   you    put    a


     11
               stamp        on   that

     12                                                                   MR.          OLD           And we       would    call


     13        the    Courts attention                   to        the           case           of


                                                                          THE         COURT           Did the Defendant

     15        file     a    controverting              affidavit

     16                                                                   MR.               TOWNSEND              Yes      Your




     --20
     17        Honor.


     18                                                                   THE          COURT           It   may       be in one

     19        of     these      others       in    7130                  I      dont

                                                                          MR.          TOWNSEND             Its        7127.
     21                                                                   THE         COURT          What       case were you

     22        going        to   call    my attention                            Thats where                I    interrupted

     23        you.


     24                                                                   MR.          OLD           Excuse      me.


     25                                                                   THE         COURT           The next thing you




                                                                                                                                13
                                                        LLOYD    E.    BILLUPS    CSR 149
                                                           ofcvu         COW     REPORTER

                                                                761H   AAICIAL   DISTRICT

                                                                MT.    RIASANL    TEXAS
y    yF




           --2
    Case 4:04-cv-00408-MAC Document 44-10 Filed 12/11/17 Page 23 of 164 PageID #: 1461




           3




           4




           5
               1




                   State




                   of
                         r




                   may want




                             that
                                     to




                                   641
                                          do




                                          383.
                                                if    you have                    a photocopy


                                                                                  MR.




                                                                                  THE       COURT
                                                                                                 OLD          Its
                                                                                                                  of    the


                                                                                                                             Turner




                                                                                                              Do you have a copy
                                                                                                                                   case


                                                                                                                                               Vs.




          --10
           6
                                                                                  MR.       OLD        Yes.              I    do.        Excuse

           7
                   me.


           8                                         If    you          dont mind                         I       have        marked           all

           9       over       it    and   I    have       marked             it        so many          times


                                                                                  THE       COURT                 Im    going        to       read

          11       what       was    printed.


          12                                         The       Motion                  for        Judgment               or    Motion           to

          13       Grant Without               the    Change            of         Venue          on   the         basis of              it   not

          14
                   being       contested             that       motion                 is        denied.


          15




          16
                                                     Defendants                           Exhibit             1        was    marked           for

          17
                   identification..

          18




          19                                                                      MR.           OLD           I    have        I     believe

          20       nineteen          witnesses            in     the             hall             could           we    have        them       all


          21       sworn       in    here

          22                                                                      THE           COURT              If        you    can        get

          23       them in here we will                        swear               them all.


          24                                         Is that            including                   any witness                    the    State

          25       may       call



                                                                                                                                                14
                                                               LLOYD   E.   BILLUPS     CSR 149
                                                                  oFAQ      LL   Could REPORTER

                                                                   76TH     AAICIAL    aSIRIC1

                                                                       MT. PLEASANT.    TEXAS
Case 4:04-cv-00408-MAC Document 44-10 Filed 12/11/17 Page 24 of 164 PageID #: 1462

      1
                                                   Lets        get              everybody                sworn            all         at     one


      2
              time.


      3
                                                                            MR.          OLD            May     Icall                 my roll

      4
              to     be   sure        they       are     all       here

      5                                                                     THE           COURT               You    may.

      6
                                                   Mr.      Old            if       you will             tell        me           that       cite

      7
              again.        I    didnt write                   it          down and                Im         about           to.


      8                                                                     MR.           OLD           Turner             Vs.         State

      9        641    Second           383.

     10                                                                      THE          COURT               And        that         was     El

     11        Paso Appeals                 Court

     12                                                                      MR.          OLD           Yes.


     13                                                                      THE          COURT            Okay.              I    know you

     14        all    have       been       very         patiently                     waiting            and        I    owe          you     an


     15
               apology           I    was        sitting            in       Emory               and     it     turned                out     the


     16        drive       from        Emory           to     your              county             seat        takes              a    little

     17
               longer than             if    I    had pushed                    the       speed         limit.            I       apologize

     18        to    you    for       the        delay.         We         had some preliminary matters.

     19                                            What        is      going to happen                              Mr.           Old wants


     20        to call      the        roll       of     the witnesses                           that    are subpoenaed                       and

     21        the    County Attorney                    is    going to                         call    roll        and we want                to


     22        make       sure       who      is    here.              If        you            are     here        to        testify          in


     23        this       matter the              State       of      Texas              Vs.       Billy       Joe        Wardlow              if


     24        you will          kindly           stand and raise your right hand.                                                       I   need


     25        to     swear          all    of     you        as      a         witness                here     in        the         Wardlow




                                                                                                                                               15
                                                            LLOYD     E.   BILLUPS     CSR 149
                                                                OFRCLU COURT         REPORTER

                                                                    76TH   ACIOAL    DISTRICT

                                                                     Mr. PLEASANT.    rows
Case 4:04-cv-00408-MAC Document 44-10 Filed 12/11/17 Page 25 of 164 PageID #: 1463

     1
              matter.


     2




     3                                        Witnesses                    sworn.

     4




      5                                                                 THE COURT                    Okay.       Now before

      6
              you    start    sitting            down     lets                go          down       the    front     row       from


      7
              your right and             I   need or Mr.                   Old do you want                     to    just       call


     8        your     roll

      9                                                                 MR.            OLD           Yes Your         Honor.


     10                                                                  THE           COURT           Okay.         Once       your

     11       name     is    called          then   you     can               sit             down   but    we      are    trying

     12       to    figure        out   who is      here.


     13                                                                  MR.            OLD          Mary Betts                 Joel


     14
              Fomby         Cathy Byrd           Ron     Cowan                     Grover        Dyas        Johnny Floyd

     15       Ron    Goetz         Russell Guest.


     16                                                                  A         VOICE               Russell        was        out


     17        there    just       a    little      while              ago              hes      here.


     18                                                                  THE           BAILIFF             You need Russell


     19        Guest         Is    that      him       Russell                       Guest

     20                                                                  THE           COURT          If    you would           sir

     21        raise your right hand                     and let                     me get you             sworn.


     22



     23                                          Witness               sworn.

     24



     25                                                                   THE               COURT          Fine.          You    can




                                                                                                                                   16
                                                        LLOYD    E.    BILLUPS      CSR 149
                                                           OFFICIAL      COURT     REPORTER

                                                                76TH   AAICIAL     CISIRICT

                                                                MT.    PLEA.SAM.    TEXAS
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      1
              have    a   seat.


     2
                                         Now       what             we          are       doing            we       are    going

      3
              through       calling the       roll       of         who           is     here against                the       list


      4       of    who   we   expected      to    be here.

      5                                                            MR.          OLD         Fletcher Hartgrove

      6       Wanda       Hartgrove       Robert           W.           Henderson                    James          Hill        Sue


      7       Hill        Patsy Martin        William                   H.       McCoy.

      8                                                            A VOICE                      I   am     here        Bird.


      9                                                            MR.           OLD            W.S.           Nash.

     10                                                            THE           BAILIFF                  He    went      to    the


     11        doctor       hes      going    to    be late.


     12                                                            MR.            OLD           O.B.           Senn.

     13                                                            A VOICE                      Right          here.


     14                                                             MR.           OLD           Welton           Walker         and


     15        Mr.   A.W.      Lawton.

      16                                  Your Honor                        Mr.         Nash        has    talked         to    the


      17       Clerk      this    morning          he    had             a       doctors              appointment               and


      18       indicated         that   he would         be here                        about       300        or   330.

      19                                                            THE             COURT             I    think       we      have


      20       got    enough people.

      21                                                             WELTON WALKER                        DISTRICT         CLERK

      22       I    didnt      get   swore    in Your                   Honor.


      23



      24                                     Whereupon                  Welton Walker                      District Clerk


      25       of    Morris County was             sworn as                     a       witness.



                                                                                                                                      17
                                                   LLOYD    E.    BILLUPS      CSR 149
                                                        OFHCVLL     COURT    REPORTER

                                                           76TH   JAI   V    DISTRICT

                                                           MT.    PLEASAM.     TEXAS
    Case 4:04-cv-00408-MAC Document 44-10 Filed 12/11/17 Page 27 of 164 PageID #: 1465

          1
                                                                     THE          COURT            Have        a   seat.


         2
                                                                     MR.          OLD             Your Honor           we       are


         3
                  ready to       proceed.


         4                                                           THE          COURT             Anybody          you need

          5       to    check    on

          6
                                                                     MR.         TOWNSEND                I    have just one

          7       and    hes     here.


         8                                                           THE           COURT            Mr.        Old     do       you

          9       want     to   call    your    first      witness

        .1                                                           MR.          OLD             Yes        Your Honor.


         11                                    We   would            offer               into     evidence           what       has


         12       been marked          Defendants             Exhibit                    1   8/12/94           by the Court

         13
                  Reporter         Mr.    Billups             it        is          more          information             as      to


         14       Morris        county        Titus     Camp            and              Marion     county.               It    was

         15       provided        by    Mt.    Pleasant              Chamber                 of    Commerce           and       Mr.


         16        Townsend      has    agreed      that       it      may be offered                        into evidence


         17       without       the    witness      here        to      authenticate                     the       same.


         18                                                           MR.         TOWNSEND               That is agreed


         19        Your Honor.


         20                                                           THE          COURT            Okay.           Exhibit        1


         21        is    received        received        for          the           purpose          of       this    hearing


         22        which    projects          various       demographical                           statistical                 data


         23        obviously       obtained         from the             last             federal            census

                                                                      MR.          OLD            Yes.        And from some
.
         24




         25        other    sources           theres     a      bibliography                       on        the   back        where




                                                                                                                                  18
                                                      LLOYD    E.   BILLUPS    CSR 149
                                                           OFACVLL   COURT    REPORTER

                                                              704   .AIQA     C4STRICT

                                                              MT. PLEASANT.    TEXAS
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      1
              all     the   information             came      from.


     2
                                                                     THE            COURT               Its         received

      3       without       objection.

      4




      5
                                             Defendants                        Exhibit            1    was    received       in


      6
              evidence.

      7




      8                                                               MR.         OLD            On the next          to    last


      9
              page      the   Data       Source.


     10                                                               MR.          TOWNSEND                 Your.    Honor     I



     11       would     ask      that    the    Rule       be invoked.


     12                                                               THE            COURT             Okay.          Let    me


     13        explain      something          to    you      folks               that         have been        subpoenaed

     14        and now sworn as              a witness                 in        this          hearing        the     Rule    as


     15        to   witnesses       has        been       invoked.                        What    that       means     if    you

     16        have     never      hung        around         the           courthouse                 before        is     that


     17        while    this      hearing       is    being conducted                             unless       you are the

     18        witness      testifying you                 will           not             be   in     the    courtroom        to


     19        hear what         other witnesses                     testify               to.



     20                                        Theres            some             more         explanation            to    this


     21        origin       of     this        Rule            it         was              found        that        upon     the


     22        desirability             of     witnesses                 giving                what     they        presently


     23        remember       and recall about some prior event                                              not what       some


      24       other witness            that        has    beensitting                           out    in    the    hall    for


      25       the.    last      hour     on    the       bench                would           remember         so    you    are




                                                                                                                               19
                                                      LLOYD    E.    BILLUPS    CSR 149
                                                           OFHCIAL COURT       REPORTER

                                                              76TH   ACOCIAL   DISTRICT

                                                              Mr. PLEASANT.     TEXAS
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      1
              under        an    instruction              that            not        only would                   you        not       be    in

      2
              the    courtroom to hear other                              witnesses                      testimony you may

      3
              not discuss with another witness what their testimony has

      4
              been     and           will     be         you      may             not             tell        them          what        your

      5
               testimony hasbeen                     or will              be.


      6
                                                   Now         probably                       a     bunch              of        you        are

      7
              acquainted               with     each          other          so         you        talk        about             anything

      8        else    in       the    world you want                     to.


      9                                            Now        this        issue               in    this          proceeding                has


     10        to    do with         a pending           charge against Mr.                               Billy         Joe Wardlow


     11       where        he    stands       indicted            with             alleged to have                          caused          the


     12        death       of     a     Mr.        Cole        thats                 what           its           about          and        the


     13
               question          has     to    do    with       whether                      this       is    a    proper          county

     14
               for    the       case     to    be    heard.


     15
                                                   So     if       you            will             just        stay          away       from

     16
               discussing anything                      about       Mr.           Cole or about                    this case                and

     17
               we will          be     in good       shape.


     18                                            The    problem                  is        that        if    you          do    violate

     19        the    instruction              that       I    have          given                you    then          whatever             you

     20        know    I    will        never       learn       because                      you    are not             going          to    be

     21        able    to       tell    me about          it    though you have already been                                                and

     22        spent       several          hours        and when                  you            could       have          been       doing

     23        something             else     you        are    already                      here        and      it        would       be    a


     24        shame       whatever           it    is    you       came             to       tell       us       as    far       as    your

     25        recollection              of    the       facts            that          I     would           never         be able          to




                                                          LLOYD   E.   BILLUPS.     CSR.     149                                             20
                                                               OFFICIAL   COURT REPORT9i

                                                                76TH   LAICIAL    DISTRICT


                                                                  MT.PIFASAHT.TDA3
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          1
                   hear     okay

          2
                                                         What           Im            trying                 to     tell        you       is     just

          3        dont     talk          about          Mr.       Cole              Mr.         Wardlow               or what        this       case

          4        is    about.        You can             talk          about                whether             we    are.going              to get


          5
                   baseball          after today                   or not               and         so       forth         talk       about          the

          6
                   Courts         starting late                          whatever                       you want           to      talk about

          7
                   just    do     not       talk         about           this             specific                 case.


          8
                                                         Now            what          Im         going            to do       is     excuse          you

          9        out    here       and           have        a     seat            out          in         the       hall     some           place

.                                     each              witness               will
         10        probably                                                                      be          relatively               short           so


         11
                   consequently                    we    will            be          moving                  once       we      finally              get


         12        started        now          I    think           we will                   move           pretty quickly                    but    if


         13
                   you would              if       you will              be available                          so when          your name is

         14        called       we    can get you                       in because                          theres alot                   of    folks


         15        here    and       if        we       spent        more             time              looking         for     you        than       it


         16        does    to     find         out what                 you         know         then         of       course        that       means

         17
                   everybody          that          is    going to be called                                      behind        you or after

         18
                   you will          just mean that                      they will                       be later this afternoon

         19        than    they       would              otherwise                    would                 have.


         20                                              So        if    you           have been                    sworn       as    a    witness

         21        Im     going       to        excuse             you out                in the              hall and we willget


         22        to    you    just           as   quickly              as          we       reasonably                 can.


         23                                               If       you are not                          a    witness          of     course          you

         24        are welcome                 to   stay           and observe                          the       proceeding.


         25                                              Mr.        Old              Im          going            to    exempt        the       Clerk




                                                                                                                                                      21
                                                                     LLOYD    E.    BILLUPS    CSR 149
                                                                          OFFICIAL    COURT   REPORTER

                                                                             76TH   AAICIAL   DSIRICI

                                                                              MT.   PIEASAM. TONS
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      1
              under     the    Rule       save    and      except                 for      that        part       Im     not

      2
              going     to    exclude       him     from             the         courtroom               hes       got    an

      3
              official        duty        needs    to      be         stamping               things         and    he    can

      4
              stay    in here.


      5                                    If    that causes                   a problem I will                  be happy




      --7
      6       to


                                                                     MR.       OLD           No       problem.

      8                                    Mr.    McCoy               also            is    an        officer      of    the


      9       Court.


     10                                                              THE       COURT              As    an officer        of


     11        the   Court     he    is    excluded              from          the         Rule       but   he    will    be

     12       bound     by    the    instructions                I    gave            him.


     13                                    Call    your first                         witness.

     14                                                              MR.         OLD              I     call      Mr.    Ron


     15        Goetz.


     16




     17                                                 RON          GOETZ

     18        was   called     as    a    witness       and               having          been        first      sworn by

     19        the   Court      testified         as       follows


     20



     21                                         DIRECT           EXAMINATION


     22                                              BY MR.                 OLD


     23



     24        Q               Would       you please                state            your       name

     25        A               Ron    Goetz.




                                                                                                                           22
                                                   LLOYD   E.    BILLUPS    CSR 149
                                                        OrfIcwl COURT      RU-ORIER

                                                         76TH    iOICw DSIRICT
                                                           MT.   REASNJT. rows
Case 4:04-cv-00408-MAC Document 44-10 Filed 12/11/17 Page 32 of 164 PageID #: 1470

      1
              Q            How     do    you       spell            that            last       name

      2       A            G-O-E-T-Z.

      3
              Q            It     has    an       O       in        it

      4
              A            Right.


      5
              Q            Where        do you        reside

      6       A            In     Daingerfield                      Texas.


      7
               Q           How      long          have       you             lived             in    Daingerfield            or


      8        Morris   county      Texas

      9        A           Six and           a    half years.


     10        Q           How     are you           employed

     11        A            I    am the           Publisher of                          the    Bee    newspaper.

     12        Q           How     long           have you been                          a    publisher          of   the   Bee


     13        newspaper

     14        A            Six    and        a    half      years.


     15        Q            What    area           does       the            Bee         cover

      16       A            Mostly           Morris        county                 and into            Hughes          Springs.


      17                                     Southern              part of Morris county more than

      18       the    northern part.


      19       Q            What        is    the    circulation                             in Morris          county

     20        A            In    Morris           county             itself

     21        Q            Right.


     22        A            About        2500.

      23       Q            Does        that       include              your             rack        sales


      24       A            Yes         sir.


      25          Q             Either by subscription                                   or by       sale       you all     sell




                                                                                                                              23
                                                    LLOYD    E.    BILLUPS    CSR 149
                                                          OFRcIAL CCURT      REPORTER                       -




                                                            76TH   JJDICW.   CISIRICT


                                                             W.    REAW4T.    TEXAS
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      1
              approximately                   2500 papers

      2       A                    Both mail subscription                                           and street            sales       about

      3
              2500 within Morris                          county.


      4       Q                     Within           Morris         county

      5       A                     Yes.


      6       Q                    What        is    your       total                circulation

      7       A                     3200.

      8       Q                     The       additional             700                  can        you      identify          any    part

      9       of    it        any       particular          locality

     10       A                     I    have       got    about                 300          in Hughes             Springs about

     11        a   hundred          in       Avinger        less             than             a hundred              down       in   Marion

     12        county         by    the       north        side            of            Lake           0     the    Pines       and      the


     13        rest      is    scattered.


     14
               Q                    Part of          the    city of Hughes                                  Springs is in Morris

     15        county          is       it    not         The     line                   is        close      to     it

     16        A                    Well            the   city        limits                       is   into        Cass    county        but

      17       their      mailing address                    is        in Hughes                        Springs           and    there is


      18       a   part       in Morris. county.                           Yes.


      19       Q                    Has        your        newspaper                          --        are    there        any       other

     20        newspapers               in the        county

     21        A                    Yes        sir.


      22       Q                    And       what        are   they

      23       A                    The       Naples        Monitor.


      24       Q                    And       do     you know               what               their          circulation            is

      25       A                    No.         I    dont.             I          understand                   its        around      2000



                                                                                                                                           24
                                                            LLOYD    E.    BILLUPS        CSR 149
                                                                OFcc       AJ.   COURT   REPORTER

                                                                    76TH   J.DCUIL       CSTRICT

                                                                    Art.   FtEASMT.       TEM
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             1
                      but    I    couldnt        say      for     sure.


             2
                      Q              How often does the                             Bee          publish           once or twice
ý..j




             3        A              Once        a   week.


             4        Q              How        often       does        the          Monitor                publish

             5        A               Once       a    week.


             6
                      Q               You       are       familiar with                               the    alleged       situation


             7        surrounding          the       death      of      Mr.           Carl            Cole

             8        A                  Yes     sir.


             9        Q                  Has    your paper              reported                      that     event

            10        A                  Yes.        It    has.


            11        Q                  When    did itfirst                        report              it

            12        A                  On June          16th       1993.


            13        Q                  Would           that     have               been              the     first       newspaper

            14        published after Mr.                   Coles death

             15       A                  Yes.        It    was.


             16       Q                  Did you receive                  a subpoena                        to bring all     matters


             17       as     to    Mr.     Coles           death            and             as        to     Mr.    Wardlow    being


            -18       accused       of    having          killed him into                              Court       today

             19       A.                 Yes.        I    did.


             20       Q                  Have    you done             so

             21       A                  Yes.        I    have.


             22                                                                   MR.           OLD          May    I   approach   the


             23           witness    Your Honor


             24
                                                                                   THE          COURT           Yes.


                 25                                                                THE          WITNESS            Do you want the




                                                                LLOYD    E.     BILLUPS     CSR 149
                                                                                                                                   .2
                                                                     OFACM COURr           REPORTER

                                                                        76TH    IEICJAL    D5R71CT

                                                                         I.R.   PIF.AAM.    TEXAS
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          1
                  whole       folder

          2
                                                                        MR.          OLD          No.           Lets do them

          3
                  one    at    a   time.


          4




          5
                                                 Defendants                        Exhibit             2    was      marked      for

          6
                  identification.

          7




          8                                                             MR.          OLD          I    show          you what     is


          9       marked       Defendants          Exhibit                  2         and        ask       you    if    this     was

         10       the    report      in    the   Bee    of       Mr.            Coles death

         11




         12                                      Handed          to        the             witness.

         13




         14                                                             THE           WITNESS                   Yes.      It    was.


         15       Yes.        It   was.


         16                                                             MR.                OLD             We     would        offer

         17       Defendants          Exhibit      2    into             evidence.


         18                                                             MR.           TOWNSEND                  No     objection

         19        no   objection          Your Honor.

         20                                                              THE          COURT                Its       received.


         21




         22                                      Defendants                        Exhibit             2    was      received     in


         23        evidence.


         24
.

         25                                                              MR.          OLD         Approach             the     bench



                                                                                                                                  26
                                                       LLOYD     E.   BILLUPS     CSR 149
                                                          CMCLAL COURT          REPORTER

                                                               76TH   AAICIAL   DISTRICT

                                                                MT. PLEASANT.    TEXAS
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         1
                                              Off     the      record                     discussion at the bench


         2
                  out    of    the    hearing    of   the       Court Reporter.


          3




          4                                                          MR.           OLD        Can you show me the


          5       next    publication

          6                                                           THE          WITNESS                June      23rd.


          7




          8                                     Defendants                        Exhibit         3       was      marked     for


          9        identification.


         10




         11                                                            MR.           TOWNSEND                 No    objection.


         12                                                            MR. OLD                Your Honor              we would


         13        offer Defendants              Exhibit             3           the       June       23rd         publication

         14        of    the    Bee    and we    would          call               the      Court         s     attention      to


         15        there       are    three     articles               two            front       page          articles      and


         16        under       Obituaries          Mr.      Coles                    obituary.


i         17




         18                                     Defendants                         Exhibit        3       was      received    in


          19       evidence.


         20



         21                                                             THE           WITNESS              Okay.      This was


          22       June       the    30th.


          23



                                                 Defendants                         Exhibit           4    was      marked    for
          24




          25        identification..



                                                                                                                                27
                                                      LLOYD    E.    BILLUPS      CSR 149
                                                         OrRctAL COURT REPORTER

                                                              76TH   .WICIA      USTRICT

                                                               W.    PLEASANT.    TEXAS
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      1
                                                                  MR.        TOWNSEND                No     objection.

      2
                                                                  MR.       OLD           Your Honor we would

      3       offer Defendants           Exhibit              4    into            evidence.


      4
                                                                  THE        COURT              4      is    received.


      5



      6                                  Defendants                       Exhibit           4   was       received      in


      7
              evidence.

      8




      9                                                           THE      WITNESS              The next article


     10       is    May   25th    1994     I    didnt              have             the    full      paper      or page

     11        to   bring you.

     12




     13                                  Defendants                        Exhibit          5     was       marked     for


     14
               identification.

     15




     16                                                           MR.              OLD          We     would         offer

     17       Defendants         Exhibit       5.


     18                                                           MR.         TOWNSEND               No     objection.

     19                                                           THE         COURT             5      is    received.

     20



     21                                  Defendants                        Exhibit          5-was         received      in


     22        evidence.


     23



     24                                                           THE            WITNESS               Im       sorry    I



     25        dont have     a    date    on        this       paper                it    was     in      May   of    this




                                                                                                                        28
                                                LLOYD    E.   BILLUPS     CSR 149
                                                     CFFKML could REPMTER

                                                        76TH.CcIAL      DISTRICT

                                                        MT.   RFASAM.    TEXAS
Case 4:04-cv-00408-MAC Document 44-10 Filed 12/11/17 Page 38 of 164 PageID #: 1476

              year.
      1




      2
                                                                 MR.         OLD       I   think             this   is    the


      3
              one   we     just    looked    at.


      4                                                           THE        WITNESS               It    was        Was    it


      5       the    one    you    just    got      Is           that         the     same

      6
                                           Okay.


      7                                                           MR.        OLD       See         the       headline      on


      8        it   is   the   same.        Indicating

      9                                                           THE           WITNESS                  Okay.            Im

     10
               sorry.       There    was    one    on      June             30th      1993         also.


     11




     12                                     Defendants                      Exhibit        6       was       marked       for


     13        identification.

     14




      15                                                          MR.          TOWNSEND                 No    objection

      16       Your Honor.

      17                                                           THE         COURT           Its           received.


      18




      19                                    Defendants                      Exhibit        6       was       received       in


      20       evidence.

      21




      22                                                           THE         WITNESS             The next          one    is


      23        July 6th          1994.


      24



      25                                    Defendants                       Exhibit           7    was       marked       for




                                                   LLOYD   E.    BILLUPS    CSR 149                                         29
                                                        omcai     COURT   REPORTER

                                                         76TH    .LCclA   D51RICT

                                                           MT.   PLEASAM.   TEXAS
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      1
              identification.

     2




      3                                                  MR.          TOWNSEND           No     objection

      4       Your Honor.

      5                                                   THE         COURT          7     is    received.


      6



      7                               Defendants                    Exhibit     7    was      received     in


     8        evidence.

      9




     10                                                   THE         WITNESS        The      next one     is


    .1        July 27th       1994.


     12




     13                               Defendants                     Exhibit     8   was        marked     for


     14        identification.

     15




     16                                                   MR.         OLD     We offer        Defendants

     17        Exhibit   8.


     18                                                    MR.         TOWNSEND          No     objection

     19        Your Honor.


     20                                                    THE          COURT        8     is    received.


     21




     22                               Defendants                     Exhibit     8   was      received      in


     23        evidence.


     24




     25                                                    THE         WITNESS        The       next one    is




                                                                                                            30
                                         LLOYD    E.    BILLUPS    CSR 149
                                            OTACIAL COURT         REPORTER

                                                 76TH   JAICUIL   DISTRICT

                                                  MT. PLEASANT.    TEAS
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      1
              August     3rd      1994      and thats                 the             last   one.


      2




      3
                                            Defendants                       Exhibit          9     was      marked       for


      4
               identification.

      5




      6                                                            MR.          OLD           Offer          Defendants

      7        Exhibit      9.


      8                                                            MR.          TOWNSEND                No    objection

      9        Your Honor.


     10                                                             THE         COURT             Received.


     11




      12                                    Defendants                       Exhibit          9    was       received      in


      13       evidence.

      14




      15                                                            MR.          OLD          Your        Honor       would

      16
               you   like    time     to    review

      17                                                            THE          COURT            No.        Go   ahead.


      18                                                            MR.          OLD          Did       you    do    any   of


      19       the   reporting of           the    story yourself

      20                                                            THE.         WITNESS             No       sir.


      21       Q                 BY   MR.    OLD      Was           it       done under your direction


      22       A                 Well       everything                 up            there    is     done         under    my


      23       direction         indirectly.


      24       Q                 Did you edit a copy                         that was             submitted          by your


      25        reporter or writer



                                                                                                                           31
                                                   LLOYD    E.    BILLUPS    CSR 149
                                                      OFHCTAL      COURT    REPORTER

                                                           76TH   ADIQAL    cSTTUCT

                                                           MR.    RFASAM.    TEXAS
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      1
              A                  No..    I    read         the         story but                       I   didnt          edit        it.


      2
              Q                  Did you have               the            opportunity                         to   edit       if     you     e

      3
              desire        to
      4
              A                  Yes     sir.          I    did.


      5
              Q                  Do    you know            Mr.         Cole            or know                 of   Mr.    Cole

      6
              A                  The    best      of       my knowledge                        I       never        met Mr.           Cole.

      7
              Q                  Did    you       know      him by reputation


      8.      A                  Yes     sir.          Vaguely                        vaguely.

      9
              Q                  Did you          read Mrs.                 Bests                  article of              June         23rd

     10        Cole     a   friendly          man with                 a    friendly                       routine

     11       A                  Yes     sir.          I    did.


     12
              Q                  Starts       out      that            the            cold-blooded                     murder last

     13       week     of   a    local       rancher                   do        you         recall             the    story

     14
              A                  I    recall        the        story                  but          I       couldnt             tell         you

     15
               exactly      how it       started out.                             I     recall             the      story.

     16
               Q                 Do you recall                 that               statement

     17       A                  Not    really.


     18
               Q                 I    am being         unfair with                           you           I    have      it    here          I


     19        didnt know whether you had read them well                                                              enough.

     20



     21
                                               Handed              to       the              witness.

     22



     23                                                                    THE             WITNESS                    Okay.             This


     24        story    here            Indicating

     25                                       I    remember                  the             statement.




                                                       LLOYD     E.    BILLUPS        CSR 149                                                32
                                                             CFFKM.      COURT    REPORTER

                                                               76TH    AC K34     DISTRICT

                                                                 MT.   PIEASAM.    TEXAS
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      1
                                                                          MR.          OLD             The    article goes on

      2       to    point        out    that        Mr.     Cole            was             82    years       of    age     he    was




      well-6
      3       a    pioneer       of     this        county

      4                                                                    THE         WITNESS                Thats       correct.


      5
              Q                   BY     MR.        OLD         And            that              he    was    a    person

              known

      7       A                   Thats            correct.


      8        Q                 All     through            the          county

      9       A                   Thats            correct.


     10        Q                  And    that         he    was            a        man          who       people    throughout

     11        this   county           were        fond     of

     12        A                  Yes     sir.


     13        Q                  Are you familiar with the other side                                                the other


     14        article      on     the       front        page

     15        A                  Yes.         I    am.


     16        Q                  And     it        purports                   to           be        an   interview         of    an

     17        officer       I    believe           in    Madison

     18        A                  South        Dakota..


      19       Q                  South            Dakota       who               claimed                  they    arrested       Mr.


     20        Wardlow

     21        A                  Thats            correct.


     22        Q                  Who    wrote           that        article

     23        A                  Charles Wright.


      24       Q                  Is    he     still        with             the          paper

      25       A                  Yes.         He     is.




                                                                                                                                    33
                                                           LLOYD   E.    BILLUPS      CSR 149
                                                              ORRCRAL COURT         REPORTER

                                                                76TH     .IDICW     CISTRICT

                                                                   MT.   PLEASANT    TOMS
Case 4:04-cv-00408-MAC Document 44-10 Filed 12/11/17 Page 43 of 164 PageID #: 1481

      1
                                  Do   you know           whether                   or not                that    was       by a phone

     2        interview

      3       A                   I    beg your pardon

      4
              Q                   Do    you recall whether                                  or    not          that     was       a   phone

      5       interview

      6
              A                   Yes.        It    was.




     --11
      7
              Q                   What    was       the    headline

      8       A                   Wardlow             Fulfer. face                              death       penalty               duo    act


      9       cool       up north.

     10
              Q                   Do    you    know       whether                    or not                that


                                                                          MR.                   TOWNSEND                 I       want      to


     12        object        to   going into          this Your                            Honor.              Its      --       you have

     13        already told us                that     you can                      read              I    feel    sure           that   you

     14        can       I     feel    sure        that    you           are            going             to     and    I        dont    see


     15        any       purpose        for        going     over               verbatim                    what        is       in   those


     16        articles.


     17                                                                    MR.            OLD             Im     well aware              that


     18        the       Court can        read        Your Honor.




      --23
      19                                                                   THE             COURT               Well          I    want    you


     20        to put        on pretty much               what          you want                      to but       if       the    witness


     21        is    going        to be   reading           selected                        passages              of    the       document


     22           that    is    otherwise           going         to        be          received


                                                                            MR.             OLD            That        really         wasnt

      24       my intent.


      25                                                                    THE                 COURT             Go    ahead.            Im


                                                                                                                                           34
                                                          LLOYD    E.   BILLUPS.      CSR.      149
                                                             OFRIXAL COURT          REPORTER

                                                                  76TH AIDICIAL     TJISTRICT



                                                                  MT.   PIEASNJT.    TD A5
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     1
              sorry for interrupting                             you.


     2                                                                         MR.          OLD       You were not a party


     3        to       the    conversation                that          report was                    made    from

     4                                                                         THE           WITNESS               I    beg     your

      5
              pardon

      6
              Q                        BY    MR.        OLD      As        to         the          article we were talking


      7       about           you were not                 a    party to                     the     conversation            between


      8       Mr.        Wright         and the          officer

      9       A                        No     sir.


     10        Q                       Did    you        edit     that            particular                article


     11        A                       No     sir.


     12        Q                       But    you        had    the            opportunity                  to

     13        A                       Yes.         Probably.                     I      cant         recall       exactly         what


     14        I       was doing at            that       time that                   the          article was written but


     15        Im        sure      I    had        the    opportunity                        to      edit   it.



     16                                                 Thats        what               I     pay     an    editor       for   is    to


      17       edit.


      18       Q                       You     have       read          that             article            are    you      familiar


      19       with          it

     20        A                       Basically.                I      havent                     reread    the       whole    thing


     21        in       the       last       two    days.


      22       Q                       What        it    pretty well                        says      is    how   the       officers


      23           observation                his        observation                           his     opinion         of    how    Mr.



      24       Wardlow             acted


      25           A                   Thats            correct.




                                                                                                                                      3 5
                                                                LLOYD    E.    BILLUPS      CSR 149
                                                                     OFFCW1.    COURT   REPORTER

                                                                        761H AIAICIAL   DISTRICT

                                                                         MT.   PIEASMRT.10AS
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      1
              Q              And       that           it       is     his           from the                       subject

      2
              A              Thats              correct.


      3
                                                                             MR.            OLD                Pass       the    witness.

      4
                                                                             THE            COURT                   Mr.    Townsend.

      5




      6                                               CROSS           EXAMINATION

      7                                                BY MR.                TOWNSEND

      8




      9       Q              Mr.       Goetz               I    believe                     you           stated          that    you       have

     10
              approximately            2500 circulation                                      in Morris                county          is    that


     11       correct

     12       A              Thats                  correct.


     13       Q.             Do you have any record                                                as         to    how many of            those


     14
              subscriptions            are           in     the       Naples                     or Omaha                 area

     15       A               I    have records of                             it        but          I       dont have them here

     16       with    me but       I   can           tell       you           that               we       sell        approximately a

     17       hundred       copies          a       week       in          the           Naples-Omaha                      area       off    the


     18       newsstand           sell              and        get          stolen                        I     should          say    and    we

     19       probably have about                      forty subscribers in Naples                                               and maybe

     20        thirty-five         in        Omaha.                 And             I       would                  have    to    get       those

     21        figures      from the                computer.




     --25
     22        Q              But       it          would       be         correct                     to          say that      basically

     23        this   - -




     24        A              My basic                circulation


               Q              --       is       a    south          end          of              the          county      paper



                                                                                                                                              36
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                                                                cFACIAL COURT           REPORTER


                                                                    76TH   AAIQAL      DSTRICr

                                                                     MT.   PLEASANT.     TDIAS
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         1
                  A                Lone       Star     Hughes               Springs                 is      the    bulk    of    my

         2
                  circulation.

         3                                                             MR.           TOWNSEND                And     basically

          4       the      Monitor       is   the    north end of                        the    county

          5                                     No    further              questions.


          6




          7                                     REDIRECT               EXAMINATION


          8                                              BY MR.                  OLD


          9




         10       Q                Do you know whether                        or not            television              and radio


         11        carried     this       particular          story

         12        A                 I   dont       recall.            I    believe             a Mt.        Pleasant       radio


         13        station      covered        it      carried               it.              But       I   dont        recall   it


         14
                   being     on television             it     might have                       been.


          15                                    That        has             been               fifteen            months        ago

          16       fourteen      months        ago.

1         17                                                               MR.          OLD             Pass      the    witness

          18       Your Honor.

          19                                                               MR.               TOWNSEND               No    further


          20          questions.


          21                                                               THE         COURT            May this gentleman


          22          be   excused

          23                                                               MR.         OLD          I   have no objection.


             24                                                            MR.           TOWNSEND              No    objection


             25       Your Honor.



                                                                                                                                  37
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                                                                76TH   AAK.IAL     DSTRICT

                                                                MT.    PLEASANT.    TEXAS
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      1
                                                                   THE                COURT         Thank      you    very

      2
              much.       Thank    you   for being                 here.


      3
                                         The   next            witness                   Mr.    Old

      4
                                                                  MR.            OLD          Mr.    Ron    Cowan..


      5
                                                                   THE                COURT           While     we     are

      6
              waiting       for   the    witness          to-arrive                       which         date    was    the

      7
              last    series of     questions           at         the           end     of your       direct which

      8       date    was   that

      9                                                           MR.            OLD          June     23rd     1993.


     10                                                            THE           COURT          All     right.        That

     11       headline        A    friendly      man               friendly               routine

     12                                                            MR.           OLD          Yes.      And    duo     act

     13       cool    up north       Wardlow            Fulfer                    face    death        penalty.

     14
                                                                   THE           COURT         If     you would       just

     15       have    a   seat    over   here      please                         sir.


     16




     17
                                               RONALD              M.         COWAN

     18       was    called      as a witness      and having been                                  first   duly sworn

     19
              by    the   Court     testified as                   follows

     20



     21                                    DIRECT              EXAMINATION

     22                                           BY MR.                     OLD


     23



     24       Q               Please     state     your name.

     25       A               Ronald     M.    Cowan.




                                                                                                                        38
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                                                        76TH   AAICIAL     DISTRICT

                                                        W.     PLEASANT.    TEXAS
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      1
              Q              Where           do    you      live             Mr.             Cowan

      2
              A              I       live    at 116 Erin                  Circle Daingerfield                               Texas.


      3
              Q              Morris           county              Texas

      4       A              Yes            sir.


      5
               Q             How        long        have          you        been             a   resident            of    Morris

      6
               county      Texas

      7        A             From 1951               to     62 and                    from 1977             to       present.

      8        Q             Were you born and raised here in Morris county

      9        A             I       wasnt          born here.


     10
               Q             You were               not

     11        A             No.


     12
               Q             How        old were            you when                       you came         here

     13        A                 I    was    in     the     third grade when                            I    came       here.


     14
               Q             You        grew up           here

      15       A             Yes            sir.


      16       Q             And           you      came          back             here           you       left        for   what

      17
               purpose

      18       A                 To    go     to    school.


      19
               Q                 And you came                 you worked                      and came back                 in what


     20        year

     21        A                 1977.


     22        Q                 Since        1977       how have                   you been            employed here            in


      23       Morris      county

      24       A                 I    have         had    my        own           business           and         I    was    County


      25          Judge   here       for     eight       years.




                                                                                                                                 39
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                                                             ORICVLL COURT        REPORT6t

                                                               76TH     ACICK   DISTRICT

                                                                  MT.   PJASNT.   TEXAS
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      1
              Q            And         what    was       your           business             when    you       were   in


     2        business     for    yourself

      3       A             I    had a glass and mirror shop.                                              -




     4
              Q            And you were elected                              County Judge           in what      year

      5       A             I    was     elected         in 1982.


      6
              Q             And what year was the                               last year you served              this


      7
              county

      8       A             June         1990.


      9       Q             And        since    June          1990           how have you been employed

     10       or   occupied

     11       A             I      have        been          employed.                  at    Northeast          Texas

     12       Community College               as   a     Sociology-English                       Instructor.

     13       Q             And you are              a   sociology and English instructor

     14       at   the   college

     15       A             Yes         sir.


     16
              Q             Are        you      the          head             of       either       one    of    those


     17
              departments

     18       A             I     am the       head of               the         Sociology       Department.

     19        Q            What        is     Sociology

     20       A             Its         the    study         of       how we become              a human        being

     21        how human        interact        in     groups                  social        groups.


     22        Q            Did you know Mr.                      Carl Cole during his                     lifetime

     23        A            Yes.          I    did.


     24        Q            Did        you     know      him         well

     25        A                Yes.      I    did.




                                                                                                                      40
                                                     LLOYD   E.   BILWPS     CSR 149
                                                         OFMAL      COURT   REPORTER

                                                          76TH    AMICIAL   DISTRICT

                                                             MT.P.EMANT.WAS
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           1
                                    Do    you       know       whether                          or     not     he    was      well-known

           2
                    in all    parts       of    Morris           county                          Texas
T1

           3
                   A                 In   my opinion he was.

           4
                    Q               And would you tell                              His Honor                  the       facts    that you


           5        base   that      opinion          on       your               observations

           6
                    A                For    eight         years               I     was               County Judge               Carl Cole


           7
                    helped my campaign                  when       I          was              running             introduced         me to

           8        his    brother         in       the    north                    end                toured        me       around      the


           9
                    county      introduced                me     to           a      large                 number        of   people      and

          10        then     over    the       years       I     watched                          him make           his      rounds.       I



          11        have   been      into       the     coffee                shops                   in   the     north        end of    the


          12
                    county     and    south         end        when               he           has      come       in    and     talked    to


          13
                    people.


          14
                    Q                And when           you were running                                     for     judge       he   helped

           15
                    you with        your    campaign

           16       A                Yes        sir.


           17
                    Q                What       was     his      brothers name

           18       A                Homer.

           19       Q                What       did Homer                do

           20       A                He    was      a     rancher                      farmer.


           21       Q                Did       he   live        in the                    north             end     of    the    county

           22       A                Yes        sir.


           23       Q                At Omaha              Naples                  or near either                         one

           24       A                Generally the Naples                                             area     that       area.


           25       Q                Was       Homer       a    well-known                             man in this              county



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                                                                       W. REASN           T.   TONS
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      1
              A              In    my opinion he was.

      2
              Q              Were           he        and             Carl                      close     based         on     your

      3
              observation

      4       A              Fairly close.

      5
              Q              Who    else              Do     you know                           any other member of Mr.

      6       Coles     family

      7       A              I    knew          Waldene          Henderson.


     8
              Q              Who    is          Waldene                Henderson

      9       A              His    sister.


     10
              Q              How    did you             come               to            know      her

     11       A              She    taught            in the                public                schools      for years        and

     12
              years    and   years.


     13       Q              Did    she          teach         here

     14       A              Yes.


     15       Q              Did    she          teach         at          the            time      that      you were going

     16       to   school

     17       A              She    did.              Yes.




     well-21
     18       Q              Was    she          a well-known                             person         in   this   county

     19       A              Based          on    the      number                        of      students        that    she    has

     20       taught    down through the years                                       I    would         say she was      a


              known     person          a       lot     of           people                     would     know     her       simply

     22       because    they      have          been      in her                        classes.


     23       Q              Did    you know               Mr.             Coles son

     24       A              Yes.           I    did.


     25       Q              And    I       dont           recall                         do      you    recall      his      first




                                                       LLOYD     E.   BILLUPS         CSR 149                                    42
                                                           OPRaAL COURT              REPORTER

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                                                               MT.    REASNrT.        TEXAS
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      1        name

      2        A             His    name is            Charles Cole.

      3        Q             Did     Charles            live               in Morris               county          any     period

      4        that   you   are aware             of

      5        A             Yes        sir.


      6        Q             When was             that

      7        A             When       I    was growing up here he was                                       the principal


      8        of   what    is    West            Elementary                           School          now         he    ran    for


      9        County Judge        at       one    time.


     10        Q             Do    you know            how many years he was                                       principal

     11        A             No.        I    dont.

      12       Q             Was     it      several

      13       A             Several years.


      14       Q             Did he          teach       here                before              he became          principal

      15       A             I    believe          so.


      16       Q             Was     he      well-known                       and liked                in   this        county

      17       A             Yes.            He    was         well-known                         and       liked       and    well


      18       respected.


      19       Q             Have you kept                up with the media coverage                                       of Mr.


      20       Coles death

      21       A              By keeping                up            do you mean                      have    I    speed       read


      22       through      the   articles


      23                                      Yes.        In          the               local     papers.           Yes.


      24       Q              Have          you heard            a         lot            of   people        comment       on    the


      25       facts    giving          rise       to      his                    death          and    accusation              made




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  1




      1
              against Mr.          Wardlow

      2       A                  Initially      when the even first                           occurred          and when


      3       all    the    initial      publicity                yes people were talking about

      4       it    all    over    the    county       widely.


      5       Q                  Based upon          their          comments                to you    did you          form


                    opinion whether             or not                          had      formed




      --10
      6       an                                                  they                               an    opinion      as


       7      to    Mr.    Wardlows           guilt

      8       A                  Counselor could you ask me that one more                                             time

       9      Q                  Based upon          your observation

                                                                    MR.          TOWNSEND             .    object        to


      11      that        hes      calling      for       an        opinion                 legally       calling       for


      12      an    opinion        on   the    part       of        the         witness       based        not   on    his

      13      personal          knowledge      but     strictly                   his     opinion         he    can give

      14      an    opinion as          to what      he      feels                I    dont know          that    he    can

      15      give    an        opinion as      to    whether                 everybody          else      is    talking

      16      about       it.


      17                                                             THE         COURT           overruled.             You


      18      can    answer.


      19                                      Actually he                    didnt          finish the          question

      20      so    you might have             to    start           at        the      front.


      21                                                             MR.              OLD        Based         upon     the


      22       comments          that    you        heard          from           other       people        about       Mr.


      23       Coles death and                the    accusations                       against   Mr.      Wardlow       did


      24      you    form an opinion as                to whether                       or not    they had formed


      25       an   opinion as           to   Mr.    Wardlows                    guilt



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      1                                                                    THE               WITNESS                 Counselor

      2       thats       an    iffy    question.


      3                                          In some           cases              people            were    --    had strong


      4       opinions         and    in     some       cases              people               expressed            concern       and


      5        things     like       that        without            expressing                      a   strong        opinion       on


      6       one     side     or    another.                It      was             discussed            but        some   people


      7       had polarized.                 Yes.


      8       Q                 BY     MR.        OLD             Did         they              express the           opinion       to


      9       you     that     they believed                 Mr.           Wardlow                 to   be guilty


     10        A                I    have        had people                   express that                     opinion       to    me.


     11        Yes.


     12        Q                Do you have an opinion as to whether                                                  or not Mr.


     13        Wardlow       can get         a    fair        trial              in Morris                county        Texas

     14        A                Yes.         I    do.


      15       Q                And what           is        that           opinion

      16       A                My     opinion               is           that            it       would       be     difficult

      17       difficult        to    empanel           a panel                 in Morris                county       that      would


      18       be     fair     and     impartial                    and              not         know      Carl       Cole         the


      19       Wardlows        or    any     of        the    Coles                   kinfolks.


      20       Q                And     it        is    based              upon              the    knowledge          of       people


      21       of   Mr.      Cole

      22       A                That        and the           size             of        the       county        you       know.


     .2        Q                And     the        small           jury              pool

      24       A                You     know            relatively speaking                                we       have    a    small


      25       jury pool.            Yes.




                                                                                                                                    45
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      1
              Q                 Was    Mr.       Cole        kin             to      a       lot    of      people      in    this


     2        county

      3       A                 Im     not       one    of       these              people          that     keeps      up with

      4       everybodys            genealogy.               I     know            that           he was     kin to several


      5       people      and       they    in    turn           kin         to        others but            to   be    able       to


      6       draw    a   family       tree        Counselor                           I    couldnt          draw you         one.


      7       Q                 Would       you     consider                      Mr.        Cole      to    have      been    one


      8       of   the     pioneer              families                --        the           Cole     family        to     be    a


      9       pioneer      family in this                 area

     10       A                 I    think       that     is            generally                  accepted.


     11       Q                 Do    you know           Jerry Pratt                              Sr.

     12       A                 Yes.        I    do.


     13       Q                 Was    he       County           Judge             before           you

     14       A                 Yes.        He    was.


     15       Q                 He has been quoted as having                                         made the statement


     16        that    Carl had an               awful           lot          of       friends

     17       A                 I    think       that     would                   be       an     understatement.


     18        Q                .A     understatement

     19       A                 Yes.        I    do.


     20        Q                In    what       way     would                that           be an understatement


     21        A                He    had a       lot        of          friends.


     22        Q                Carl       was     82     years                   of        age      did     he   get       around


     23        well

     24        A                Yes.        He    did.


     25        Q                Was    he       still        active                 in       the    cattle        business         at




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     1        the        time    of       his    death

     2        A                   I        think          he    was             cutting              back        he    had       pretty


      3       substantially                 cut       back       but he still                        kept     his hands          in it.


      4       Q                   You           mean      he     got            out        everyday           and     you    saw       him


      5       about        town

      6       A                   I        saw him virtually                              everyday.


      7        Q                  Where           would         you         see           him

      8        A                  I        would       see      him at                the         little       store     in      Cason


         9     I    would       stop        and get a cup                       of       coffee           and we would           visit.


     10        Q                  Was           he    a    friendly                  man who              visited      with       a    lot


     11        of      people

     12        A                   Everybody                   that       came            in.



      13       Q                      I    have        also       heard               that           he    was    a    great       story


      14       teller

      15       A                      Yes.


      16       Q                      Did       Mr.       Coles                 popularity                 cross       age       groups

      17           that    is    was        he       known       and            liked             by    people        much       younger


      18           than    he

         19    A                      I     think         that      may           have            had     a   limit.         I    think

                                                                                                                 Mr.    Cole       but    a
      20           you know           I    am considerably younger                                        than


      21           lot    of    people          in my age             group who knew                          him and who             liked


      22           him and even              the generation                          below me but as                   far   as young


                                                          and people                      in      their       early 20s knowing
         23        people        teenagers


         24        Mr.    Cole    I        would       say probably                         not.


         25        Q                      How    old are          you             Mr.          Cowan



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                                                                 LLOYD     E.   BILLUPS    CSR.   149
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                                                                          Mr.   PJALW.     TOM
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     1        A               I    am    50.


     2        Q               Do       you     think           it           goes             down      a   generation   below

     3        you

     4        A               I    would        say          the            next            group.         Yes.     People   in


      5       their     30s   and 40s          knew           Mr.            Cole.


      6                                                                      MR.        OLD            People     in their 30s


      7       and 40s     knew         Mr.     Cole

      8                                        Pass          the           witness.


      9




     10                                          CROSS                EXAMINATION


     11                                             BY MR.                   TOWNSEND


     12




     13       Q               Mr.        Cowan       when you talked about Ms.                                      Henderson

     14        I   believe    you        said       she was                   a      schoolteacher


     15       A               I        think    so           Waldene.


     16       Q               Where          did she             teach                  if       you     know

     17       A               I        think    she          taught                 in       Garland        she substituted


     18        in the   Daingerfield system for years and years and years.

     19        Q              She        didnt work                         in the               Naples-Omaha       end of   the


     20        county

     21        A                  Counselor              I     dont know                          for sure.       She may have


     22        when   she     first          started.


     23        Q                  As far as you                     know               she       didnt
                                                                                                                                   /


     24        A                  As    far    as    I        know             she           did not.


     25        Q                  Mr.        Charles                Cole                is         Mr.     Coles      son    was




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                                                             LLOYD    E.    BILLUPS.    CSR.     149
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                                                                     Mr.    P.EM.   Hr.1O   AS
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      1
              principal            and worked             in the Daingerfield school                                                 district

     2        is       that    right

      3       A                    Thats               right.                  West             Elementary.

      4       Q                    He    never worked                           in the                   Naples-Omaha               end of    the


      5        county

      6       A                    Not       to        my knowledge.

      7        Q                   On this popularity                                       as           regarding age               would    you


      8        agree      with          me    that       Mr.           Cole                 was            certainly better                 known


      9        in the         65   and older category                                    than              he would          have been with


     10        the      younger         people           so       far as his friends and                                       those    people


     11        who      felt       close          to    him

     12        A                    I    think          so.            I        think               the         older        the    group    gets


     13        the      longer they are going to have                                                      known        --    to have       known


     14        him and longer                     he has          been                here           so      I    think       the    older     the


     15        population               is        that    knew                  Carl             Cole            the    better        they     are


      16       going      to       know       him.            I    will                agree               to     that.


      17       Q                    When you             said you had people                                           that    expressed        to


      18       you      their       prejudice                 or       they                 felt           as     if   the     Defendant        in


      19       this case           was guilty                     I    believe you also said or you sort


      20       of      indicated              I    want           to       clear                this         up        there       were people


     21        who discussed the case without                                                     expressing                 that     they felt


      22       like       they      knew who             did it                      or he           was         guilty            they knew    he


      23       was      guilty or anything                             of            that           nature


      24       A                    Yes.           In    fact                  Counselor                         the whole           range   from


      25
                  --   everybody             from who adamantly was                                              convinced          that he was




                                                                                                                                                4 9
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           1
                    guilty        all         the     way       through                neutral              and    every           once        in


           2        awhile           every         great     --     and           I    mean           every once              in    a       great

           3        once        in    awhile              you      would                   have           somebody            express           a


           4        presumption               of    innocence                    they        were          going    to       wait           until

           5        it    was    determined by                  the        Court.


           6        Q                   So     the opinions                 expressed                     would be kind             of like


            7       the    opinion             expressed           in       any            criminal              case        in     some       of


           8        them some people                  are going to automatically                                        think       someone

            9       is     guilty             and      some        people                    are          going         to     wait           and


           10       everything                in   between

           11       A                   Yes.           And        virtually                        everything.           in        between.


           12       Yes.


           13       Q                   So         theres nothing                          unusual          about        that

           14       A                     I    dont        think      so.


           15       Q                   You         said    earlier that                             initially          there           were    a


           16       lot    of    talk         in the       community about                            this       case        do you          find

           17       that     as      of       today         there           is         still           as   much        talk        or       more

           18       talk     or      less          talk     how do you                      feel          about    that

           19       A                     I    think       its       like             any           other newsworthy                    event

           20        in    close      proximity             to     when               it      took         place    the        more talk


           21       and more discussion                         the more talk                         took       place and as                time


           22       passed        the          talk       diminished                    somewhat             and        as     that          case


           23        comes      to      trial         and       makes              the        newspaper             its            going       to


...        24        increase           again         so     it       will                 come           back     up        but        its     a


           25        circular         thing.




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      1
              Q                  You       said    Mr.     Cole               was           known    in     all   parts        of


      2       Morris       county          that    he    did            have            a   brother        that     lived      in


      3       Naples        is       that    correct

      4       A                  In    the    north end of                         the       county.


      5        Q                 Yes.


      6                                       Mr.       Carl             Cole               his     ranch     was       in    the


      7        Cason area             is    that    correct

      8        A                 Yes        sir.


      9        Q                 Where       was    his     brothers ranch                                 Was    it    in    the


     10        Naples      area




     well-14
     11        A                 Pretty much.                Yes.


     12        Q                 Would you agree with me that although                                            Carl Cole


     13        was known         maybe county-wide                        he was             certainly not as

               known    in the         Naples-Omaha                    end         of       the   county     as   he was        in


      15       Daingerfield

      16       A                 I    will     agree       to           that.


      17       Q                 And certainly would not have been as well-known


      18       in    the    Lone       Star        area     or           Hughes               Springs       area       part     of


      19       Morris county               as he would            in the Daingerfield-Cason                               area

      20       A                 Thats         quite       true.


      21       Q                 When        Mr.    Cole was                  introducing              you    around          when


      22       you were       running          for County                    Judge           and the      various places


      23       you     went      with       him and        were               introduced              to    him were           the


      24       majority of             the    people        that              he        introduced          you    to    in    the


      25       age     category            that    they would                      now       be     although           they    may



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     1        not have       been           then      they would                            now be         65    or        older

     2        A                  I        cant       say            what                   percentage                 but     a     large


     3        percentage             of     them     would              probably                     be    in    that        age    range


     4        now.


     5        Q                  Not        all    but     a       large                   percent

     6        A                  A goodly number.


      7                                                                          MR.           TOWNSEND                      Pass     the


      8       witness.


      9



     10                                           REDIRECT                      EXAMINATION


     11                                                     BY MR.                         OLD


     12




     13        Q                 Of        those     people                    65      years          of       age    that    he might


     14        have    introduced              you    to        when                  he was          campaigning             with you


     15        did    they have             children

     16        A                  Oh        yeah.


     17        Q                     Grandchildren


     18        A                     Yes.


      19       Q                     And    was      Mr.           Cole               influential                    in    helping    you


     20        with    those          people

     21        A                     Let    me put         it           this               way       when        I    first        started


     22        running       I       dont         think     I          knew             a      soul       on the          north     end of


      23       the county            and Mr.        Cole introduced                                  me to business people


               to     farmers             to   ranchers                        to      people             in    the       coffee     shops
         24



         25    so    there       was a kind           of       -   -      there                was a broad                cross    section




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    Case 4:04-cv-00408-MAC Document 44-10 Filed 12/11/17 Page 62 of 164 PageID #: 1500




          --3
          1        of    people    that         he         introduced                    me          to        and    then        yes        they


          2        had children            and


                   Q              Back          when            you       were               campaigning                   it     was    what

          4        twelve        fifteen         years              ago

          5        A               Counselor                    I    cant                --      it        was       in 1982.


          6        Q              Did        Mr.           Cole       seem              to      know            a    lot    of    people       in


          7        the    north part            of         this      county

          8        A               Yes.


          9        Q               Were these people                                that were influential                              people

         10        that    you    consider                 to   be      influential

         11        A               Yes.


          12       Q               And       did he             know               less        up there                than      he knew       in


          13       Daingerfield or in Lone                              Star

          14       A                  Less       people

          15       Q                  Did he           take         you            to    see              less      people

          16       A               No.          Actually he                        took         me to see a lot                    of   people


.         17       in    the   north         end           of       the           county                  and       didnt        take    --    he


          18       didnt       take        me     to        see        people                  in          the       south       end    of     the


          19       county.


          20       Q                  Did    you           carry          the           north              end of          the   county

          21       A                  Yes.         I       did.


          22       Q                  What      can you               attribute                           to    your       success       there


          23
                   A                  I   wish         I    could say my good looks                                        and wisdom but


          24
                    it   may have          been        the          weakness                  of          my opponent             or    lots    of


          25        things.       I       did meet              a    lot           of        people             in the          north    end        I




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     1        formed       a   lot   of    good    friendships in the                               north        end.


     2        Q                 Do   you think       Carl             Cole had                anything          to   do    with


     3        that

     4        A                 Carl      Cole    had       --        he       opened             the   door         yes     he


      5       did.


      6                                                               MR.          OLD        Pass       the     witness.


      7                                                               MR.           TOWNSEND                No       further


      8       questions.


      9                                                               THE          COURT           May    this       witness


     10       be excused


     11                                                               MR.          TOWNSEND              Yes.


     12                                                               THE           COURT               Thank        you    for


     13       being        here.     You    may be excused.

     14                                     Next    witness                        please.


     15                                                               MR.          OLD        Grover        Dyas.


     16




     17                                             GROVER                 DYAS


     18       was called- as a witness                  and             having              been    first       duly sworn

     19       by     the    Court      testified         as           follows

     20



     21                                          DIRECT           EXAMINATION


     22                                               BY MR.                  OLD


     23



      24       Q                Would you please                      state                your   name

      25       A                Grover      Dyas        D-Y-A-S.



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      1
              Q             Where    do      you     live                        Mr.             Dyas

     2        A             208   Highland.

      3       Q             Is    that       Daingerfield or Lone-Star

      4       A             Daingerfield.

      5       Q             How    long have           you                  lived                 in Morris          county

      6       A             About    nine          years                I        think.


      7        Q            Did you know              Carl                  Cole

      8       A             Yes     sir.


      9        Q            And    how did you                     come                to         know       him

     10        A            I    met him the           first                       time            I   ever     went       to   Cason

     11        that   was back    in the           early 50s                           he was            --    he was       a   friend


     12        of   my   wifes    family.


     13        Q            From the early 50s until you moved here did you


     14        come back    and     forth into               Morris                          county          and visit


      15       A            Yes      sir.


      16       Q            Who    was       your     wife

      17       A            Pardon

      18       Q            What     was      her maiden                             name

      19       A            Minter.

      20       Q            Was     Carl           Cole                     a       well-known                       man    in     this


      21       county

      22       A            Yes      sir.


      23       Q            How     well-known                would                     you            say he    was

      24       A            Well         I   would        say                    everyone                I    know    knew       him.


      25       Q            How     did       --    from what                                they       said about              him how




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      1       did    they    feel         about       Mr.      Cole

     2        A               Well           everyone                I      know              spoke    wellof            him.


      3       Q               Do      you know              Mr.           Wardlow

      4       A               Yes           sir.


      5       Q               Have          you       heard          people                   comment     and           talk    about

      6       the    accusation             against           Mr.            Wardlow              so    far        as   him being


      7       accused       and of          having          killed Mr.                         Cole

      8       A               Yes           sir.        I    have.


      9       Q               And         people        expressing                            opinions        of    guilt       as    to


     10       Mr.    Wardlow

     11       A               Well                  just       about                     everyone             said         he        was

     12       guilty.


     13       Q               Do you have an opinion as to whether                                                      or not       Mr.


     14       Wardlow       can       get       a   fair      trial                 in        this    county

     15       A               Well           like      I     said              everyone                that    I    have       talked


     16       to    or heard         --    hear them speak                            of       this case       they       say    hes

     17       guilty    so       I    really         dont            know.


     18       Q                  Do       you       think     that             Mr.             Carl    Coles            popularity

     19       would     cause         the       prejudice                   against              this     --        against          Mr...



     20       Wardlow       in       this       county

     21       A.                 I    would         say     yes             sir.


     22       Q                  Do       you believe                that              it      would

     23       A                  Yes        sir.


     24                                                                     MR.           OLD         Pass     the       witness.


     25




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     1                                                       CROSS        EXAMINATION


     2                                                        BY MR.               TOWNSEND


      3




      4        Q                    Mr.       Dyas            who asked                       you     to       testify          today

      5        A                    Pardon

      6        Q                    Who       brought               this               up       to    you       and        asked          you     to


         7     testify              Was       it        members of                      the      Wardlow              family

         8     A                    Well           yes         sir.            Jimmy asked me if                            I    would          come


         9     down       to   the       hearing              and     I      told him that                        I   had a doctors


     10        appointment                and            I     couldnt                         make        it     today              but        then


     tt        yesterday            I    got        a        subpoena.


      12       Q                    So    you            were         asked                 by       the        Defendant                in     this


      13       case        you were                asked        by his                  father            to    appear

      14       A                    Yes            sir.


      15       Q                    And       are you               friends                    with       the    Wardlow                 family

               A                    Well            I        have     known                 Jimmy ever                since          I    came    to




         --21
      16




         17    Cason       the       first          time.


         18    Q                    Okay.                You     said of                       the    people you                 had       talked


         19    to      they     thought                 that        Mr.            Wardlow             was       guilty                  have    you


         20    talked          to    people              in    the        Lone              Star          Naples            Omaha


               A                     No        sir.            Just          --         I      havent           made       it        a   point to


         22        talk to anyone but                        in passing people                             would mention it                      and


                   last    year well                just        about               everyone                that       I    knew          said he
         23



          24       was.


                                        And         it         was           people                   in        your            --        in      the
          25       Q




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  1




      1        Daingerfield          area

      2        A               Yes       sir.


      3        Q               Not      Naples

      4        A               No       sir.


      5        Q               Not      Omaha

      6        A               No       sir.


       7       Q               Not      Lone     Star

       8       A               No       sir.




      --11
       9       Q               Not      Hughes            Springs

      10       A               No       sir.     But


                                                                       MR.       TOWNSEND           Thank   you.


      12




      13                                       REDIRECT               EXAMINATION


      14                                                  BY MR.             OLD


      15




      16       Q                 What    do     you       do          Mr.       Dyas

      17       A                 Im     retired.


      18       Q                 Where     are you         retired

       19      A                 From the        railroad.


      20       Q                 What    did you          do            Did you work for the railroad


      21       for      a   living

      22       A                 Yes      sir.        I    am a           signal          maintainer.


       23      Q                 The     District          Attorney                     cut   you   off     you    said


       24          But      what was your response                                You were      trying to     finish


          25       an   answer



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                                                      LLOYD      E.   BILLUPS   CSR 149
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     t        A                  Well         he       asked             me         if        I    had        talked      to      people


     2        here     the       last       year.           We     were             --       we     went       to     South       Dakota


         3    to    visit    my sister-in-law and in talking                                                   to    some of       their


         4     friends       there          in    South           Dakota                  they          said    Where            are    you


         5     from

         6                                        I    told         them             Daingerfield                      Texas.


         7                                        Well            then              they said that                   they had read


         8     about       the    case       of       the   boy from Daingerfield and that                                              was


         9
               --   that     was      the     only          thing                   they          were        talking       about       it.



     10        Q                  Have       you        talked                 to         many people                or     you    heard


     1   1     many    people         comment           that             Mr.        Wardlow              is     guilty

     12        A                  I   have        heard           quite              a      few     people          say     it    but     I

         13    like    I    said        I    have       never             discussed                     the    case    or anything


         14    because       I    really          dont know anything                                     about.it.


         15    Q                  But        people              have               brought              it     up     to        you    and


         16    expressed          the       opinion of                   guilt

         17    A                  Yeah.


         18    Q                  Approximately                     how             many

         19    A                  Oh        gosh.            I     dont have any                              idea.


         20    Q                  Okay.               Many
         21    A                  Numerous.


         22                                                                      MR.        OLD           Pass       the witness.



         23
                                                                                 MR.              TOWNSEND                No      further


         24       questions           Your Honor.


                                                                                 THE        COURT             May this gentleman
         25




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     1        be excused


     2                                                              MR.           TOWNSEND               Yes     Your


     3        Honor.


     4                                                              MR.          OLD         Yes      Your Honor.


      5                                                             THE          COURT          You    are   excused.


      6       That    means       you    dont        have            to      stay           around.     Thanks      for


      7       being around here and                  Im      sorry about                     causing you to miss


      8       your appointment.

      9                                   Next       witness                     please Mr.Old.

     10                                                             MR.          OLD         William McCoy.


     11




     12                                          WILLIAM             H.          McCOY


     13       was    called   as a witness              and having been                         first    duly sworn

     14
              by    the   Court         testified as                 follows


     15




     16                                        DIRECT             EXAMINATION


     17                                               BY MR.                 OLD


     18




     19       Q               Please       state        your name.

     20       A               William          H..   McCoy.


     21        Q              How       are you       employed                        Mr.    McCoy

     22        A              Im         self-employed                                an     attorney        here    in


     23        Daingerfield.


     24        Q              How       long     have        you been                  so

     25        A              I    have    had my own                      office           here in Daingerfield




                                                                                                                     60
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      1        since          the       first        week         in           August                     1987      I    have        been


      2       practicing                law    since        1984.


      3        Q                    How       long     have you                   lived              in Morris          county

      4       A                     All       my life           except              for             the    seven       years    I    went


      5        off       to   be    educated.


      6        Q     S


                                    You       were     born and raised                                    here

      7        A                    Yes        sir.


      8        Q                    What       part        of     the          county

       9       A                    I    was       actually             born                in       Hughes       Springs       at    the


      10       Steed Hospital                  and     I    was     reared here                            in Daingerfield            and


      11       since          I   have     been        five        years                  old         I    have    lived       on    what


      12       they       call      the Black Mountain                                    Road             or    Holt Road           now.


      13       Q                    Now       in    your         practice                      and        over    the    years       have


      14       you       developed            friends            and          clients                 in    all    parts       of    this


      15       county

      16       A                    Yes         sir.


      17       Q                    And        you         are      aware                   of        what       Mr.    Wardlow        is


      18       accused            of

      19       A                    Yes         sir.        I     am.


      20       Q                    Have        you        heard              a     lot             of     discussion          or    talk


      21       about          that

      22       A                    Yes         sir.         I    have.


      23       Q                    More        than        you           usually                    hear        when    someone       is



      24       charged            with murder


       25      A                    Much        more        just         because                    of     who    the   victim       was.




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     1        Q                Who     was     the-victim


     2        A                Carl         Cole.


     3        Q                What         about       the    victim                     caused       more talk           than    in


     4        other cases


      5       A                Mr.      Cole was well-known                                    and he was well                 liked.


      6       Everybody-       that         knew    him said he would                                 give    you the           shirt


      7       off     his   back        he    would           do      anything                   to    help    you.


      8
                                              In particular                              Mr. Wardlow                didnt have


      g       to    do what       he   done        to   the        old         man             he would        have    gave him


     10       the     pickup      without           having            to          kill          him.

     11       Q                 Thats what               you are hearing


     12       A                 Yes         sir.


     13                                       Not       as much                now as it                   was when       it    first


     14       happened         and     even     six or eight                            months later it               was       still


     15        a    lot   of   talk.


      16       Q                Let     me     ask      you               I    mean you have                   been       involved


      17       in    these     matters both               as         a        lawyer             and       observer        on many


      18       occasions

      19       A                  Yes       sir.


      20       Q                  Is   it    reasonable                       to predict               that    the    same        talk


      21       will       start    back       up when              this           case           commences          for        trial


      22       A                  Yes        sir.        It    can.


                                               In       fact              we            just         had    another            capital
      23



               murder case             in    July of          this             year            and everybody              started
         24



         25       said      Well        what        happened                   to          the       guy     that    killed        Mr.




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                                                                    Mr.   RFA3M    T.   TEAS
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      1        Cole        What           have        they        done          with            him

      2                                               I    am afraid because                            of    this most recent


      3        one    there      is        going            to    be      a      lot        of     flack      and    fallback       on


      4        the Wardlow                case because                 people               are starting             to ask      What

      5        happened               Why       is        it     taking             so       long        hang   him.

      6        Q                 Do         you           have      an           opinion             whether         or     not    Mr.


      7        Wardlow         can        get     a        fair    trial              in        this     case

      8        A                  I       mean        it       would be extremely difficult                                 for him


      9        to    get   a    fair        trial              here       in Morris                  county.


     10        Q                 And         its               based      on your                  knowledge         of    Mr.    Cole


     11        and his popularity


     12        A                  Yes           sir.


      13       Q                  What          are people                    telling              you        What    do    they   say


      14       when    they       talk          about            the      Wardlow                  charge

      15       A                  Lots          of         people             are          saying            Yeah     well give

      16       him a       fair           trial           then     we           will          hang      him     make       sure    the


      17       tree    is      high         enough               that         it     breaks             his   neck    as    soon    as


      18       he    falls.

      19       Q                  Have            you            heard             that            opinion       expressed          or


      20       similar to                 that

      21       A                  Yes            sir.


      22       Q                     On one               occasion              or         several       occasions


      23       A                      I    never           kept     a count                  but    I   would       say that       its

      24       probably going                    to        be     75          100           150     occasions.


          25   Q                     Where           people            have          flat          said       Lets        give    him a



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      1       fair    trial           and then         hang          him

     2        A                   Yes       sir.


      3       Q                   When people make that statement                                          Lets        give him

      4       a   fair   trial             and    lets hang him                               does       that    indicate       to


      5       you    whether           or    not       a    man            can        get      a    fair    trial       in    this


      6       county

      7       A                   It       indicates           to          me          and      Im    not       representing


      8       this    man         and       hes        a    dead             duck            here    in    Morris       county

      9       hes     going           to   get     the      death               penalty.


     10       Q                   The      people          that        you            talked        to can      you identify

     tt       with any particular part of the countyor                                                     spread      over    the


     12       county

     13       A                   Theres           more       from the                       south end of         the       county

     14       but    then     I       represent            and have                    friends       in    Omaha        Naples

     15       the north           end in my age group and                                    they have all            expressed

     16       the    same     opinion.


                                  Do you think               theres any




     well-20
     17       Q                                                                               less prejudice            against

     18       him in the north part of                          this              county           than    the   south       part

     19       A                   I    think       its         the            same because                 he   was    so


              known.


     21       Q                   Do you practice                          criminal                law

     22       A                   I    do        Mr.   Old.


     23       Q                   What       percentage                     of        your      practice         is    criminal


     24
               law

     25       A                   Probably             60     to           65         percent        of    my practice          is




                                                                                                                                 64.
                                                            LLOYD    E.    BILLUPS.   CSR 149
                                                               cmc           caxra     VMW
                                                                    76TH   A IMAL D     CT

                                                                    W.     RFA    .1   A3
Case 4:04-cv-00408-MAC Document 44-10 Filed 12/11/17 Page 74 of 164 PageID #: 1512

      1        devoted         to    criminal             law.


      2        Q                    You    are    like           I      am we                    are       country          lawyers    and


      3       we     do   a    little       bit       of        everything

      4        A                    Yes.


      5        Q                    Your preference                           is       for           criminal          law

      6        A                    Yes.


      7                                          In       fact          I       have             made the             statement many


      8        times      if    I    could       do       nothing                   but            criminal           law    thats     all


      9        I    would      choose       to    do        in       the            practice                of       law.


     10        Q                    Has    this        crime                received                   a    lot      more     newspaper

     11        coverage             than    is    usually                      received                    by    a    crime       in   this


      12       county

      13       A                    Yes     sir.            I     believe                       it    has.


      14       Q                    You    have        been           present                        in    the       courtroom         have


      15       you    not

      16       A                    Yes      sir.


      17       Q                    One     of        the        articles                          that      was       introduced        in


      18       evidence             starts       out        Mr.                   --        words           to       the    effect     that


      19       Mr.        Cole      was    killed in cold                                  blood

      20       A                    Yes      sir.


      21       Q                     Is    that       a    pretty                   strong                 statement         to   have    to


      22       contend         with        in     a    newspaper                           if        you    are       representing           a


      23       man

      24
               A                     Its     a    very            strong                   statement.                  The    paper      had


      25           already found            him guilty and is                                        just    waiting         to   execute




                                                                                                                                          65
                                                                LLOYD    E.    BILLUPS.     CSR.     149
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                                                                        AQ.    PIF/ALWT.   TDW
Case 4:04-cv-00408-MAC Document 44-10 Filed 12/11/17 Page 75 of 164 PageID #: 1513
  1




       1      him in my opinion.


       2
                                                                           MR.            OLD               Pass     the       witness.

       3




       4                                              CROSS         EXAMINATION

       5                                               BY MR.              TOWNSEND

       6




       7      Q                  Mr.    McCoy          in the years that you have                                              practiced

              law    I    think       all    of       this       has          been                here           in Morris
       8
                                                                                                                                 county

       9      A                  Practiced             law          I      originally started in Hughes

      10      Springs       with Pat Florence                           and           I   was working                   for     her then

      11      I   went     to    Naples          and    officed                       with             Jim Clark           for       awhile

      12      and    then       opened       my own          in August                                in    87     then         its     not

              limited       to        Morris          county                              practice                 in
      13                                                                       I                                          surrounding

      14      counties      even so far as Lufkin and Nacogdoches                                                          on    things.

      15      Q                  In    all       of    your practice                                   of       law you        have    from

              the    criminal standpoint                          we         are                                  about         criminal
      16
                                                                                              talking                      a


      17      case       you have always                100 percent                               of       the    time represented


      18      the    defendant              is     that      correct

      19      A                  In    criminal           law

      20      Q                  Yes        sir.


      21      A                 All except             for the                 time               I    was City Attorney                for


      22      Lone       Star and was            City Prosecutor                                      at    that    point       in time.


              Q                  So you have            never                prosecuted                          felony cases
      23                                                                                                                                you

      24
              have       never        represented                  the              State                  of    Texas         you     have


      25      always        represented                the              criminal                           defendant            is     that




                                                        LLOYD      E.   BILLUPS       CSR.    149                                        66
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                                                                 76TH   JUDICIfJ.   MOM
                                                                  Mt.   RfAW    T.   MW
Case 4:04-cv-00408-MAC Document 44-10 Filed 12/11/17 Page 76 of 164 PageID #: 1514


      1       correct

      2       A                Thats            correct.


      3       Q                In        fact     in      addition                        to      that         you       are     a    past

      4       political        opponent              of   mine                is         that         correct

      5       A                Thats            true.


      6        Q               These            people          that                    you           heard          making          these


      7        statements about Billy Wardlow                                           or about            Carl Coles death


      8        about    hanging            him        or       stringing him                                   up     or    something


      9        like    that     its        quite          possible a                            lot    of      those       people         may




      --12
     10        have    been    joking

     11        A               Well

               Q               People           saying stuff on                                 the    street doesnt mean


      13       necessarily          thats how              they would                            act      if    they       are       on    the


      14       jury doing serious duty


      15       A               Mr.         Townsend                     I         would               like          to     give           most


      16       everybody        the       benefit         of      the              doubt              but      these       particular

      17       individuals           I    took       to be        very                  sincere             and earnest               about


      18       what    -they   were        saying because                               they      --       they knew           Mr.        Cole


      19       personally        and had known                    him for years                                there.


      20       Q                So         each            and                    everyone                      of         them            was


      21       serious

      22       A                The       particular                ones                 that         I     have         talked       to    on


      23       numerous        occasions                  Im            sure               some           of    them       were           just


      24
               somewhat        joking           but       as      a         criminal                      defense          lawyer          you


      25       dont      take       that        as    a   joke                you               know        when         people       start




                                                                                                                                            67
                                                          LLOYD   E.    BILLUPS.        CSR f149
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Case 4:04-cv-00408-MAC Document 44-10 Filed 12/11/17 Page 77 of 164 PageID #: 1515

     1        talking      about        that when         you have got a                          man   s    life    in your


     2        hands.


     3                                                                  MR.           TOWNSEND                     Pass     the


     4        witness.


      5




      6                                       REDIRECT                 EXAMINATION


      7                                                   BY MR.              OLD


      8




         9    Q                Are you          for      law enforcement


     10       A                I    beg your pardon


     11       Q                Are      you       for     law           enforcement                     Do    you believe


     12        the    laws     of    the      State       of       Texas              and        United      States       ought


     13        to    be   enforced

     14        A                Yes        sir.


      15       Q                Do      you     believe                 that           everyone             every     man     is


      16       entitled        to    his    right         to      a      fair              trial

      17       A                Yes        sir.


      18       Q                Do you believe                   that            Mr.        Wardlow       can get         a fair


         19    trial      in    this       county          based              on           the     prejudice         and     the


      20       attitude            there       is        in       this                county         toward          him     for


      21       supposedly           killing         Mr.       Cole


         22    A                   No    sir.        I    sure            dont.


         23
                                                                          MR.         OLD          Pass      the    witness.


         24



         25




                                                                                                                               68
                                                         LLOYD    E.    BILLUPS   CSR.     149
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                                                                 76tH   CIDUL    Da1RICT

                                                                  Mr.   PJAWir    TDM
Case 4:04-cv-00408-MAC Document 44-10 Filed 12/11/17 Page 78 of 164 PageID #: 1516

     1                                            RECROSS             EXAMINATION


     2                                                 BY MR.              TOWNSEND


     3




     4        Q                    Mr.    McCoy             we   had           a         change        of   venue       hearing


      5       about         a    year     ago         on    another                capital             murder      case         you


      6       testified            on     that        capital              murder            case      that       he   couldnt


         7    get      a    fair    trial        either


         8    A                    Yes         sir.         Tony Walker                     case.


         9     Q                   Tony Walker

     10        A                   Yes         sir.


     11        Q                   And    that        case       received                  newspaper         publicity          and


     12        that        was   part      of    your reason                         I     assume would            be part       of


                           reason        for    saying he                  couldnt               get    a   fair       trial
     13        your

     14        A                   Yes.


      15                                          Of       course             at         that       time      that          Wardlow


      16       accusation           came about              also            Mr.          Townsend           Tony Lee Walker


         17    was     first       and    I    believe           the        Carl Cole murder was                        next and


         18    there         was     a    lot         of     publicity                     at      that     time       with     the


         19    Wardlow           matter going on.


         20    Q                    There        have        been           two          capital          murder        cases     in


         21    Morris county                  that     --    since           we can recall                    since we         have


         22    been        practicing            law

         23       A                 Yes         sir.



         24       Q                 And you didnt                     think              either one          of    them should


                  be   tried        in    Morris            county             by          the      citizens           of    Morris
         25




                                                                                                                                  69
                                                             LLOYD    E.   BILLUPS   CSR.    149
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     1
              county       is    that    correct

     2        A                 No.     Sure       didnt.

     3




     4                                     REDIRECT                  EXAMINATION


     5                                                 BY MR.               OLD


      6




      7       Q                 There    are        now       three            capital             murder trials            in


      8       this   county          pending

      9       A                 Theres         the    one            from Jenkins                  as    I    understand

     10       I   dont remember           the        guys             name.


     11       Q                 Excuse    me.         One            of    these             has   been       tried

     12       A                 Yes     sir.         Tony Lee Walker                          has been         tried       the


     13       one    from Jenkins              I    dont remember                            his   name        burning of

     14       some    type      of    mobile        home            then        theres             the       Wardlow      case


     15       and    hes     the      defendant        and the Randy                          Byas      case       that   just


     16       happened       this      past        July.


     17                                                               MR.        OLD           Pass      the       witness.


     18                                                               MR.            TOWNSEND                 No     further


     19       questions.


     20                                   You may               step           down.


     21                                    Joel        Bumpass.


     22                                                                THE        COURT              Okay          Mr.    Old

     23       your witness.


     24



     25




                                                                                                                            70
                                                      LLOYD    E.    BILLUPS   CSR.    149
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                                                              76TH   AVO    COMM
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     Case 4:04-cv-00408-MAC Document 44-10 Filed 12/11/17 Page 80 of 164 PageID #: 1518

           1                                             JOEL          BUMPASS


           2       was called       as a witness           and having been                          first    duly sworn
..


           3       by   the   Court        testified as                 follows

           4




           5                                       DIRECT         EXAMINATION


           6                                              BY MR.                  OLD


           7




           8        Q           Please        state        your name.

           9        A           Joel        Bumpass.


          10        Q           Where        do    you live                  Mr.          Bumpass

          11        A               424    Lindsey          Daingerfield.


           12       Q           Where        do    you      work

           13       A               Lone Star Tubular                      Service              in Lone     Star       Texas.


           14       Q               Do you understand that Billy Wardlow                                      is accused


           15       with having       caused        the     death             of        Mr.     Carl    Cole

           16       A               Yes     sir.


           17       Q               You    heard     a     lot          of        people         talk   about      that    in

           18       Morris    county       since     Mr.      Cole                died

           19       A               Yes     sir.


           20       Q               Have    they    expressed                     opinions         to   you that as        to


           21       whether    he    was    innocent          or         guilty

           22       A               Yes.


           23       Q               What    opinions          have                they      expressed        to   you

           24
                    A               That    he     was     guilty.


           25       Q               Were     they        pretty                   strong         and    firm      in    those




                                                                                                                            71
                                                          LLOYD   E.   BILLUPS.    CSR.   149
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     1        opinions

     2        A              Yes        sir.


     3        Q              Have they pretty well determined what they want


     4        to   do with       him

      5       A              Yes        sir.


      6       Q              And what              was        that

      7       A              Death        penalty.


      8       Q              How    many               people            do       you           think     that       you    have


      g       talked   to    that       have           expressed                  that          opinion

     10       A              Well         I       couldnt                give           you       an    accurate          number

     11       seven    eight        ten           people.


     12       Q              Have       you heard                talk             about           a    letter

     13       A              Yes.         I       have.


     14       Q              Will       you            tell      the         Court              what    you    heard       about


     15       a    letter

     16       A              Well             2    heard          that                the       Wardlow        boy    wrote     a


     17       letter   to    the    sheriff              explaining                        or confessing             his guilt


     18       and saying         that     he       was        ready to                     receive       the   needle.


     19       Q              Okay.            And have you heard that                                   on more than one


     20       occasion

     21       A              I    heard           it     a    couple              of           times.     Yes.


     22       Q              When       those            words            were             spoke       were     there       other


     23       people   present          other than                     you and                  the    speaker

     24       A              Yes        sir.


     25        Q             Was     it           spoke       like               in        a    break     area       or    coffee



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                                                         LLOYD   E.    BILLUPS    CSR 149
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Case 4:04-cv-00408-MAC Document 44-10 Filed 12/11/17 Page 82 of 164 PageID #: 1520                                                          1
                                                                                                                                                r




      1        shop    or   that        type

      2       A               Yes.                People              talk.                       We        were     just    standing

      3        around.       Yes.


      4        Q              Do you know whether                                        that          was    true        do you know


      5        whether      such        a    letter              exists

      6        A               I       do    not       know           that.


       7       Q               But          people           believe                 that              it    does    based on what


      8        they    said    to       you

       g       A               Yes           sir.


      10       Q               Did          you know              Mr.            Cole

      11       A               No           sir.         I       did not.


      12       Q               Do       you know                 of      him

      13       A               No           sir.         I       did not.


      14       Q               Okay.               Since           his           death              have      you    learned      a   lot


      15       about     him

      16       A               Yes              sir.         I     have.


      17       Q               What          have        you          learned                     about       him

      18       A               I       heard        --       I    learned                  that             he was    a   fine    fellow


      19       and    thats            about       all.


      20       Q               Did you                 learn             that            he         was      well-known          in   this


      21       county

      22       A               Yes.


      23       Q               Do        you       have            an           opinion                 as    to    whether      or    not


       24      Billy     can get            a    fair            trial           in       this              county

       25
               A                   I    dont believe he                                  can.




                                                                                                                                        73
                                                                 LLOYD     E.   BILLUPS   CSR 149

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     Case 4:04-cv-00408-MAC Document 44-10 Filed 12/11/17 Page 83 of 164 PageID #: 1521

          1        Q              Is       that    based        upon            the        prejudice             that    you have

          2        seen    against him in this county

          3        A              Yes         sir.        It    is.


          4                                                                MR.           OLD          Pass       the    witness.


          5




          6                                            CROSS        EXAMINATION


           7                                             BY MR.             TOWNSEND


          8




           9       Q              Mr.       Bumpass you talked                                  about   a letter         that you


          10       heard     something            about         you           wouldnt                  think      it     would       be


          11       unusual       to        have    rumors           about                all         sorts       of    things        in


          12       criminal      cases            would       you

          13       A              Pardon           me

          14       Q              You wouldnt                  consider                   it     to be unusual            to       have


          15       rumors    floating             around       in criminal                           cases

          16       A              I        dont        think     it           would             be   unusual.           No.


          17       Q              So        that       really       wasnt anything                           unusual          so    far


          18       as   you could           tell

          19       A              A letter               Are you talking about                                 the     letter per


          20       se

          21       Q                  That was          there             a    rumor

          22       A                  If    you    are     talking                   about           just    a    rumor        no     I



          23       dont think              that    its         that           unusual.


-a        24        Q                 How did you come to testify today                                           -Mr.   Bumpass

          25       Were    you    --       did    --    who     contacted                       you about         testifying



                                                                                                                                     74
                                                           LLOYD    E.    BILLUPS.    CSR 149
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     Case 4:04-cv-00408-MAC Document 44-10 Filed 12/11/17 Page 84 of 164 PageID #: 1522

           1                                        You        didnt                    show              up        who    talked           to    you

           2       about    it

           3       A               I    was        subpoenaed                         and          the         lawyer       called me              the


           4       night    before.


           5       Q               Okay.            The lawyer you                                            are    talking          about       Mr.


           6       Old    here         Indicating

           7       A               Yes         sir.


           8       Q               Okay.


           9       A               And        also Mr.                 Wardlow                      had        asked       me         you    know

          10       would    I     you       know          if       I    could                   testify.


          11        Q              Are you               talking                 about               the        Defendants              father

          12        A              Yes            sir.         I       am.


          13        Q              And        is       he      someone                      that              you    have     known          for     a


          14        period

          15        A              I    have        known              Mr.            Wardlow                  about      three months.


          16        Q              So        as    the         result                  of          that         friendship             with Mr.


.v
           17       Wardlow       he        talked             to       you                 about               --     just       in        casual


          18        conversation             talked         to         you about                          the       case

           19       A              No.            He     didnt                  never               really talk                  to    me    about


          20        the    case        he     asked         me         one             time              if     I    thought          that         you


          21        know    whether           I     thought                his boy                       could        get    a    fair           trial


          22        or not.


           23       Q                  Yes.


           24       A                  But    so       far as our casual                                      conversation              we have


           25       never    discussed             the         case           with              him.




                                                                                                                                                     75
                                                                   LLOYD   E.    BILLUPS.      CSR 149
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                                                                           Mr.   FLEASAM. TOAS
Case 4:04-cv-00408-MAC Document 44-10 Filed 12/11/17 Page 85 of 164 PageID #: 1523

     1
              Q                   So you       just      --     I       think             I   misstated what            I   mean

     2        I       didnt mean            that    you had really discussed                                 the     facts         of


     3        the       case    with him but just that you discussed                                           --    he asked


     4        you       about     what       you    thought

      5       A                   One       time    he       did.              Yes.


      6
              Q                   And       did     he         I           suppose             notified        Mr.      Old        to


      7       contact          you

      8       A                   I    dont know how                          Mr.         Old    contacted         me       but    he


      9       did contact              me.


     10       Q                   Mr.        Bumpass                 you               live      in    Daingerfield                 I



     11       believe

     12       A                   Yes        sir.        I     do.


     13                                                                      MR.              TOWNSEND              Pass          the


     14       witness.


     15




     16                                            REDIRECT                  EXAMINATION


     17                                                       BY MR.                   OLD


     18




      19          Q                Mr.      Bumpass            do you                  associate       with people                from


     20           all    over     Morris       county          as           well          as    surrounding          counties


     21           A                Well        I    do   in         my work.                    Yes.


     22           Q                   Do    people       from               the         north     part    of    the         county


      23          that      work with         you

                  A                   You    know        in        the          steel          mill    and   around           there
      24



      25          is    a   few   people.           Yes.




                                                                                                                                    76
                                                             LLOYD    E.    BILLUPS.   CSR 149
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Case 4:04-cv-00408-MAC Document 44-10 Filed 12/11/17 Page 86 of 164 PageID #: 1524

      1                                                           MR.         OLD           Pass    the    witness.


     2                                                            MR.           TOWNSEND              No     further


      3       questions.


      4                                                           THE          COURT           Thank        you   Mr.


      5       Bumpass      I   appreciate         you being here                            you do not haveto

      6        remain.


      7                                   Next witness.


      8                                                           MR.         OLD           Johnny    Floyd.


      9                                                           THE           COURT              Please    have     a


     10        seat.


     11                                   Mr.     Old.


     12




     13                                            JOHNNY               FLOYD


     14        was   called    as a witness           and            having            been   first       duly sworn


     15        by the    Court       testified as                  follows

     16



      17                                       DIRECT        EXAMINATION


     18                                              BY MR.                 OLD


      19




     20        Q               Please      state      your name.


     21        A               Johnny      Floyd.


     22        Q               Where      do   you    live                  Mr.       Floyd

      23       A               I   live    in Daingerfield.


      24       Q               How   long      have     you            lived           in   Daingerfield


      25       A               Since      1949.




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     1
              Q              Did you know Mr.                      Carl Cole during his                       lifetime

     2        A              Yes     sir.


     3        Q              How well          did you know                         him

     4        A              I    have    been       knowing                  him since              1949    doing       some


      5       cow     trading      and        just     a           good          personal             friend        of    the


      6       family.


      7       Q              Were your family and his family close                                              friends

      8       A              Yes.


      9       Q              Was    Carl       a popular                    man in this               county

     10       A              Yes     sir.


     11       Q              Was    he    a    respected                    man

     12       A              Yes.        He    was.


     13       Q             -And    was       he   widely               known            or was       he notoriously


     14       known

     15       A              Iwould       say farm-wise                          people        --    farm-wise which


     16       is    about   all    there       was     in          the         country              knew    him well.


     17       Q              His     popularity                        was              not     limited            to     any

     18       particular         part of       this        county

     19       A              No.     I    would        say no.


     20                                   Mostly           from here                     to    the    north     end more




     Omaha-23
     21        than   anywhere      else.


     22        Q             And     north           end            you         are       talking          about


               Naples

     24        A             Omaha-Naples              area.


     25        Q             Have you heard                  a     lot         of       talk   about        facts    giving



                                                                                                                           7 8
                                                     LLOYD   E.    BILLUPS.    CSR 149
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Case 4:04-cv-00408-MAC Document 44-10 Filed 12/11/17 Page 88 of 164 PageID #: 1526


      1        rise to     his     death           or    the          fact            that         Mr.       Wardlow          has    been


     2         charged     with having                  murdered                  him

      3        A              Yes.


      4        Q              And         are        people                   expressing                         opinions          as     to


      5        whether     or not         Mr.       Wardlow                  is       guilty

      6        A              Have        I    heard             that

      7        Q              Yes.


      8        A              Oh      certainly.


      g        Q              And     I       mean           have           you        heard            anybody           express an


     10        opinion     that      he       wasnt              guilty

     11        A              No.         I    havent.

     12        Q              Are people                  pretty strong                                in    their opinions


      13       A              Yeah.                 Everybody                         that         I        --     that       has       ever


      14       mentioned      it     or talked                   about            it        has        been       strong in their

      15       opinion.


      16       Q               Is there             a    lot         of resentment toward                               Mr.    Wardlow




      --18
      17       for


               A
                     having


                               Definitely.


      19       Q               --    for having                      killed Mr.                        Cole

      20       A               Definitely.


      21       Q               Would          it    be a fair                     statement                      that   Mr.    Cole was


      22       a   loved   man      throughout                   this            county

      23       A               Mr.    Cole was                   a    businessman                       but he had             a    lot    of


      24
                friends     but      he        was           a       fair              businessman.                       I    mean        in


          25    speaking      if    he        put       it       on         you        a     little              bit    well        a     lot




                                                                                                                                           79
                                                             LLOYD     E.   BILLUPS    CSR.      149
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                                                                     76TH   1DICYIL   DWR   CT

                                                                      Mr. PIFASANI. TDiAS
Case 4:04-cv-00408-MAC Document 44-10 Filed 12/11/17 Page 89 of 164 PageID #: 1527

              of      business       people             night           do          that                but        he    was        --     he was.
     1




              --      yeah.     He was             a    respected businessman.
     2



              Q                 Do        you       have          an        opinion                        as       to    whether          or    not
     3



              Billy      Wardlow           can get            a      fair               trial                  in    this      county
     4



              A                 No.            I   dont            think                he         can             get    a   fair       trial        in
      5




      6
              this      county.            I       dont personally.

              Q                 And        its          based           on your observation                                         what others
      7




              have said and upon Mr.                          Coles general good reputation                                                      and
      8



              popularity
         9



              A                     Well           like       I      said                   I       have            been       knowing           Carl
     10


              Cole      and dealing in the                          cattle                      business                 and stuff          a    long
     11




               time     and     I    have          used       him a                 lot            of          times          for    advice       and
     12



               stuff      like       that          because           he           was             a well             --       he knew       cattle
     13



               and he         knew    land             and all              that                 so        I       have       used       that    as    a
     14



               stepping         stone          a lot       of        times when                                I   neededsome              advice.
     15



               Q                    And    you were                 a      good                 friend              of    his
      16



               A                    Yes.           Very good                     friend.
      17



                                                                                  MR.             OLD               Pass       the       witness.
      18




         19


                                                         CROSS             EXAMINATION
      20


                                                          BY MR.                   TOWNSEND
      21




      22


                                    Mr.        Floyd               let             me            guess               on       this         are    you
         23


                  friends with             the         Wardlows
         24

                  A                 Yes.               Yes.               The              Wardlow                   family          is     a    good
         25




                                                                                                                                                       80
                                                                  LLOYD    E.    BILLUPS        CSR.    149
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          1        family.


          2        Q                 Did    you     come     to           testify             today       as    a    result      of


          3        talking    to      Jimmy Wardlow


          4        A                 Yes.


          5        Q                 So he    talked         to you about                     this and later on you


          6        received      a    subpoena

          7        A                 Right.


          8        Q                 You     said      Mr.      Cole              was        well-known              among      the


              9    farmers

         10        A                 Yes.


         11        Q                 Because        he    was       involved                 in        farming

          12       A                 Farming        and    ranching.


          13       Q                 And you       said something                           in your       statement          about


          14       That    was       about       all     that       was         known             in    this    county          are


          15       you   talking           about    back      in years                      past        that        farming was


          16       about   all       the     industry that                   was        going           on

          17       A                 Well         Morris           county               was        basic        farming         and


          18       ranching          there       was no industry in Morris county                                          so   that


          19       would   be    the        area    that      it          was      most well-known                    for.




          --23
          20       Q                 And      that       would             --       you           used        the    term       was

          21       known        are you          talking        about              back           in    the    past       years

          22       A                 No.      He    had cattle                    up


                   Q                 When     he-was         a younger                  man

          24
                   A                  --    he     had     cattle                 up        until        the        day    he    was
1




              25   killed.




                                                                                                                                  81
                                                           LLOYD     E.   LLUPS. CSR.       149
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                                                                   76TH   LDQM.   otStýCf
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      t        Q                Right.               But   would           it        be      your        opinion       that    was


     2         a   --    how old are            you         Johnny

      3        A                 65.



      4        Q                Would it             be your opinion that Mr.                                   Cole was very


      5        well-known              among          those             folks               that        are    your     age    and


      6        older

          7    A                 Yes.


      8        Q                 Would          it     be     your              opinion                 that    it     would     be


          9    somewhat         less        although                I    know               you    dont         know    exactly


     10        but      he    would       be      somewhat               less               well-known           among        those


     11        people         that    are       younger        than             you

     12        A                 Right.              Yeah.          I    would               say    --     say the      younger


      13       generation            that   he was          nosey               he was             --    kept    up with what


     14        was      going    on       he     knew       what         was           happening.


      15       Q                 He       kept       up with            current               affairs


      16       A                 But       the       majority of people                             would        be    the    older


      17       generation              older         people.


      18       Q                 So       the    majority of                     people            that        would    consider


      19       themselves            to   be good           friends of                      his you might              say would


      20       be       the   older       people

      21       A                 Thats           right.


      22                                                                  MR.               TOWNSEND                   Pass     the


          23   witness.


          24



          25




                                                                                                                                  82
                                                            LLOYDE. BILLUPS CSR 149

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                                                                    Mr. FLEAS   W.   TOMS
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      1                                     REDIRECT                EXAMINATION


      2                                               BY MR.                 OLD


      3




      4       Q               You are talking about a friend you are talking


      5        about    somebody you            socialize with                               visit        in    their home


      6
               go to    church      with

      7        A              Yes.


      8                                     Are you            talking                   about           Carl

      9        Q              Yes.


     10        A              Yes.


     11        Q              And you say most of his friends were in his age


     12        group

     13        A              Well        he    said       majority now                                   he    had a        lot    of


     14        friends       in     all        age     groups                     because                he     messed            with


      15       everybody          and    that    but        the            majority                  I    would       say         were


      16       older    people.


      17       Q                  Friend         is    kind             of         a     relative              term      I    might


      18       meet    you    one       time    and    tell              somebody                that          Johnny         Floyd


      19       was     my   friend        and    a    good              man              I     might          not   have          ever


      20       visited       in    your     home      but           I     may            consider             you   to       be    my

      21       friend        and    I   might        not      even               know          you       and    say   You          are


      22       a good man and have               a    good reputation                                just based on what


      23       others       had    told me       about         you.


      24                                       Despite Mr. Coles age was he well-known


      25       and that       is    known       for who he                 was and his good                         reputation



                                                                                                                                    83
                                                      LLOYD    E.   BILLUPS       CSR.   149
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                                                              Mr.   R   A N4T.    TDAS
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           1
                   by    all    age   groups          in    this           county




           --8
                   A                  Oh                                                                                        yes.




           --9
           2
                                               absolutely.                  Yes.                The    answer             is


           3                                                                MR.          OLD           Pass          the       witness.


           4                                                                MR.           TOWNSEND                        No        further

           5       questions.


           6                                                                MR.          OLD           One       more question


           7       did anybody          ask      you       to   do         anything               other          than


                                                                            MR.          TOWNSEND                Your          Honor

                                                                             THE              COURT                  Wait           just      a


          10       minute.


          11                                                                 MR.         TOWNSEND                     I    didnt ask

          12       any     question        I    believe.


          13                                                                 THE         COURT                  What       was       it    you

          14       wanted       to    ask

                                                                             MR.         OLD           I    wanted             to   ask     him




          --20
          15




          16        if   anybody       asked      him to do anything                                  but       to    come here             and

          17        tell    the      truth.


          18                                                                 MR.          TOWNSEND                        Your       Honor

          19        thats not          even      a    question                  I      didnt               in any         way

                                                                             THE          COURT                  The       problem           is


          21        that    there      was      not    any      recross                   so     sustained.


          22                                         But    for           the         purpose              of    the       record           Im

          23        going to let           him answer           just              so we          dont have                 to call          him


          24        back       or   something         at    some           time           later.
..

          25                                         The    question                  would           be        has       anyone          asked



                                                                                                                                             84
                                                            LLOYD    E.    BILLUPS    CSR 149
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      1
              you to say anything          except whatever                         your truthful opinion

      2       was

      3                                                        THE         WITNESS             No.        There   has


      4        not.


      5                                                        MR.         OLD          Pass    the       witness.


      6                                                        THE          COURT              Thats        in    the


      7        record   as   a   bill        not        as         direct               examination           but    I



      8        rule that     its     not    admissable.


          9                            Now     can            this         gentleman           be    excused      for


     10        today

     11                                Thank      you           for being               here        Mr.    Floyd.


     12                                Call    your next witness.

      13




      14                                      RUSSELL                GUEST


      15       was called    as a witness         and having been                          first      duly sworn


      16       by the   Court      testified as                 follows

      17




      18                                   DIRECT        EXAMINATION


      19                                          BY MR.                 OLD


      20



      21       Q             Please    state      your name.

      22       A             Curtis    R.    Guest.


      23       Q             Where    do    you   live               Mr.           Guest


      24
               A             Cason.


      25       Q             How   long     have you                lived           in Morris        county



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      1       A               All       my life.

      2       Q               Did       you know            Mr.            Carl              Cole

              A                    knew       who he was.                             Yes
      3                       I                                                                    sir.          I    knew    him    by
      4
              you know        when       I    saw him around                                 town      a    lot.


      5       Q               Did       you     know             him by                      reputation               more     than    a

      6       personal       knowledge

      7       A               Probably.                  Yes          sir.


      8       Q               How       old are           you

      9       A               I    am    34.


     10       Q               Okay.            What         reputation                            did       you       know     him    to


     11       have

     12       A               Personally like                         I       said            I   didnt know him                    that


     13       well but everybody                I    knew             you know                     liked         him nice           man.

     14       I    knew   him more           through         hearsay from my mother if                                          I    may

     15       add    that.


     16       Q               And       was         what         you              knew            of       him       through        your

     17       mother      and through               others            good

     18       A               Yes        sir.


     19       Q               Have       you        heard             a     lot          of       people             talking    about

              the    fact    that    Mr.       Wardlow                is          accused              of                    murdered
     20                                                                                                      having

     21       him

     22       A               Yes        sir.


     23       Q               Okay.           Have        they             expressed                   to    you opinions             as


     24       to    whether       or not       they believe                           Mr.         Wardlow            to be    guilty

     25       A               More       so         in     that               they            dont           know        that       hes



                                                         LLOYD   E.   BILLUPS.        CSR f149                                        86
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         1
                   guilty            that       hes         not      --           you            know           what              Im     saying

         2         everything          I    have heard was more                                  towards             that           you know
.
         3         he       did do    it    --    Im        having               trouble.


          4        Q                  It    s    not a matter of saying                                       He         s   guilty they

          5        just       come    out       and say            He            murdered                  Mr.       Cole

          6        A                  Yes.


          7        Q                  And        have       they      expressed                           opinions                 as    to   what


          8        ought       to    be done           to   him for doing                                it

             9     A                  Well        yes         sir.


         10        Q                  What        opinion have                      they             expressed

         11        A                   Everybody             that          I       have              heard           you-         know        leans


         12        toward       the        maximum.


          13       Q                   That       would       be      the            death               penalty

          14       A                   Yes        sir.


          15       Q                   Is       what     you       are           telling me                     as           to   what    people


          16       have        told        you    is        kind      of            they                 take       it        as    a    forgone


          17       conclusion              or    fact       that     hes                guilty of                having killed Mr.


          18       Cole

             19    A                   From everything                         they have                   seen and heard.                        Yes

          20           sir.


          21           Q               Have       you       talked               to       them             have          you heard            a    lot



             22        of    people    say       that

                       A               I    have        changed                jobs            since            this          time       so   where
             23



             24
                       I    work now at Lone                Star      I        havent                     to    be honest                with      you


                       I    havent     thought           a whole                 lot        about             the    case          until      I    was
              25




                                                                                                                                                    87
                                                                  LLOYD     E.   BILLUPS     CSR.    149
                                                                     OFMALCOLO FMXW                  t



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                                                                           W.    RFASMif.   TOM
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      1
              approached           you know           to     come                 in today.         But until             then

      2
              yes     sir.


      3       Q               How      many people                 have             you heard           comment        on    it
      4       A               A dozen.

      5       Q               Your best          estimate

      6       A               A dozen          just    where                  I     work.         Yes        sir.


      7       Q               And       did    any     of           that                 dozen    say         Well          hes

      8       innocent        I    believe      hes           innocent

      9       A               No       sir.


     10       Q               So      your group           of         twelve               has    already           found    him

     11       guilty

     12       A               Basically.              Yes             sir.


     13                                                              MR.            OLD          Pass    the    witness.

     14
                                                                      THE           COURT          Mr.       Townsend.

     15




     16                                        CROSS          EXAMINATION

     17                                         BY MR.               TOWNSEND

     18




     19       Q               Mr.      Guest      you are                     from Cason                is    that     right

     20       A               Yes       sir.


     21       Q               Are you          friends with                         the        Wardlow       family

     22       A               I       know    them     just                   in         the     last    year         I     have

     23       joined    the       volunteer           fire            department                  and     come       to     know

     24       them     also       I    worked     with              Jimmy Wardlow                        for    Collier           I



     25       guess    about       fifteen      years              ago.




                                                  LLOYD      E.   BILLUPS         CSR 149                                     88
                                                       OFMIAL       COURT     ABOR191

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                                                            W.    PLEASANT.   TDM
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          1
                   Q                 And     Jimmy and            his            wife             are    both         involved           in


          2        the     volunteer        fire      department                  in       Cason           is    that           correct

          3        A                 Yes      sir.


          4        Q                 And    you      are a       member there


           5       A                 Yes      sir.


           6       Q                 Mr.     Guest         you         signed                an     affidavit               I    believe


           7       stating       that       you      --    that             you        had         read     the        Motion           for


           8       Change       of    Venue          you    basically                      --      and you        are           familiar


           9       with what          it   said

          10       A                 Yes.


          11        Q                And      that        you    felt            that              there    was        so        great    a


          12        prejudice         and combination                       against                the   Defendant               that    he


          13        couldnt          obtain      a    fair       trial                it          states    in        the       chain    of


          14        venue       which      you       said that               you have                read        that           there    is


          15        a dangerous combination                      instigated by influential persons

          16        against       the      Defendant             it          kind            of     makes        it     sound       like


j         17        theres       a conspiracy              or something                           against the           Defendant.


          18                                         Do you know of                        anything         such conspiracy


           19       of     anyone     that    is     influential to deprive                                     this man of             his


          20        rights

          21        A                 I    wouldnt          use        the          term           conspiracy.

          22        Q                 How     about        the    word              combination                        do       you know


           23       of     a   combination           instigated                  by any             influential                 people


..
           24       A                 No      sir.


           25          Q               Even    though you signed that                                    affidavit and said



                                                                                                                                          89
                                                             LLOYD    E.    BILLUPS   CSR 149
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                                                                     Mr.    RF   M.   ions
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      1
              you did        know        of    such         a    combination                        you       in    fact       you    do


     2        not     know    of    any        such         combination


      3       A                No        sir.           I     dont.

      4                                                                     MR.              TOWNSEND                    Pass        the


      5       witness.


      6




      7                                            REDIRECT                EXAMINATION


      8                                                         BY MR.                OLD


      9




     10       Q                Do        you       believe                the          twelve           people          down      there


     11       that     expressed          opinions               to you by what                         they have          said are

     12       against        Billy       Wardlow

     13       A                Yes            sir.


     14       Q                Do    you believe                     those               people         to     some       degree      to


     15       have     influence              in       this     county

     16       A                Yes            sir.


     17       Q                Has       anyone             asked you                   to do       anything             other     than


     18       express your           true              opinion

     19       A                To    be        honest           with              you         I   havent             talked       about


     20        the    case    to     anyone             other             than               when    you       just       basically

     21        asked    me    if     I    felt           like        he          could            get     a    fair       trial      and


     22        that    was    it.



     23                                            I   havent been influenced                                      if   thats what

     24       you     are asking.


     25                                                                      MR.         OLD            Pass       the    witness.




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                                                            LLOYD   E.    BILLUPS.    CSR 149

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      1
                                                                     MR.            TOWNSEND                     No     further


      2        questions.


      3                                                              THE            COURT                 Thank        you   for


      4        being    here       Mr.    Guest.


      5                                    You    are     excused.                            That       means        you   dont

      6        have    to   hang    around       unless              you want                      to.



          7




          8
                                                FLETCHER              HARTGROVE


          9    was called      as a witness            and having been                                   first    duly sworn


      10       by the       Court    testified as                    follows


      11




      12                                        DIRECT         EXAMINATION


      13
                                                       BY MR.                 OLD


      14




      15        Q              Please       state       your             name.


          16    A              Fletcher         Hartgrove.


          17    Q              Where      do you live                       Mr.              Hargrove

          18    A              Daingerfield.


          19    Q              Where      do     you    work

          20    A              Brown            Root      Longview.


                Q              How       long    have     you             lived               in Morris           county
          21




                A              Probably          45    years              total.
          22



          23    Q              How       old are       you

          24
                A              50.


                               Did you know Mr.                      Carl Cole during his                              lifetime
          25    Q




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                                                      LLOYD     E.   BILLUPS      CSR.       149

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      1        A             Yes      sir.


      2        Q             Did you know                 him          well

      3        A             Yes      sir.


      4        Q             And     did you          like             him

      5        A              Yes     sir.


      6        Q              Was    he    a     popular               man in this              county

       7       A              Yes     sir.           He    was.


      8        Q              Was    he a well-known                         man         in this   county

       9       A              Yes     sir.           He    was.


      10       Q              Was    he    known          pretty well                     all   over   the    county

      11       A              Yes      sir.


      12       Q              Do    you know           his           brother

      13       A              Yes      sir.           Homer.


      14       Q              How well           do    you know                   his     brother

      15       A              Not     as   well           as     I      knew        Carl.


      16       Q              Through           a     speaking                   acquaintance          with   him   at


      17        least

      18       A              Yes      sir.


       19       Q             Do you know                 Mr.          Wardlow             Billy   Wardlow

      20        A             Sure     do.          Yes           sir.


      21        Q             Have        you       heard            talk         about     Mr.    Wardlow     having


      22        murdered     Mr.    Cole

       23          A           Yes        sir.        I    have.


                   Q           Have       you       heard              people            express   opinions     about
          24



          25       what   happened



                                                                                                                    92
                                                       LLOYD      E.   BILLUPS   CSR 149
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                                                                 MT.   AFASAM.1W3
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      1        A             Yes     sir.


      2
               Q             Have    they        expressed                      an       opinion          as     to    whether


      3        or   not he   is    guilty

      4        A             Yes     sir.


      5
               Q             How     many        occasions                          have        you        heard        people

      6        expressed     that    opinion

      7        A             Do you want              --       several                   different          times.


      8        Q             I    mean    five            ten            fifteen

      9        A             Yeah.        Ten        or    fifteen                      times.


      10       Q             Have        they        treated                    it        like        its         a    forgone

      11       conclusion        and they believe                        it

      12       A             Yes.


      13       Q             And     have        they                commented                  to        you     what       they

      14
                thought    ought    to    be done               to        it

      15       A             Some       have     and       some             havent.

      16       Q             And         those             that                 have             what            has      their


      17        recollection       been

      18       A             Death       penalty.


      19        Q            Do     you     have          an         opinion              as     to       whether       or    not


      20        Billy   can get     a     fair       trial              in       this         county

      21        A            No      sir.        I    dont                think           he    could.


      22        Q            You     dont        think               he         could         get     a    fair       trial

      23        A            No      sir.


      24                                                                MR.             OLD      Pass       the       witness.


      25                                                                THE             COURT         Mr.       Townsend.



                                                                                                                               93
                                                     LLOYD     E.    BILLUPS    CSR.    149
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                                                             76WAEC        oWRcr
                                                               Mt.   PIFASAM.   TDtAS
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      1                                        CROSS         EXAMINATION


      2                                           BY MR.             TOWNSEND


      3




      4        Q                Mr.    Hartgrove           are you friends with the Wardlow


      5        family

      6        A                Yes.


      7        Q                Are    you     here      after                  talking         to    Jimmy Wardlow


      8        he   talked      to    you about          this           change             of   venue    hearing

      9        A                Yes     sir.


     10        Q                Had he       talked          to        you          about       everything         in   the


      11       change      of   venue    hearing

      12       A                Yes.     He       did.


      13       Q                Have    you       known         the             Wardlow         family       you    know

      14       approximately as              long     as      you have                   know    the    Cole      family

      15       A                Yes     sir.


      16       Q                So    your     friendship                       with      them       would   be    strong

      17       as   well

      18       A                Yes     sir.        It     would.


      19       Q                Okay.        So    basically                     you are here           today to        try


      20       to   help    the      Wardlow       family

      21       A                Right.


      22                                                              MR.               TOWNSEND             Pass       the


      23       witness.


      24




      25




                                                                                                                         94
                                                     LLOYD    E.    BILLUPS.     CSR 149
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      1                                        REDIRECT                 EXAMINATION


      2                                                   BY     MR.                OLD


      3




      4        Q              Did     you          come       here             to          express an           opinion        that


      5        was    not   your     opinion

      6        A               No.


       7       Q               You    were          a   friend                 of        Carl          Coles     and you        are


       8       a     friend of      the       Wardlows

       9       A               Right.


      10       Q               Is your             opinion based                             on       what    you believe

      11       A               Yes.


      12       Q              Hasnt           been      influenced                           by Jimmy Wardlow                or any


      13        of    the   Wardlow       family

      14       A               No.        I    have       not.


      15                                                                     MR.        OLD             Pass    the       witness.


      16                                                                     MR.             TOWNSEND                No     further


      17        questions          Your Honor.


      18                                                                     MR.        OLD             Your Honor           can we


      19        excuse      this    witness               I    would                 excuse             him.


      20                                       I    also          had               his           wife       Wanda        Hartgrove


      21        subpoenaed         and    I    would          excuse                 her          at    this    time.


      22                                                                     THE COURT                   That means you and


      23        your wife        dont have                to     hang                around             the    courthouse       any


       24       further      today.


       25
                                               Thank          you             for being                 here.




                                                                                                                                     95
                                                        LLOYD    E.     BILLUPS.     CSR.       149
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                                                                 Art.   R1        il.TDW
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      1                                     Who     will          be      next

      2




      3                                           ROBERT              HENDERSON


      4        was   called     as a witness             and            having           been   first    duly sworn


      5        by    the    Court      testified as                    follows

      6




      7                                           DIRECT         EXAMINATION


      8                                                 BY MR.                 OLD


       9




      10       Q               Please        state       your name                      sir.


      11       A               Robert        Henderson.


      12       Q               Where        do    you    live              Mr.         Henderson

      13       A               Cason.


      14       Q               Is     that       in Morris               county              Texas

      15       A               Yes         sir.


      16       Q               How     long       have     you           lived           in Morris      county

      17       A               About        65    years.


      18       Q               How     old a man are                     you

      19       A                76.


      20       Q               Did you know Mr.                       Carl Cole during his                 lifetime

      21       A                Yes        sir.


      22       Q                And how long             - -     when did you first                     remember Mr.


      23        Cole

      24        A               Oh     I     imagine            around               fifteen     or     twenty   years


      25        ago        something       like     that.




                                                                                                                    96
                                                     LLOYD       E.   BILLUPS   CSR.   149
                                                           MCWCOMRSCM
                                                               76TH   1CicuL   Macy
                                                                W. RFA   N4I.  TEX
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      1                                                                 MR.       OLD        Judge        can you hear

      2        the   witness

      3                                                                  THE      COURT            Sure.


      4                                                                  MR.      OLD        What       was   Mr.     Coles

       5       reputation          in this          county              that         is   what     did people          think


       6       about   him what was                 Mr.    Coles reputation                           in this        county

       7                                                                 THE      WITNESS               Well     I    really

       8       dont    know.


       9       Q               BY     MR.           OLD       Sir

      10       A               I    dont            know     what             his         reputation          was     in    the


      11       county.


      12       Q               Did people              like             him

      13       A               Some    did and.some                        didnt             you      know     just        like


      14       you will        other people.


      15        Q              Do     you           know     Billy                Wardlow          is    charged           with


      16        having murdered         him

      .1        A              Yes.         I       have    heard             that.


      18        Q              Have    you           heard          a      lot       of     people       talking       about


      19        this

      20        A              Yeah.            I    have     heard               them      talk      about     it.



      21        Q              Have     they          told you whether                           or     not    they    think


      22        hes    guilty or they                 didnt

      23        A              They     didnt              say          that.


      24        Q              What

       25       A              No.      They          didnt               say whether              he    was    or not.




                                                                                                                             97
                                                          LLOYD    E.   BILLUPS   CSR 149

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                                                                  MT.   RFAWO.1W15
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      1
                               Do you have an opinion as to whether                                           or not Mr.


      .       Wardlow        can               fair     trial                  in this
                                   get    a                                                     county

      3
              A                I   dont         think          he          would.               I    dont      think       he


      4
              would.         Not   in    this       county.


      5
               Q               Can      you    tell       me            why         he        wouldnt        get    a    fair


      6        trial   in     this      county

      7        A               My idea would be because                                   Mr.       Carl was       an   older

      8        citizen and         hes better known                              than         the   kid.


      9
               Q               People          angry           about                    Mr.     Cole       having        been

     10        murdered

     11        A               Not      that    Ive       heard                  of.


     12        Q               You      havent

     13        A               No.


     14                                                                 MR.        OLD          Pass    the    witness.

     15                                                                 MR.        TOWNSEND             No    questions

     16        Your Honor.

      17                                                                THE         COURT             Thank    you        Mr.


     18        Henderson.          You may step down.

      19                                      You    dont have                      to hang         around unless you

     20        want    to.


     21                                       Mr.     Hill.


     22



     23



      24



      25




                                                                                                                            98
                                                      LLOYD   E.    BILLUPS     CSR 149
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                                                              Mr.   F   A3M.    TEXAS
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      1
                                                      JAMES              HILL


      2
               was called       as a witness           and having been                              first     duly sworn

      3
               by      the   Court     testified        as            follows

      4



      5                                        DIRECT          EXAMINATION

      6                                               BY MR.               OLD


      7




      8        Q               Please      state       your name.

       9       A                James     Hill.


      10
               Q               Where      do    you    live               Mr.              Hill

      11       A                1100     Webb     in Daingerfield.


      12
               Q                How      are    you    employed                            what    do    you    do       for   a


      13       living

      14       A                I    am retired           Im              retired                 and work      volunteer


      15        around       town.


      16                                                               THE         COURT            Volunteer         what

      17                                                               THE                 WITNESS              Volunteer


      18        fireman        volunteer        EMS.


       19                                                              THE         COURT            Thank      you.


      20                                                               MR.           OLD            What      did     you      do


       21
                prior to retiring

       22                                                               THE          WITNESS             I    was    a   truck


          23    driver        hauled      automobiles.


          24       Q                BY   MR.    OLD       How             long             have    you       lived    here

          25       A                Almost nine        years.




                                                                                                                               99
                                                      LLOYD    E.     BILLUPS    CSR 149
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                                  Did you know                    Mr.             Carl            Cole

               A                       knew           him when                                     him when
      2
                                  I                                               I    met                           I       seen       him.

      3
               I    didnt know him                    that        well.


      4
               Q                  Did       you       know        him by reputation

      5
               A.                 Reputation                    and           I       have         met       him   a     couple           of

      6
               times.


      7
               Q                  What       was          his      reputation

      8        A                  So       far        as    I     know                he     was     known      as       a    contrary

      9
               person       but       he    was       a    good man.

     10
               Q                  Have       you          heard          a        lot        of    talk      about       him having

     11        been    murdered             by Billy              Wardlow

     12        A                  For       several               months                   right      after        it        happened

     13
               yes        for     about           three            or             four            months      right          after        it

     14
               happened         thats            about            all             you        could       hear      in        the    Dairy

     15
               Queen      and other place.

     16
               Q                  Do       you    go       to      the            Dairy           Queen      and drink coffee

     17
               a    lot

     18
               A                  Yes.


     19
               Q                  Go other places                         and drink coffee                      and socialize

     20        A                  Yes.


     21
               Q                  What           were            people                    saying              What           was        the


     22        consensus          of       opinion

     23        A                  Well           it    was        just as far as                         I   could tell            it    was

     24        they    --    everybody                was        talking                   about      Billy        murdering             the


     25        man when         he     was       so        old and everything                                and couldnt                have




                                                                LLOYD   E.    BILLLIPS     CSR 149                                       100
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                                                                    76TH      JACK     DISTRICT

                                                                        MT.   PFAW.      TEXAS
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      1
               hurt him if                  he    had wanted                 to        and             so    forth.


      2
               Q                     Were         they    outraged                     about                it

      3
               A                     Some.             Yes.


      4
               Q                     Did         they    express the                           opinion                    that    he did            it

      5
               A                     His name was mentioned                                       by everyone                    that       I   heard


      6
               as      the     one      that       did       it       you know.

      7
               Q                     Do you have an opinion based                                                 upon what you have

      8        heard         as    to       whether          or     not Mr.                     Wardlow                   could       get       a    fair


      9        trial

      10       A                     Do      I    have       an     opinion

      11       Q                     Yes.


      12       A                     Yes.           I   do        have           an     opinion.


      13
               Q                     What          is    that        opinion

      14.      A                     From what                I   have heard                           and all              that      he    did it.


      15       Yes.


      16
               Q                     Do          you    have        an       opinion                    that              he   committed              the


      17        crime

      18        A                     That         Billy          committed                       the       crime.               Yes.


      19
                Q                     You believe                   that

      20           A                    I    wouldnt               say            I    believe                   it        but     from what                I



      21           have      heard           thats           the       opinion                         that           I    have        drawn.               I



      22           havent         heard           any    of       the        evidence.


                                        Now                                                                                           whether            or
          23       Q                               do    you have                     an         opinion                  as     to


          24       not    he      can       get    a    fair        trial               in this                  county


          25       A                    I        have    the         opinion                       that          he        probably                 cannot



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      1
              because           everyone knows                   him everyone knows                               his family and


      2
              everyone           knows          Mr.       Coles              family                and    from all          everybody

      3       has      been       saying             that    I     have            heard               they     think      he        did   it


      4
               and     I       dont         see       how    anyone                can             put    all     that          aside      to


      5        listen to           the          evidence.                I     know           I     would       have       --    I    would

      6        have        a   tough        time          doing       it.


      7
               Q                   Have          they       expressed                      an       opinion          to    you        as   to


      8        what        ought       to       be    done       to      him for killing                          him

      9        A                   A    few.              Have        made            statements                  like      The        same


      10
               thing           should be done                to       him that                     he    did    to    Mr.       Cole       or


      11       He          should       spend              the     rest              of            his     life       in        jail       or


      12       something           like          that.


      13                                              But    thats                 just             the    normal          way       people

      14
               talk.


      15                                                                        MR.         OLD           Pass       the    witness.


      16




      17                                                   CROSS         EXAMINATION.

      18                                                    BY MR.              TOWNSEND


      19




      20       Q                    Mr.         Hill         are         you         friends              with       the        Defendant


      21
               Billy           Wardlow

      22       A                    I   consider             myself to be friends with them with


      23        his        mother       and          father        and          him.               I     have     known         him since


       24       he     was      just        a   kid.


       25          Q                More             so    friends with                       his        parents



                                                                                                                                           102
                                                                 LLOYD   E.   BILLUPS     CSR 149
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                                                                         W.   PIEASAM.   TEXAS
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      1
               A                  More       so    because               I       have             had more dealing                         with

      2
               them       for   over     a    longer period.

      3
               Q                  Mr.    Hill        you    dont                  --
                                                                                            your knowledge                      of people


      4
               in Morris          county           you have                  a    lot             of    knowledge               of    people

       5       in the       Daingerfield area                     and Cason area                                  is       that       right

       6
               A                  In    the        Daingerfield-Cason and                                       all         this        south

       7
               end of       the    county          that     I    was              raised or                 I   was        born in the

       8       north       end    of     the       county         and              I       know         a   lot        of       people       up

       9       there        a    lot    of     my relatives                            up       there         and      I    know       a    lot


      10       of    people       through           them.


      11
               Q                  But        your    discussion                          about           this       case         would.      be

      12       discussions with people                          that              are           basically           from this end

      13       of    the    county           for    the   most               part

      14
               A                  Basically.

      15                                           At the time this happened                                         I     was working

      16        ambulance         24 hours a day                 seven                  days           a week       on      standby          and

      17        I   would       stop at       the    Dairy Queen and in Omahaand                                                  I    talked

      18        to    a   number        of    people        up          there                   and     the     opinion               was    the


       19       same.       The    discussions                  were             primarily the                      same          as    going

      20        on down         here.


      21
                Q                 You        said     you        signed                     an         affidavit             supporting

      22        this      change        of     venue        and              basically                   without            me        reading


       23       verbatim you basically                          said that you had read                                          the    change


       24       of    venue      motion that you basically                                             agreed with               it    and    in


       25          that   change        of    venue       motion it                       says          Theres              a   dangerous




                                                          LLOYD    E.    BILLUPS        CSR 149                                              103
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                                                                 76TH.       CQ    .    SRlCT

                                                                  Mr. PLEAS       NT    TEXAS
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       1
               combination instigated by influential persons against the

      2
               Defendant.

       3
                                                 Do you know                         of any dangerous                    combination

       4
               instigated            by influential persons                                          against          the   Defendant

               to                    him of                             trial
       5
                       deprive                       a    fair

      6
               A                    Just   that          people                   the comments people                       have made

       7       -   -   have made about               him being the one                                   that       did that      to    Mr.

      8
               Cole       Mr.       Cole was             an    elderly person                              that       couldnt          have

      9        harmed         him.


                                                 dont know



      --12
     10
               Q                    But you                                         of any dangerous                     combination

     11
               instigated            by


                                                                                 MR.             OLD       I    object       to     that.

      13
               He      just    answered          that          question.


                                                                                                 COURT
     14
                                                                                 THE                                Overruled.           Go

      15       ahead.


      16
                                                                                 MR.          TOWNSEND                Isnt     it      true

      17
               that       Mr.       Hill         that           you             dont                know       of    any    dangerous

     18
               combination            that was instigated by any influential person


      19
               or group         of influential persons                                        that would             be against the

     20        Defendant

     21
                                                                                 THE             WITNESS             I   dont       know.


     22        I       dont know          of    anyone           that                has           actually          threatened         him

     23        but      the    --    no.


     24        Q                    BY     MR.       TOWNSEND                            Nothing           that       you know         of

     25        A                    No.        Not       if    you put                      it      in   those        terms.




                                                              LLOYD   E.    BILLUPS       CSR 149                                       104
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                                                                      MT.   PLEASANT.     rows
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           1                                                      MR.             TOWNSEND             Thank   you.


           2                               Ill     pass            the            witness          Your Honor.


           3                                                       MR.                    OLD           No     further


           4
                    questions.

           5                                                       THE             COURT          Thank      you.     You


           .        may step    down     Mr.    Hill        appreciate                      you being        here     Mr.


           7        Hill.


           8                               Who    is     next

            9                                                          MR.         OLD          A.W.   Lawton.


           10                                                          THE         COURT         Go    ahead    please.


           11




           12                                            SUE           HILL


           13       was called    as a witness          and having been                            first     duly sworn


           14
                    by   the   Court     testified       as            follows


           15




           16                                   DIRECT        EXAMINATION


           17                                          BY MR.                   OLD


           18




           19        Q            Please       state    your name.

           20        A            Mary Sue       Hill.


           21        Q            Where    do    you     live                   Mrs.       Hill

           22        A            1100    Webb     Daingerfield.


                                  How    long have        you              lived           in Morris         county
            23       Q


                     A            Since    January          1st                 1986.
.1             24



                                                          lived                    here     prior       to   that   or    in
               25    Q            Had     you    ever




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                                                    LLOYD   E.    BILLUPS        CSR 149
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                                                            Mr.   PLEASMJr.1DN5
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      1
               this    area

      2
               A                No            sir.


      3
               Q                Have           you     heard        a       lot          about        Mr.    Wardlow     being

      4
               accused     of           having       murdered             Mr.       Cole

      5        A                    I    read        quite     a     bit         of       it     in     the    paper     and      I



      6
               have heard               several       people       talking about                       it    in the   county.

      7
               Yes      sir.


      8        Q                    And have people                  commented to you as                          to whether


      9        or not     they believed                  him to be guilty

      10       A                    I        have    heard         several                people            say   that       they

      11
               thought         he       was.


      12
               Q                    And did.they             tell          you what             they had in mind for

      13       him if     he        was

      14       A                    Yes         sir.


      15
               Q                    What       did     they        tell         you

      16       A                    That he needed to be put to death                                         just    like Mr.


      17
                Cole    was.


      18
                Q                   Have        you read the                  newspaper               articles

      19        A                   Yes         sir.


      20        Q                   And         after        reading                those             articles        did        you

      21        conclude        based           on     those       articles                that        he   had   done      it

      22        A                       They    sounded        like            he        had     if     I   hadnt      already

      23        known     him myself..


      24        Q                       Do    you     have     an         opinion              - -     did    you     know       Mr


      25        Cole



                                                                                                                                 106
                                                          LLOYD   E. BILLUPS CSR 149

                                                               OFRM COUW WORM
                                                                76TH ICCM OISRUCT

                                                                   Mf.   PIEASAM. Tows
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      1
               A                 I    did not know                   him personally.                              No       sir.         But

      2
               I       had heard      a    lot    of     people                  talk           about       him and          --       but    I


      3        did not       know         him personally.                               No         sir.


      4
               Q                 Did he have                 a    good               reputation

       5       A                 Yes        sir.


       6
               Q                 People          fond        of      him

       7       A                 Yes         sir.        Very much                         so.




      --13
       8       Q                 Okay.           Do you have an opinion as                                        to whether                or


       9       not that Mr.            Wardlow          can get                  a      fair        trial    in this          county

      10       A                 As       much         publicity                     as         has       been    given           I    just

      11       dont        see   how.


      12       Q                 All        right.           Those                that             you have       talked          to


               A                 Seemed           to    have          already formed                         opinions             and it

      14       would       be kind         of    hard to put                       everything you heard                           out       of


      15
               your mind.

      16                                                                        MR.        OLD            Pass    the      witness.

      17                                                                        THE        COURT            Mr.    Townsend.


      18




      19                                               CROSS          EXAMINATION


      20                                                BY MR.                  TOWNSEND


      21




      22           Q                 Mrs.       Hill         you           are            friends           with       the        Wardlow


      23           family

       24          A                 Yes        sir.     I       have known                         them    since      I   have         been


       25          in Morris         county.




                                                                                                                                            107
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                                                                     MT.   REASAWTDAS
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      1
               Q              You came to testify as a result of talking with

      2
               either   Mr.    or Mrs.        Wardlow

      3        A              Yes     sir.


                              So you are here basically
      4
               Q                                                                         today seeking         to help

      5
               the   Wardlow      family

      6
               A              Yes     sir..



      7
               Q              You are doing             this              sort          of   as a   favor     to    them

      8        A              Yes     sir.


      9                                                             MR.                TOWNSEND             Pass      the


     10        witness.

     11




     12                                     REDIRECT               EXAMINATION

     13                                              BY MR.                 OLD


     14




      15
               Q              Have   you made any statements                                  that you truly did


      16       not   believe      in your         testimony

      17       A              No     sir.


      18
                                                                    MR.          OLD         Pass    the    witness.

      19                                                            MR.                TOWNSEND         No     further

     20        questions.


     21                                                             THE           COURT         Thank       you      Mrs.


     22        Hill     you and your husband                       have been                 excused    which       means

     23        you    dont have       to      hang      around                 unless        you    just     want    to.


      24                                    Who    is   next after Lawton                            Mr.     Old      Who

      25       is    going   to   follow Mr.            Lawton                    please



                                                   LLOYD    E.    BILLUPS     CSR 149                                 108
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                                                           76TH   AAIcV     DISTRICT

                                                           Mr. PLEAS/WT.     TEXAS
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       1
                                                                       MR.        OLD.        Cathy         Byrd.

      2
                                                                       THE        COURT           Go   ahead        please.

       3                                   Mr.    Lawton                 is        in the      box.


       4




       5
                                                   A.W.                LAWTON

       6
               was called       as a witness         and having been first                                       duly sworn

       7
               by   the   Court      testified         as              follows

       8




       9                                     DIRECT          EXAMINATION

      10                                            BY MR.                     OLD

      11




      12        Q           Please         state     your name.

      13       A            My name          is   A.W.            Lawton.


      14
                Q           Where       do    you live                         Mr.        Lawton

      15                                                               THE         COURT          Is   it    Lawton           or


      16        Lawson
      17                                                               THE          WITNESS            Lawton           O-N.

      18                                                               THE          COURT          Thats          the   way    I


      19        had it.


      20                                                                THE               WITNESS            I      live      on


      21        Highway    49   about      four     and a half                            miles     north.


      22                                                                MR.             OLD       North          toward    Mt.


      23        Pleasant

      24                                                                THE          WITNESS           Yeah.


      25        Q               BY   MR.     OLD      How long have you lived                                     in Morris




                                                                                                                           109
                                                   LLOYD    E.    BILLUPS        CSR 149
                                                      omc         AL   COURT   REPORTER

                                                           16TH   ADICK        DISTRICT

                                                           MT.    TEAS/WT.      TEXAS
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      1
               county

      2       A              This       is    my home.                    I      lived        --   I    came    back   and

      3        lived    been      here       living since                      1967.


      4
               Q             You were          born here                      and raised           here

      5        A             Born and          raised here.

      6                      Went       off    and came                  back

      7        A             Yeah.


      8
               Q             How       old a man are                     you

      9        A             64.


     10        Q             Did       you know       Mr.             Cole           during        his       lifetime

     11        A             I    did.


     12        Q             Did you.know             him personally


     13        A             I    knowed       him pretty good because                                    being   Public

     14        Works    Director worked             for            the         city here           for. 24     years and

      15       I   knowed   him saw him practically everyday                                             here in town.

      16       Q             You were          the Public                      City Works          Director for the

      17
               City of      Daingerfield

      18       A             I    retired as City of                             Daingerfield Public Works

      19       Director.


      20       Q             Was       Mr.    Cole pretty well-known                                   all    over Morris


     21
               county

      22       A             As      far as     I   know             I    really would                 say that    he was


      23       well-known        all     through Morris                          county.


      24       Q               Was     he     considered                   to        be   a   good      man

      25       A                 Indeed.




                                                                                                                        110
                                                    LLOYD    E.     BILLUPS     CSR 149
                                                       OrcctAL        COURT    REPORTER

                                                            76TH    AOCM asm      to
                                                             Art.   PUASAMT.   WAS
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      1
               Q                 Did            you know              of       your own                    knowledge

      2
               A                 Indeed.                   I    say        hes                 a    good man.

      3
               Q                 Was            he    a    popular                   man

      q        A                 I         would          say        so.




          --9
      5
               Q                 Do         you           know         that              Mr.             Wardlow         is   accused      of


      6        having       murdered                 Mr.       Cole

      7        A                 I         know       his daddy                      real           good but         I    didnt really

      8        know       him.         I    have been                  knowing


               Q                 Do         you know                 Billy

      10       A                   I       didnt really know                                       him.


      11
               Q                 You            know           that      hes                 accused            of   having      murdered


      12       Mr.        Cole

      13       A                   Yes           sir.


      14
                Q                    Have        you heard                    a       lot           of     talk      about     that

      15        A                    Not         lately.


      16
                Q                    Back        when           it      happened

      17        A                    Early.


      18           Q                 Back            when        it        happened                       did   you      hear    a   lot   of


          19       talk    about           it

      20           A                 Right.


          21       Q                 What            were             people                    --        were       they       expressing


          22       opinions whether                       he    did         it          or         not

          23       A                   They was.


          24       Q                   What          were        they           saying

          25       A                   Well           they           was        all            against Mr.                Wardlow     at   the




                                                                                                                                           111
                                                                      LLOYD    E.    BILLUPS       CSR 149
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       I




            1
                   time-didnt know what                         to          call           it     but what has been                 said

            2
                   really was         against him.

            3
                   Q                 They were             against                    him

            4
                   A                 Yes        sir.


            5
                   Q                 And    did they express opinions                                        as   to    what ought

            6
                   to    be   done    to    him for killing                                Mr.     Cole

            7      A                 Some       did.


            8
                   Q                 Okay.           And     those                expressed             opinions             what was

            9
                   generally         the    opinion

           10      A                 Well        the       maximum penalty.

           11      Q                 That       is     the    death                   penalty

           12      A                 Yes.


           13
                   Q                 Have you heard anyone                                   that commented              on it      that

           14
                   did not      express the                opinion                    that        he   was    guilty

           15      A                 Well        they        said you                      dont know really exactly

           16
                   what       happened          you        cant              really say                 for       sure      when     you

\
           17
                   really      dont know                you       just                go    by hearsay.

           18
                   Q                 Do you have an opinion as to whether                                               or not       Mr.

           19      Wardlow      can       get    a     fair       trial                in       this    county

           20      A                 Well       my opinion                        I   believe because                  of    Mr.    Cole

           21      I    believe      it    would        be    a      little                 difficult.


           22      Q                 What       about        Mr.        Cole

           23      A                 Because          of     being well-known                            as   he was.

           24      Q                 Would       it    be a        fair               statement          that      he       was    loved

           25      by many      in    this       county



                                                             LLOYD     E.   BILLUPS     CSR 149                                      112
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      1
               A            I       believe       that      would                 be a          fair     statement.

      2
                                                                   MR.            OLD            Pass     the witness.


      3




      4                                         CROSS       EXAMINATION

      5                                           BY MR.           TOWNSEND

      6



       7
               Q            Mr.       Lawton        you are                    friends of              the     Defendants

      8        father      Jimmy Wardlow

       9       A              Yes       sir.


      10
               Q              Is      Jimmy       the        one                that            asked         you        to   come


      11
               testify

      12       A              Yes       sir.


      13                                    I    have been knowing                              him for a long time.


      14        Hes   a real         good   friend.


      15
                Q             And you are basically here                                         today    to       try    to help


      16        Jimmy   the         Wardlow      family

      17        A               I    am here      to do           the          thing            that     is    right.         Yes.


      18                                                            MR.            TOWNSEND              Okay.           Pass the


      19        witness.

      20



      21                                        REDIRECT            EXAMINATION


      22                                              BY MR.                    OLD


      23



      24        Q               Mr.     Lawton           you              are             a     friend        of    Mr.       Jimmy


       25       Wardlow



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                                                    LLOYD   E.    BILLUPS CSR.            149
                                                         ORIGAL     COURr      GEVORTER


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                                                            Mr.   REASAW. TDAS
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      1
              A             Yes      sir.


      2
              Q             Have     you      stated              anything                   that   wasnt         true   to


      3
               help Mr.    Wardlow       or   help Mr.                 Wardlows                 son

      4        A            No      sir.


      5                                                           MR.         OLD             Pass       the   witness.

      6                                                           MR.           TOWNSEND                   No     further


      7
               questions.


      8                                                            THE          COURT               Thank       you      Mr.


       9       Lawton.      You    may      step    down              and           I    appreciate            you   being


      10       here.


      11                                   You are excused                              meaning you            dont have

      12       to   hang   around    unless        you want                    to.


      13                                   Cathy      Byrd.


      14                                                            THE        WITNESS               Thank      you very

      15       much.


      16                                                            THE          COURT               Thank      you      Mr.


      17       Lawton.


     .1                                    Who   is    going to                         be    after Ms.         Byrd

      19                                                            MR.         OLD            Patsy Martin.


      20                                                            THE         COURT               Go   ahead.


      21




      22



      23



       24



       25




                                                                                                                          114
                                                   LLOYD    E.    BILLUPS    CSR 149
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                                                           MT.    RF/SAM.   TEXAS
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       1
                                                             CATHY               BYRD

       2
               was called         as a witness               and              having              been      first       duly sworn

       3
               by   the    Court        testified as                        follows

       4




       5
                                                  DIRECT              EXAMINATION

       6                                                     BY MR.                   OLD

       7




       8       Q                 Please       state           your name.

       9       A                 Cathy       Byrd.


      10       Q                 Where       do       you     live                Ms.            Byrd

      11       A                 Cason.


      12        Q                How     long         have           you              lived           in    Cason       or     Morris

      13
                county

      14       A                 All    my life               27           years.


      15
                Q                What    do       you do              for             a    living




      --19
      16        A                A housewife.

      17
                Q                Do you work at                       all

      18        A                 I   did.        I    worked                at


                                                                              THE          COURT            Excuse       me.


      20                                       Counsel                     housewives                      probably       do    a   lot


      21        more work         than    us          fellows               that              dont         so    they    generally

      22        have      their       hands       full         its                not            as   if    they       dont work

      23        just      that    they    dont             get        paid.


       24                                                                     MR.          OLD             You   interrupted         me


       25       before      I    asked    her         if     she           worked                outside         the    home        Your




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                                                            LLOYD     E.   BILLUPS        CSR 149
                                                               OFACW. COURT           REPORTER

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                                                                     Mr.   REASANT.   TE7AS
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       1
               Honor.


      2
                                                                     THE         COURT             Im       sorry.

      3                                                              MR.         OLD         Have you in the past

      4
               worked   outside      the      home

       5                                                             THE         WITNESS                I   worked       for   a


       6
               couple   of   years       at   Cason           store               at      Cason.


       7
               Q             BY     MR.       OLD            Did          you             work     there      during       the


       8
               period   of   time    that      Mr.       Cole was                        murdered

       9       A             No.     I    had just                  quit          and went          to      Mt.    Pleasant

      10       to   work.


      11       Q             Did    you       come       back                 and         work     at       the    store       in


      12       Cason after     that

      13       A             Yes.


      14
               Q             Have    you heard                 a      lot          of      people       talk      about    Mr.


      15       Coles murder

      16       A             Yes.


      17
               Q             And    the       fact       that           Mr.              Wardlow    is      charged       with


      18       it

      19       A             Yes.


      20       Q             Have    people          told             you what               they       thought

      21       A             Yes.


      22       Q             What    did they                say

      23       A              Well        they           a      lot            of         people     said         that     you


      24        know    he   deserved         to   die          just             like       Carl    Cole          did.


      25        Q             Do    they      --     I   mean                 they         are   already           punishing



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                                                   LLOYD       E.   BILLUPS     CSR 149
                                                         OFRCIAL COURT        REPORTER

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                                                              MT. RIFASNJT.    TEAS
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      1
               him and he hasnt                been    found                   guilty

      2        A                Well      just       people                  talk.


      3
               Q                 Okay.        And was        most of                            that   in   the   Cason    area


      4        where      you heard       that

      5        A                 Most    of    it.


      6        Q                 Did you hear it                   other places                         in    Daingerfield

      7        A                 Sometimes.


      8        Q                 You are Billys                   first                    cousin        is   that   correct


       9       A                 Yes.


      10       Q                 And     people       --      I         mean                 its       well-known      in   the


      11       Cason          area     isnt it             his              mother                and    your     mother    are


      12       sisters

      13       A                 No.     His     mother                and my father                        are   brothers.


      14       Q                 Brother         and       sister

      15       A                 Yes.


      16        Q                Thats well-known                             in           the     Cason      area

      17        A                Yes.


      18           Q             And people would get up and make                                             that   statement


      19           in your     presence

      20           A              Yes.     But       some     people                       dont know              dont really

      21           connect     me with        them all         the              time people who dont know

      22           that   I    belong to       the    Martins.


       23          Q              Did you       know       Mr.               Cole

          24       A              Yes     sir.


          25       Q              How    did you know                        Mr.           Cole



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                                                              76TH     AAICIAL      DSTP   CT

                                                               W.      PIEASAM.      TEXAS
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       1
               A                I       knew       him from              --        I      had known                 him all       my life

      .        but    I   really got close                     to him when                           I   was working             at Cason


      3        store.


      4
               Q.               And when you say you have known                                                      him all      of    your

      5        life       did you           know       him on          site               all        of       your       life

      6        A                I       had just          seen him around                                     and   I    really got       to


       7       talk       to   him      a    lot         though                when              I   was       working.

      8        Q                Was          he    likeable

      9        A                Yes           sir.


      10       Q                Was          your observation                               of       him he was             a good      man

      11       A                Yes           sir.


      12       Q                Did          he    hang        around                  the           Cason          store

      13       A                Yes.


      14
               Q                A lot             of     people              hang            around             the      Cason    store

      15       A                 Yes          sir.


      16
               Q                 You         all       liked      Mr.              Cole

      17       A                 Yes           sir.


      18       Q                 Was         he kind           of            the         deacon               or    the    dean    of    the


     .1         store

      20       A                 Yes              sir.         He            always                  joked          about       being     an


      21        employee.

      22        Q                   Do      you        have     an           opinion                     as    to       whether    or    not


      23        your      cousin Billy                 can     get           a     fair              trial          in   this     county

      24        A                   I    dont          think          he         will.


      25        Q                   And what             do you              base                that         on


                                                                                                                                         118
                                                              LLOYD     E.   BILLUPS      CSR 149
                                                                 orccw. ccuar            REPOQT6t

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                                                                       MT.   PLEASANT.   TctAs
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      1
               A              Because        of    talk             you            know          everybody       --   Mr.


      2
               Cole being       so   well-known.

      3
               Q              And what       you have                 heard               since

      4        A              Yes     sir.


      5                                                            MR.          OLD         Pass        the   witness.


      6                                                            MR.          TOWNSEND             No       questions

      7        Your Honor.


      8                                                            THE          COURT        You may step down


          9    maam.         Thank    you.        You    are           excused.


      10                                 That           means                  you        dont      have        to    hang


      11       around.


      12                                 Patsy              Martin                         who     is        after    Ms.

      13       Martin

      14                                                            MR.          OLD         Mr.    Nash.


      15




      16                                            PATSY             MARTIN


          17   was called       as a witness            and having been                            first      duly sworn


          18    by     the   Court    testified as                   follows


          19




          20                                  DIRECT           EXAMINATION


          21                                            BY MR.                 OLD


          22



          23       Q            Please       state       your name.


          24       A            Patsy Martin.


          25       Q            You    live       near      Cason



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                                                    LLOYD     E.   BILLUPS

                                                         OFFOAL COURT          REPORTER

                                                            76TH   .AAIgA      DSRICT

                                                             W.    PIP.ASNM.    TEXAS
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          1
                   A           Yes     sir.


          2
                   Q           Have    you       lived       there                a      long        time

          3        A           Yes     sir.


          4
                   Q           How    long       have    you lived                         there

          5        A           All    my life          just          about.


          6
                               I   believe you actually                                  live    across the           line     in


           7       Titus   county

          8        A           Yes     sir.


           9       Q           Have    you       lived       in Morris                         county      in   the.past

          10       A           Yes.


          11
                   Q           How    far     do you        live              from Morris                  county      --   yeah

          12       Morris     county

          13       A           Its     kind       of    just           across                  the    road.


          14
                   Q           Part    of     your      land            is         in Morris            county

          15       A           Not    --    not actually                      but         it    is    across the            road.


          16
                   Q           The    land       that     adjoins                        you    across       the      road    is

          17       A           Yes     sir.


          18       Q           The     community              that               you           live     in      and    you     do


          19       business    in     is    it    more             acquainted                    to     Morris        county

          20       Cason   and Daingerfield than                        to         Titus         county

          21       A           Yes.


          22       Q           You are Billy             Wardlows                         aunt        is    that      correct

          23       A           Yes.


.         24       Q           Do     you work         outside                   the       home

          25       A           No      sir.




                                                    LLOYD    E.    BILLUPS     CSR 149                                        120
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                                                            MT.    R.EASAM.    TEXAS
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      1
               Q              You    know        that       Billy                     is       charged      with        having

      2
               murdered      Mr.    Cole

      3        A              Yes     sir.


      4
               Q              Have    you heard             a         lot           of        comment     or   talk       about

      5
               that

      6        A              Yes     sir.


      7
               Q              And what       are people                      saying as to whether                       or not


      8        he did it      or not     or whether                     hes                 guilty or       not

       9       A              They    say    hes        guilty.


      10       Q              And     have        people               made                   that   comment         in    your

      11       presence

      12       A              Yes     sir.


      13
                Q             Have people who                should have known                              that   you were

      14        his   aunt   made     that       comment              in your                  presence

      15        A             Yes.


      16
                Q             Doesnt         seem          to               bother               them     to     make      that


      17        statement      to     you        even        though                         they     know      you        are    a


      18        relative

      19        A             Doesnt         seem       to.                 No           sir.


      20        Q             Have     they        expressed                             to    you   what      they        think


      21
                ought   to   be done        to    Billy

      22        A              Sometimes.           Yes                sir.


      23        Q             What     opinion have                         they              expressed     as     to     how he


      24        ought   to   be     dealt    with

      25        A              That    he    ought         to          be put                  in prison       for      life    or




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                                                   LLOYD     E.   BILLUPS         CSR 149
                                                        OFACIAL COURT            REPORTER

                                                           76TH   AAICIAL    gSTRICT

                                                            MT.   P   EAS   W.   TEXAS
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      --2
      1
              death


              Q
                       or


                            But       they        are        already willing                         to   sentence   him

      3
               even    though   he    hasnt             been           found             guilty

      4       A             No       sir.          Yes.


      5
               Q            Did you know                 Mr.           Cole

      6       A             Yes           sir.


      7
               Q            How      long         have        you known                   Mr.   Cole

      8       A             All my life.


      9        Q            Was      Mr.         Cole       well-known                    in    Morris.county

     10        A            Very well-known.                             Yes             sir.


     11        Q            Did he          have        a     good            reputation

     12        A            Yes           sir.


     13        Q            Was      he     a     liked         or        loved           man

     14        A            Yes           sir.


     15
               Q            Do    you           have     an          opinion              as    to    whether   or   not

     16
               Billy    can get       a    fair        trial           in        this      county

     17        A            Probably not.

     18        Q            Okay.            And why             is       that

     19        A            Its           just been              so       well           talked       about   so much.


     20        Q            Is it          --    how about Mr.                           Coles popularity            does




     --24
     21        that    effect    it

     22        A            I    think           so.



     23        Q            Now           you     are        his blood


               A            I    am his           --     I     am his uncles                         wife.


     25        Q            You       are        his     uncles                  wife



                                                                                                                      12 2
                                                       LLOYD    E.   BILLUPS    CSR 149
                                                             OFHCIAL COURT    REPOR197

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                                                               MT.   FLEASAM.   TEXAS
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      1
               A            Yes.


      2
               Q            People have made the statement to you that                                             he   s



      3
               guilty

      4        A            Yes     sir.


      5
               Q            And     they    have          made                the      statement            to   you   he

      6
               ought   to   get   life

      7        A             Yes    sir.


      8        Q             Life   or     death     sentence

       9       A             Yes    sir.


      10       Q             Dont you          think           it       takes          --   I   mean people know


      11
               your relationship         with      him but yet                         they go        ahead      and say


      12       those   things     in your       presence

      13       A             Yes    sir.


      14                                                            MR.         OLD         Pass      the   witness.

      15                                                            MR.          TOWNSEND             No    questions

      16       Your Honor.

      17                                                            THE         COURT           Thank      you maam.

      18        You may step down.


      19                                 Mr.    Nash.


      20                                 You    are        excused                     that      means      you    dont

      21        have   to wait     around      unless               you choose                  to.



      22                                 Who    will            be          after Mr.            Nash

      23                                                            MR.           OLD       O.B.      Senn.


      24                                                             THE          COURT          Go   ahead.


      25




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                                                         76TH.AAICIAL       DISTRICT

                                                         MT.   P EASAM.      TEXAS
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                                                         W.S.           NASH

      2
               was called     as a witness               and           having              been   first    duly sworn

      3
               by    the   Court    testified as                     follows

      4




      5
                                              DIRECT              EXAMINATION

      6
                                                      BY MR.                   OLD


      7




      8
               Q             Please          state       your name.

      9        A             It.s    William Simpson                                Nash.


     10
               Q             Where       do   you        live                 Mr.        Nash

     11        A             Route       1     Box       175-C                    Daingerfield            which   is   in


     12        the    Jenkins     community.


     13
               Q              Jenkins               is      that              kind        of   toward     Lone    Star

     14
               A             Yes.


      15
               Q             How    long       have       you           lived              in Morris      county

      16       A             Approximately                  22       years.

      17
               Q             Did    you know             Mr.         Cole                during his     lifetime

     18        A             Yes.        I    did.


      19
               Q             How well          did you               know                him

     20        A              I   saw him at             the          Cason store                  saw him up here

     21        in    town    just   knew       him when                 I        saw       him.


     22        Q             Was    he       a popular               man in this county


     23        A              I   feel       like    that             he         was.


      24       Q              Was   he       well    liked

      25       A              I   feel       like    he was.




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                                                    LLOYD   E.    BILLUPS.      CSR 149
                                                         OFACWL COURT ROORTmT

                                                          76TH    ACICIAL     DISTRICT

                                                            MT.   PLEASANT.    TOWS
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       1
               Q                 Do    you          know       Billy            Wardlow

      2
               A                 Yes.          I     know        him.


       3
               Q                 Do you             know       Billys parents

       4
               A                 Yes       sir.            I     do.


       5
               Q                 You      all        are       not          related                     are   you

       6       A                 No.       We        are       not.


       7
               Q                 Have      you          heard          a      lot           of         talk   about       him having


       8       killed Mr.            Cole

       9       A                 Yes.           I    have.


      10
               Q                 Have          people          expressed                          an    opinion      to    you   as    to


      11       whether      or not             they       think             he        did          it

      12       A                 I    have heard people                                express their opinion                         that


      13        he   did   it.


      14
                Q                On numerous                    occasions

      15        A                I    would             say     numerous                               yes    sir.


      16        Q                And       have          they          expressed                        their    opinion         as    to


      17        what    ought        to    be       done        to      him for doing                         that

      18        A                Probably                  so        but               I          didnt         pay       that       much


      19        attention        to       it        you know.

      20        Q                Anybody                indicated                 to           you       he   ought       to   get    the


      21        death      penalty

      22        A                I     have         heard         that            if         he        was    guilty.


      23        Q                Where             do    you      work

      24        A                Lone          Star        Steel.


      25        Q                And       have          you         heard                  --     have       you     heard      people



                                                                                                                                      125
                                                               LLOYD   E.   BILLUPS        CSR.   149
                                                                  OTACRAL     COURT REPORTER

                                                                     76TH   JIAIQAL    DISTRICT

                                                                       W. R   EASAW.    TDAS
1




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          1
                   talk       about       it        at   work

          2
                   A                  I    am not              sure it                has           been       discussed           I   am sure

          3        but    I    dont work with                           that              many people                      you    know      that


          4
                   live       up in this area.                          Most               of         them         live    in Longview        or


          5        Gilmer or somewhere                             like          that.


          6
                   Q                  Outside                 this      county

          7        A                  Outside of                    the          county.


          8        Q                  Do        you          have       an            opinion                 as     to   whether      or    not

          9
                   Billy       can    get           a    fair       trial                in this               county

         10        A                  Do        I       have       an    opinion

         11        Q                  Yes.               Do you          have               a       belief

          12       A                  Its possible                         that                  he         could.


          13
                   Q                  Do        you       have          doubt               about             it

          14       A                  All           the       publicity                     and everything                   I    would     have

          15       some       doubt       about              it.


          16
                   Q                  Has           there          been more                        publicity             about    this     than

          17       other offenses                       or    crimes

          18       A                  Maybe              because             I        knew             everybody           involved       would

          19       be the       only way.

          20                                                                             MR.           OLD          Pass    the    witness.

          21




          22                                                       CROSS          EXAMINATION


          23                                                        BY MR.                TOWNSEND


          24



          25        Q                     Mr.       Nash            you are                  friends of                   friends of      Jimmy



                                                                                                                                             126
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                                                                           76TH       AAICIAI.    rSTRICT

                                                                             MT.      PLEASANT.    TEXAS
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      1
               Wardlows

      2
               A                Thats      correct.


      3
               Q                And   as   a    result of.talking                                   with    Jimmy Wardlow

      4
               thats      the    reason        that    you                are         here today

      5
               A                Thats      correct.


      6
                                                                          MR.               TOWNSEND                Pass          the


       7       witness.


      8                                                                   MR.                 OLD             No         further

       9       questions.


      10                                                                  THE          COURT              Thank     you           sir

      11       and you may        step     down         appreciate                            you being           here.


      12                                                                  THE          WITNESS             Thank     you.


      13                                                                  THE          COURT          Mr.        Senn.


      14                                   Who    is          after                   Mr.       Senn         Mr.     Old          who

      15       would   be   after Mr.           Senn

      16                                                                  MR.          OLD          Your Honor            I   might

      17       be   through.          I    have       got             to           be         sure    I    havent             marked


      18
                through     somebodys           name.


      19                                                                  THE          COURT              Okay.     Fine.


      20                                   Mr.    Senn                    if         you will             just    have        a   seat


      21        over   here in the witness                      chair                        please        sir.


      22                                                                  THE          WITNESS             All right              sir.


      23                                                                  THE          COURT          Please        spell your


      24        last   name.


      25                                                                   THE         WITNESS            Senn S-E-N-N.


                                                      LLOYD    E.    BILLUPS         CSR 149                                       127
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                                                              Art.   PLEASANT.      TEXAS
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                                                  O.B.            SENN                JR.
      1




      2
               was called      as a witness             and having been first                             duly sworn

      3
               by-the    Court        testified as                   follows

      4




      5
                                                DIRECT            EXAMINATION

      6
                                                        BY MR.                OLD

      7




      8
               Q               Please       state       your name.

      9        A               O.B.    Senn        Jr.


     10
               Q               Where       do    you    work

     11        A               I.dont           work.


     12        Q               Are    you retired

     13        A               Retired.


     14
               Q               What    are       you    retired                   from

     15        A               Carpenter.


     16        Q               Where       do    you live

     17        A               I    live    at     Route             2          Box         187-X     Daingerfield

     18        Texas.


     19        Q               What     community                 or         area           of   Morris   county   is


     20        that

     21        A               Thats        about        two          and an                eighth    miles west   on


     22        Highway    11       from Daingerfield                         city           limits.


     23        Q               Thats between                 here              and Cason


     24        A               Yes     sir.


     25        Q               Did    you       know    Mr.          Cole             during his       lifetime



                                                   LLOYD     E.   BILLUPS     CSR 149                              128
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                                                           76TH JJDICIAL DISTRICT

                                                           MT.    RE/SANT.    TEXAS
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       1
               A              All my life.

      2
                              Was    he    a well-known                         man in Morris                county

       3       A              Yes     sir.


       4
               Q              Was    he a well              liked               man         in Morris        county

       5       A              As    far    as    I    know            he        was.


       6
               Q              Do     you       know     that               Mr.             Wardlow      is    accused         of


       7
               having      murdered       him

       8       A              Yes      sir.


       9       Q              Have    you heard                people                    talk     about      that

      10       A              Oh      yes.        There               has          been         talk    about     it        sure


      11       has.


      12       Q              Have     you read a lot                             in        the   paper      about     it

      13       A              I    beg your pardon

      14
               Q              Have     you      read the                  newspaper

      15       A              Oh      yes.        I    read               the        paper.


      16
                Q             The     talk            that            you                  have   heard         and         what


      17
                people      are     saying            has            it       been              disfavorable           to    Mr.


      18        Wardlow

      19        A             Well pro and                  con.


      20        Q              People          have    expressed                           to   you    the   opinion        that


      21        hes guilty

      22        A              Yes.        I    have     heard                  that.


      23        Q              And    they        feel          pretty                     strongly       about       it    when


      24           they   express that          opinion

       25       A              Well        some       have            and          some         just    couldntfigure



                                                                                                                             129
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                                                         oFRcIAL COURT          REPCQTER


                                                              76tH   .RACIA     DISTRICT

                                                               NO.   PIFASAM.    TEXAS
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       1
               out   what     possessed          him to                do     it           if    he    did it.

      2
               Q               Do you have             an opinion as                             to whether            or not   Mr.


      3        Wardlow       can    get     a    fair     trial               in           this       county

      4
               A               I    believe        he     could.


      5
               Q               You    dont think                  that             the popularity                  of Mr.       Cole

      6
               would       effect     a    jury    in     this              county

       7       A               Well         I    dont think                        so.


      8        Q               You        dont     think               so

       9       A               No         sir.


      10                                                                 MR.          OLD             Pass    the witness.


      11                                                                 MR.           TOWNSEND                   No    questions

      12       of    this    witness            Your Honor.


      13                                                                 THE            COURT             Thank          you     Mr.


      14       Senn.        You     are    excused.                   You         dont have                  to    hang    around

      15
               any    further        today        we     appreciate                             you being here.

      16                                                                  THE         WITNESS             All          right    sir.


      17                                                                  MR.          OLD            Your Honor          we rest

      18       on    the    motion.


      19                                                                  MR.         TOWNSEND               The State would


      20       call    Bob     Scaf   f



      21                                                                  THE           COURT            Spell          that    last


      22       name    for me.


      23                                                                  THE           DISTRICT          CLERK           Scaff

      24        S-C-A-F-F.


      25




                                                                                                                                 130
                                                        LLOYD    E.    BILLUPS     CSR 149
                                                           OFRC1AL       COURT REPORTER

                                                                76TH   ACCtAL     DISTRICT

                                                                MT.    PLEASANT    TEXAS
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      1
                                               The Defendant                             rested its          case    on Motion

      2        for    Change      of    Venue.

      3




      4                                                     BOB              SCAFF


       5       was called         as a witness              and having been                              first      duly sworn

       6
               by    the    Court        testified as                        follows


       7




      8                                             DIRECT         EXAMINATION


       9                                             BY MR.                  TOWNSEND

      10




      11       Q                  State    your           name               please.


      12       A                  Bob    Scaff.


      13        Q                 And     Bob         how are you employed


      14       A                  Im     Morris           County Commissioner.

      15        Q                 And    you        are   a     commissioner of what                                precinct

      16        A                 Precinct           One.


      17        Q                 Okay.        You have                just been                     elected     commissioner


      18        of   a   new precinct           I    believe                   what             is   the number      for    that

      19        A                 It    will        be    Precinct                       Four.

      20        Q                 What     is       Precinct                   One              the    old     Precinct     One

      21        basically         what    area           does       that               encompass

      22        A                 That    is        part      of             the         City of         Daingerfield        and


      23        the      Cason area.


      24        Q                 Okay.        What       about               your new precinct                      what    area


      25        does       that   encompass



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                                                              oFRCI     LL   couar   REPORTER

                                                                7en1    Alo1CIAL DISTRICT

                                                                  Mr.   PLEASANT      TEXAS
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      I
              A               It   will       be part of                     the             City of Daingerfield and

      2
              go    east   and north           to     the          Rocky                  Branch             area.


      3
              Q               Does    it       actually                   go          north             of    Rocky      Branch

      4       A               Yes.


      5
               Q              Goes    east           all      the            way                to     the    Cass    county          line


      6
               to   Hughes    Springs

      7       A               Yes.


      8        Q              What    sort           of     education                            do     you have           Bob

     .         A              I    graduated              from high                          school          in Paul       Pewitt       at


     10        Naples      and      Omaha            graduated                               from        Southern              Arkansas

     11        University with            a    BBA.


     12
               Q              Have     you          lived                the          majority of                    your      life     in


     13        Morris      county

     14        A              Yes.


     15        Q              How      long               have                 you                   lived      here           in      the


     16        Daingerfield         area

     17        A              I    have       lived          in Daingerfield                                  nine       years.


     18
               Q              Prior to           that         time were                          you born and raised                    in


     19        the    Omaha   area

     20        A              Yes.        I    was born in Naples and raised                                                in Naples


     21        and Omaha      up     until       I    was           twenty years                             old.


     22        Q              After           that       time               after getting                       out       of    college

     23        I    believe   you worked             at the Morris                                   county     bank      at    Naples

     24        A              I    worked           at      Morris                    county             bank       in    Naples       six


     25        years.




                                                                                                                                       132
                                                          LLOYD    E.    BILLUPS      CSR        149

                                                             MCIAL         COURT     RtWER
                                                                  76TH   AAIc AL     01SIRICT

                                                                  MT.    il1ASM4T.    Tows
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      1
               Q                And        what      years were                         those

      .        A                From 1974              through                  1980.


      3
               Q                You        still          have         relatives                     in       the    Naples-Omaha

      4        area

      5        A                 Yes.


      6
               Q                 Does       that          include               your mom and                    dad

      7        A                 Yes.


      8        Q                 I    guess          them        living up                         there       you       still     spend


          9
               quite         a bit    of    time          in    the           north             end      of    the       county

      10       A                 Yes.           I    do.


      11       Q                 As    well          as    your commissioners                                   job

      12       A                 Yes.


      13       Q                 For        instance              a           few        years           ago        when     you    were


      14       working         at     the       bank       in         Naples                 did      you       know       Mr.     Homer


      15        Cole

      16        A                Yes.           I    did.


      17        Q                And        I       believe           Homer               was       Carl       Coles             brother

      18           is   that   right

      .1           A                Thats            right.


      20           Q                 And    did Homer              live                 there         in   Naples

      21           A                 Yes.


                                     And                    that              period of                  time       in    knowing    Mr.
      22           Q                        during


          23       Homer     Cole     and working                at           the       bank        of     Naples         and growing


          24       up   in    this    area          did you know                        Carl        Cole

          25       A                 No.




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                                                               LLOYD     E.   BILLUPS    CSR 149
                                                                  OFRCIAL COURT         REPORTER

                                                                       76TH   AAICIAL   COMM
                                                                        MT.   REASAM.   TEXAS
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       1
               Q               When    did you meet                    Carl             Cole

       2
               A               I     didnt        meet           Carl                 Cole     until        I     moved      to

       3
               Daingerfield in 1985.

       4
               Q               Sometime          after that                     you      found       out    that       he and

       5
               Homer were brothers

       6
               A               Yes.


       7
               Q               Based on your knowledge                                 of    people particularly

      8        in the    Omaha       and Naples         end           of        the                               has been
                                                                                            county    there

       9       publicity       in    this    case       from                the        Daingerfield newspaper

      10
               presented           do you believe                that publicity                      or just word of

      11       mouth    publicity          has   had       such             a     strong effect                 that    there

      12       are substantial numbers                 of         people                in the north            end of the

      13
               county    that       could    not    be       fair               jurors

      14
               A               No.     I    do    not believe                          that.


      15
               Q               Do you believe              that             the Defendant                  in this      case

      16
               Billy    Wardlow        could       get       a      fair               trial    in Morris          county

      17       A               Yes.


      18
               Q               I    think    you said you knew                               Carl knew him              to   be

      19       an   older person            is    that       correct

     20        A               Thats        correct.


     21
               Q               How    old    are    you             Mr.           Scaff

     22        A               47.


     23        Q               Do    most    of     the          people                 that    you        know    of     that


      24       know     Carl       Cole      would         they                 be       in    the     65       and     older

      25       category



                                                   LLOYD   E.    BILLUPS     CSR 149                                         134
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                                                         76TH    AAICIAL    DSTRICT

                                                           MT.   REASM4T.    TEXAS
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           1
                                                                                  MR.         OLD              I     object          to     the


           2
                    question         it       calls           for       him to                speculate              who        knew       Carl


           3
                    Cole     those           people       that          he         knew         of        that      knew       Carl       Cole.


           4                                                                       THE        COURT                 Sustained             until


           5
                    you word       it        some    kind          of      way         differently.

           6                                                                       MR.       TOWNSEND                We    are talking


            7
                    opinions        today                Your       Honor                   so        I    would          ask       him     his


           8        opinion        would        that          be     all           right

            9                                                                      THE        COURT                You    can       put    your

-ý         10       question       however               you want                 to      and         I   will       see       if    anybody

           11       objects.


           12                                                                      MR.               TOWNSEND                       In     your

           13       opinion        Mr.        Scaff           are most of                       the       people         that       would      be


           14       closely             --      would               have                  close                ties            relatives


           15       relationships                   friendships                        with           Mr.      Cole         would          they




           --17
           16       be

                                                                                    MR.              OLD            Object           to        the


           18        question           it     calls          for       him            to       speculate                who     had       close.


           19        ties    to    Mr.       Cole         Most           of         the        people          had close                 ties.

           20                                                                       THE        COURT               Overruled.


           21                                            Commissioner                           try       to base          your          opinion


           22        as    close    as you can                as    to what                 you know by virtue                           of your


           23        own    experience              as        opposed                to      trying            to    project             out    to


           24        unknown       people           if    you       can.


           25                                            If    you can answer                             it   without          relying on



                                                                                                                                               13 5
                                                                   LLOYD    E.    BILLUPS   CSR 1149
                                                                        oFHCIAL COURT     REPORTER

                                                                           76TH   AXaAL   DISTRICT

                                                                            MT.   REAMWT. TD AS
Case 4:04-cv-00408-MAC Document 44-10 Filed 12/11/17 Page 145 of 164 PageID #: 1583

      1
               just    a    guess         based         on       a    guess                 I       will    let    you answer               if




      --5
      2
              you     can    make         that     distinction                            the        best     you can.

      3
                                                 Okay.               Would                  you       ask     the       question         one

      4
              more time and let                    me


                                                                                  MR.           TOWNSEND               Basically         the


      6
               question         boils down              to           is           it      your opinion                   that      most of

      7        the    people         that        --.    who          have              been           close        to       Carl      within

      8
               your    knowledge            would        be          in           the           65    and older             category

      9                                                                           THE           WITNESS                In     my   opinion

     10        the    people        that     I    know           and              that          I    know    these          people knew

     11        Carl    Cole          most of           them would                         be over            65.


     12        Q                    BY     MR.         TOWNSEND                         Mr.          Scaff         you        have     lived

     13
               pretty well over                  the     county                   as        far as         living in the south

     14
               end and you have lived                            in the                north end                  is    that       correct

     15        A                 Thats            correct.


     16
               Q                 Do       you     feel        you            have               a    good working              knowledge

      17       of    the    people         in     the        county                    so       far    as    do    you        still     feel


     18        that    you know            people            well             in both                 ends

      19       A                 Yes.


     20        Q                 Do you          feel        like             or do you                    feel    like       that     there

     21        would       be   a     difference                 as          far          as         knowledge           of    this     case

     22        basically            from one            end          of       the           county          to     the      other      or   do


     23        you    think         it    would         be       about                 the          same    all        over

      24       A                    It    would         be different.


      25       Q                    Mr.    Scaff             I       think               you          are    familiar with                  the




                                                             LLOYD     E.    BILLUPS        CSR 149                                         136
                                                                     OFAC    AL   COM   REPORTER

                                                                      76TH   .OICIA     C7ISTRICT



                                                                       Mt.   PIF.ASAM. TEXAS
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      1
               newspaper           the    Bee

      2
               A               Yes.


      3
               Q               Is       that    a    newspaper                   that       many people                    to       your

      4
               knowledge       read       in    Naples       and Omaha

      5                                                               MR.           OLD           I    object              to        him

      6
               testifying          as    to    whether          he       thinks             its       read        in       Naples

      7
               it      calls   for      speculation.


      8                                                               MR.                 TOWNSEND                     I            will


       9       withdraw.

      10                                                               MR.        OLD        People read the Bee

      11       or      dont read         the    Bee        thats                 fine.


      12                                                               MR.        TOWNSEND              I    have          already

      13       withdrawn        it.


      14                                                               THE         COURT              Next    question.


      15                                                               MR.          TOWNSEND                Ill        pass          the


      16       witness.

      17




      18                                            CROSS       EXAMINATION


      19                                                   BY MR.               OLD


      20



      21           Q               You    are   a County                Commissioner                    how many years


      22           have   you been        a    commissioner


       23          A               How many         have    I     been             County Commissioner                               two


          24       two    years.         This   is    my        second               year         in    January                 I    will


          25       have    served       two    years.




                                                                                                                                      137
                                                       LLOYD    E.    BILLUPS    CSR 149
                                                            OFMAL      COUR4    REPORTER


                                                             76TH     AAICW     USTP CT

                                                                MT.   RIASAM.    TEXAS
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          1
                   Q               You    came       in at           midterm

          2
                   A               No.     We    had        a       redistricting                          I    had    two    --    my

          3        term was       shortened.


          4
                   Q               You    mean        you       got            to         run      two     years       ago    for    a


          5        four    year    term    then       you got                   to          run    for    a    four    year    term

          6
                   again this          year

          7        A               Thats        correct.


          8
                   Q               Are you as          a   Commissioner in Morris county                                           are


          9        the    finances       of Morris           county                     of       your     concern

         10        A               Yes.


         11        Q               And    it    is    something                        that        you have       to   answer       to


          12       those    people       who    vote        in this                     county          for

          13       A               Thats        correct.


          14
                   Q               You    are     aware              that              if        the    Court     should      grant

          15       a    change    of    venue     in this                  and          this       case        should be moved

          16       to    another county          that       that would                           create    additional costs

          17       to    Morris    county        Texas

          18       A               Yes.


          19       Q               Have         you          as                a            Commissioner               and         the


          20       Commissioners            Court together                                done         any sort of       study.or

          21       investigation          as     to    how much                       that        is    going     to   cost

          22       A               No.


          23       Q               Mr.    Cole was              a     well-known                       man in     this   county

.         24       wasnt he

          25       A               He    was     well-known                      in         Cason.




                                                                                                                                    138
                                                           LLOYD      E.   BILLUPS      CSR 149
                                                                OFRQbl      COURT     REPORTER

                                                                    76TH   ADICW.     DISTRICT

                                                                     MI.   P.EAwdr.    TDAS
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      1
               Q                   He        was     one     of        the            pioneers               of   the     county

      2
               wasnt         he

      3        A                   I        dont     know.


      4
               Q                   You        dont know

      5        A                   No.


      6
               Q                   Do        you know        Ray        Cochran

      7        A                   Yes.


      8
               Q                    Do       you know        if       Ray            Cochran            would       be   a    person


       9       for      you        to        take     a    position                   to         know    who      the        pioneer


      10       families of                  this     county       were

      11                                                                    MR.           TOWNSEND                Your        Honor

      12       this      calls          for    opinion            calls                for       speculation.


      13                                                                    THE          COURT           Sustained.


      14                                                                    MR.           OLD           Do    you    know      Jerry


      15        Pratt         Sr.

      16                                                                     THE         WITNESS              Yes.        I   do.


      17
                Q                       BY     MR.    OLD          Would                you       agree       that       Carl Cole


      18        had      a   lot       of     friends

      19           A                   Yes.


      20           Q                   And     those       friends            werent particularly limited

      21           to   any geographic                area        he        had friends in the north part


      22           of   this   county               didnt         he

      23           A                    I    dont     know.


       24          Q                    You    dont know

          25       A                    No



                                                                                                                                    139
                                                             LLOYD    E.   BILLUPS     CSR 149
                                                                  OFACIAL COURT       REPORTER


                                                                     76TH JUDICIAL    gSIRICT

                                                                     MT.   P.EASAM.    TEXAS
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      1
                               You    are       not   saying                  he          did     you are not                saying

      2
               he    didnt      you       are    saying you                       dont know

      3        A               Correct.


      4                                                              MR.            OLD            Pass        the    witness.

      5                                                              MR.                  TOWNSEND               No      further

      6        questions.


      7                                                               THE                 COURT                 Thank             you

      8        Commissioner.              You    may step down.                               You    are        excused.


      9                                     You       are       free                to       stay     or        leave        as    you

     10        choose.


     11
                                            Any       further                 witnesses                   Mr.    Townsend

      12                                                              MR.            TOWNSEND                  Thats         all    we

      13       have.


      14                                                              THE            COURT            All        right.            The

      15       evidence        then    is   closed          on           the         change          of       venue.


      16                                    Mr.       Bailiff                      have         we   got        anybody           that


      17       was     sworn    as    a   witness        and              they              are    out        there     and       they

      18       want     to   come     in when         they          are part                  of     the       public        now.


      19                                                                 THE        BAILIFF               I    think    they are

      20       all     gone     they      was    too     anxious.


      21                                                                 THE          COURT           Okay.            Mr.    Old.


      22                                                                 MR.          OLD          Yes.


      23                                                                 THE          COURT           Argument

      24                                                                 MR.         OLD          May we approach                  the


      25       bench



                                                                                                                                   140
                                                      LLOYD   E.    BILLUPS.      CSR 149
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                                                              MT.   PJ   SAHT.    TDU15
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      1
                                                                                THE            COURT                Sure.


      2




      3                                              Off      the record                           hearing at the bench                        out


      4        of    the       hearing         of    the          Court Reporter.

      5




      6                                                                          THE           COURT               Okay.           Back   on the


      7        record.


      8                                             Mr.           Old           indicates                      that           he     wants       to


       9       reserve          a    closing             argument                but            doesnt necessarily                             need


      10       to    do    one       now.


      11                                            Mr.       County Attorney




      --15
      12                                                                             MR.         TOWNSEND                     Well        as    the


      13       Court       knows          one       of    the       things                    that        has        been      pointed          out


      14
                repeatedly                the       amount          of          publicity

                                                                                     THE         COURT               Let      me     stop      just


      16        a   second           it    might shorten                         everybody                         the    two       statements


      17        under          316        A     dangerous                 combination                                under          subpart      A
      18        that      motion is             denied.


       19                                            Now           the           issue                  has     to       do   with        whether


      20        or not         there       can be a fair                        and           impartial jury trial                          which


      21        is     Item           One            in       other                  words                I     am       not        --    theres


      22        nothing          to       support             a    combination                                in    this       so        lets    if


       23       the motion                is   to    be granted                        it        has          to be granted               on   One

          24    not       on    Two.


          25                                             Go   ahead.




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                                                                  LLOYD   E.    BILLUPS        CSR.     149
                                                                     OFRC       AL   COURT   REPORTER

                                                                        76TH    JUDICIAL     DISTRICT

                                                                          MT.   PlE/SANT.1DU15
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       1
                                                                          MR.          TOWNSEND                   There has been


               its




       --9
       2
                       lots    of       talk       about      publicity                           in    the          newspaper          you

       3
               know     we    have       got       two     local             newspapers                         in     the     county.

       4
                                               We    have got evidence                                  presented               that    one

       5       of     those     newspapers                had            some                  publicity                  we    have     no

       6       evidence       presented             that      it         was           on TV.               I    think         there    was

       7       mention of          one    radio          station                  discussing                     it.


       8                                       We     dont               know                  how     much          or      whether

               theres no evidence                     that              any          of         the     newspapers                  outside

      10       of     the    county           that       are            widely                  circulated                   within     the


      11
               county         such       as        Longview                          Texarkana                         Mt.      Pleasant

      12
               newspapers               theres             no           evidence                       that            those         papers

      13       presented        any       publicity                  so        when               we    are            talking        about

      14
               publicity                all    we are talking                            about          is      one       little      local


      15
               newspaper       presenting                publicity                        or presenting                      this     stuff


      16       that    would       largely go              to       this               end of           the          county.

      17                                       I     think              that                 we       are        pretty          much    in


      18
               agreement           of    course             as          the          Court             knows           simply having

      19
               publicity        in a       case      doesnt                   call              for     a       change         of    venue.


      20       Simply       having        knowledge                of         the              victim           is      really not         a


      21       reason        for     change          of     venue                      if         so    John            F.     Kennedys

      22       killer       would       never        have been                      tried.


      23                                       As    for the witnesses                                  presented                they all

      24        seemed      like     good      folks         to me                but           they are all                   friends of


      25        the    Wardlows          for       the      most             part               with         the        exception        of




                                                          LLOYD
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                                                                   E.   BILLUPS      CSR        149

                                                             omGAL       COURT      REPORTER

                                                                  76TH AlCICIAL     DISTRICT

                                                                   MT. PIEA.SANT.    TEXAS
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           1
                    maybe    one         they    are    either                 friends                  or     relatives           of    the


           2
                    Wardlows.        I    believe       they were without                                    exception        from the

           3
                    Daingerfield-Cason                  --        Jenkins                           there           was      one        from


           4        Jenkins         the    rest       were     all             from                Daingerfield              or Cason.

           5        If   you look at your demographics                                             Your Honor              theres not

           6        a witness        from Omaha              theres not                            a   witness            from Naples


           .        there    was     not    a   witness           from Lone                         Star            there    was    not    a


           8        witness     from Hughes             Springs                         those           four         cities       are    all


            9       in part     of       Morris       county               that             there         was        not    one    single


Tt         10       witness     from any of             those          places.


           11                                     I    suggest                 to you               that       if    the    Defense       in


           12       this     case     is    going       to    go           to           all         the      trouble         to    parade


           13       twenty witnesses              in    front              of       you if               they        could    have       got


           14
                    anybody     to       be a witness             from those                           communities you would


           15       have     them    here       today         they             had             the      opportunity               but    not


           16       one     witness        from       any    of      those                 and         thats          a     substantial


           17
                    part of our county                  its        really a much                             larger part of our


           18        county     than       the        small       part                  that           the      people        that       did


           19
                     appear    from Daingerfield and                                    Cason           represents.


           20                                     But basically                                 Your Honor                 its     just my


           21        feeling        that    publicity                happens                       in     any        criminal           case

           22        particularly          in any capital                      murder case you are certainly


            23       going to have publicity.                              I    dont believe                          there       has    been


                            showing                    substantial                          showing            by     the     Defendant
            24       any                    any


               25    that     would       require       change                 of         venue           to        another       district




                                                                                                                                          143
                                                             LLOYD   E.    BILLUPS        CSR 149
                                                                  ORRCAL COURT          REPORTER

                                                                           JUM
                                                                                   W
                                                                   76TH            LL   DISTRICT

                                                                     MT.   PLEAS         tons
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      1
               or    to    just    another            county               within                 the     district.

      2
                                                                             THE           COURT              Thank             you.

      3
                                                                             MR.           OLD            May     I    respond              Your

      4
               Honor

      5
                                                                             THE           COURT              Mr.          Old.

      6
                                                                             MR.                  OLD                 It        has         been

      7
               interesting             to me      in the            witnesses                        in    this        case        I    think

      8        its        obvious        I    dont              think             theres                  any         question          about

      9
               it     close       to    half      of        those            witnesses                    testified               that       Mr.


     10        Cole was their friend and they respected                                                         him and yet they

     11
               got    on    the    witness            stand           and said a man could                                       not    get    a


      12       fair       trial    in    this         county               for           killing             him.


      13
                                               Now           that            is        contrary              to       the       experience

      14       I    have     had       in    the           practice                     of        law        in       trying           to    get

      15
               changes       of    venue          I    have been                       told          a million              times           No
      16       Mr.    so    and so was             my friend                           Im         not     going            to    testify.

      17                                          But       there                is             no     rule           that        says       the


      18       witnesses          have       to       be    from the                       area         of    the          county           just


      19       have       good    knowledge                of    the           county                and      of       our       twenty       or


      20       so witnesses             today         Mr.       Ron           Cowan                  ex-county              judge           Head

      21       of     the    Department                of       Sociology                         at      North            --    Northeast

      22       Texas        Community              College                    is             the        most           credible              and

      23       informative             source          there              is.              He        told you              how Mr.          Cole


      24       knew       this    county              he    told             you           that         when          he    was    a    young

      25       man running             for    county            judge                     He         took       me up north                  and




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                                                                    76TH   AAICIAL     DISTRICT

                                                                    MT.    PLEASANT.    TEXAS
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      1
               they    talk      about        Morris county                         like            there      was       a    Civil War

      2
               going on here                  the       north and the                          south          its       not        fifteen


      3        miles up          there             its        about             a       fifteen              minute           drive       and


      4        thats        doing        it     legally.


      5                                            Now      Mr.       Cole took Mr.                           Cowan up into               the


      6        northern          territory               and he         introduced                       him around                and Mr.


      7        Cowan        told     you           what       good            he          did        up       in    the        northern


      8        territory as well as the southern territory.                                                              And he told


      9
               you    that       because            of    the    way            this               county      felt          about       Carl


      10       Cole        one    of      its       pioneer            favorite                     sons       and       a    man of       82



      11
               years       of    age      being          murdered                 that             the       man    could          not    get


      12       a    fair    trial        if    he was         accused                   of      having         killed Mr.               Cole.


      13                                            I    feel    that             we have produced                           sufficient


      14
               evidence            more        than       sufficient                           evidence            to    be       entitled


      15       to     our    change           of    venue        and we                   would          rest       the       same       with


      16       His Honor.

      17                                                                      THE          COURT              Thank          you.


      18                                            As if       the         Defendants                       position              Mr.   Old

      19        that       its      throughout                the           entire                 district             or    just        this


      20        county           There         is       no evidence                       of       course          and the motion


      21        under       law     if        its        transferred                         it     must       go       to    a    county

      22        adjacent         county         or at least a county                                    within          the    district.


      23                                                                      MR.          OLD           Your Honor                when you


          24    get    beyond        this          county        I     have               --       Im        not   going           to    waive


          25    the    issue         I    would          be     satisfied                         for    a    change          of    venue.




                                                                                                                                           145
                                                              LLOYD    E.   BILLUPS      CSR 149
                                                                 oRTCWL COURT           REPORTER

                                                                     76TH   AJDK.lAL DISTRICT

                                                                      MT.   PLEASANT.   Tows
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          1
                                                                                THE              COURT                If        you        get              the

          2
                   relief       that          you ask         for you can                        hardly complain about                                      it.

          3
                                                                               MR.               OLD        If    I        get    to another

          4
                   county       I    might        have         to    file              another              motion              but        I       dont

          5
                   anticipate             that        Your Honor.                            I     dont believe                       it           exists

          6        outside          this       county.

          7
                                                      I   would urge the Court if                                          they are going

          8        to    consider             the motion and grant it                                  consider                 Titus          county

          9        because          of    the    size.

j
         10                                                                     THE              COURT           My        logic            is          that


         11        its     the       only        county         with           any               substantial                --        that              its

         12        the    biggest by population.

         13                                                                     MR.              OLD        Its        the only county


         14        that    Im        aware       of       I    believe                 I         am right             it        can        have             two


         15        courtrooms             that       can       be    --       where                   court      can        go        on           in       one


         16        county.


         17                                                                     THE                COURT               Yes.                    I        have

         18        noticed          --    I    dont know-that                          there           is     ever          a    reason                 that


         19        a    judge       needs       to    assign when                      he          or she        steps           aside                  I    do


         20        note    that          both    of       the       elected                  judges         of        this        county                    did

         21
                   step    aside.


         22                                           Mt.       Pleasant                         is     how      many            miles                  from

         23        here

         24                                                                     MR.              OLD        Seventeen                      eighteen

         25        miles.




                                                                LLOYD   E.   BILLUPS        CSR 149                                                         146
                                                                     OFRIXAL COURr         REPORTER

                                                                      76TH   AIDIcw.   L1SR71CT

                                                                        W.   aEASwr.       TEXAS
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      1
                                                                                 THE           COURT                 I    know         we    talked

      2
               about    it    in chambers.                        The      Court is                     always             faced           with       the


      3
               problem        if        a     case          is        transferred                        is      that           it         could       be

      4
               contributive                  or suggestive                      that           the people                  of    a community


      5        somehow        or another                   are not              --        it       could be interpreted                                as


      6
               being criticism of                           the       county.                      I    think            into         that       it    is


      7
               not    inappropriate                         however              I    dont have                          the     statistical


      8        abstract            of         the          last        United                  States                census                for        this


      9        county         its             certainly something                                      that      I       can    take        note of


      10       and    Im      reasonably                   satisfied that                              the       average              population

      11       of    the     county               age      of     this county                          is     substantially                      high

      12
               certainly when                     its         compared                    with          a     fast         growing county

      13       such     as    Dallas or Collin or Denton.

      14                                               I    dont          think                that         it       would           be all           that


      15       burdensome               if     its         only relatively few miles not talking

      16        about      taking             a    host          of    witnesses                        and putting                       them        in   a



      17        hotel      and       so        forth         like         you             take          a    Tarrant              county              case


      18        and move           it        up to         the        panhandle                      somewhere.


      19                                                The       Defendant                        has      had           the        opportunity


      20        to   suggest             if       there         was     some              kind           of      problem about                        this


      21        case    being           tried anywhere                          but in the                    district                    outside of


      22        this    county               that       the      most logical                           one      obviously would                           be


      23        Titus        county            and         since       you           are             going           to    use         a    visiting


      24        judge         a     visiting                judge          is         to           try        this         case            its        only


       25       fifteen           miles           to       transfer                  it            to       transfer                 it     to    Titus




                                                                                                                                                       147
                                                                  LLOYD   E.    BILLUPS     CSR 149
                                                                       OERCLAL   COURT    REPORTER


                                                                        76TH    1AICIM.   DISTRICT

                                                                          MI.   REAWTI.    TD6.S
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      1
              county        within        the    district.


      2                                         Gentlemen                  on       the           assumption that                    some


      3
               judge       actually       gets        designated                    to        hear          this       case    within


      4
               a relatively short order --                              Im          aware of why                   Judge       Thorpe

      5        had    to    step       aside because                  of     his             family           a    death           in the


      6
               family         is   this        case    ready            to.go                to    trial

      7
                                                Apparently                  the            Defendant               has        been       in


      8        jail    what        a    year

      9                                                                 MR.           TOWNSEND                     Longer            than


     10        that.


     11                                                                 THE          COURT              More than             a     year

      12                                                                MR.          OLD            Not       --       its         not   my

      13       fault.


      14                                                                THE COURT                       I    know you haven                t



      15       had         much        time     but     could               you              give           the        Court            some


      16
               suggestion              about    how long it                 would                take       you to get ready

      17                                                                MR.          OLD           Your Honor                 if    I    can




      --21
      18       get     --    if    the    Court gave              the           date             mid to       late       September


     .1        and     I    knew       that     in    the   next            week             I    am confident                 I    could


      20       be ready            I    would        like   at         least


                                                                           THE        COURT                 How    much

      22                                                                 MR.           OLD              --        at    least           four


      23.      weeks        before       jury selection.


      24                                                                   MR.        TOWNSEND                    Thats        as much


      25        notice       as    I    need.




                                                                                                                                         148
                                                        LLOYD    E.   BILLUPS      CSR 149
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                                                                761H.AIcL     L DISTRICT

                                                                MT.   PLEASANT.   TEXAS
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      1
                                                                          MR.           OLD            I    dont want                      it    to


      2        rock    along       and not           have       a         setting                and hear                 it     the        week


      3        before       its        set.


      4                                                                   MR.            TOWNSEND                     I       would         hope

      5
               we    would       be able        to   do     something                           by    then.


      6                                                                   MR.             OLD              When           I     took            this


      7
               assignment          I     represented             that               I     could            do my work                 and get


      8        ready.


      9                                                                    THE            COURT                 I   have         absolute


      10       confidence          in both           of    the        lawyers                    in        the      case        being             to


      11       be able to take                care    of    your half                           of    the       case without                     any


      12       problem.

      13                                        Would       there               be              so    far as          anything                  new

      14
               any     particular             business              between                      the       19th           of    September


      15        and the      27th

      16                                        Now Im speaking                                      real fast here knowing


      17        I   dont know who                the       judge              is         going             to    be       but        if     there


      18        are two      courtrooms so far as you know                                             I    would              assume that


          19    given       the    age     of    the       case              and             the       cooperation                    of        both


      20        judges       that        would       it    --        in         Titus                county               is     the        usual


      21        time       for    them to        have       jury panels


      22                                                                    MR.             OLD             Theres               a        statute


          23    on    it     in    this       case        we have               to          have       it        in our          hands            ten


                business days before                      selection                      in a capital                     case            theres
          24



          25    a    rule    on    it.




                                                                                                                                                  149
                                                           LLOYD    E.    BILLUPS       CSR 149
                                                                ORIcIAL     COURT     REPORTER

                                                                 76TH     .LDcIA      DSIRICT

                                                                    MT.   PLEASMJT.     TD AS
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                                                                                THE         COURT                I    understand.                    But

      2
               I    also    think        this    case          needs                  to         go       forward           whatever                 its

      3
               outcome        is    going       to    be       it            needs                   to   be     tried.

      4
                                                Maybe           the             best                 thing           to    do        is    suggest

      5
               the    26th.


      6
                                                What          Im           going to                       do    is        just       set       it    for

      7
               Monday         the    26th       of    September                            obviously                  that           whoever          is

      8
               assigned        permanently                    to       the            case                may    have           a     different

      9        date    but     at        least       we       can          start                 getting              somewhere                 to    go

     10        to    trial.


     11
                                                Now           Mr.            Old                 I    note           that        the       statute

     12
               provides        that       the    Clerk of                    the         Court move                       the records                and

     13        so    forth over.


     14
                                                As        a        practical                              matter           is        there           any

     15
               particular           --    given testimony that the Defendants                                                                  family

     16        is    here     is    there       any reason                      to         transfer                  the    Defendant                 at

     17
               any    time     early

     18
                                                                                MR.             OLD             You        mean           from       the

     19
               county

     20                                                                         THE          COURT                        Yes.            I     would

     21        assume       that         he   would           prefer                  to             be    closer           to        where          his


     22        people       are      and      this        county                  not                bear       the        burden              of    per

     23        diem    if     Titus       county          would                 choose                    to    charge           a    per diem.

     24                                                                         MR.              OLD            He        would           be    happy

     25        staying here              and prefer                  staying                         here.




                                                          LLOYD      E.    BILLUPS     CSR 149                                                       150
                                                                OF   RCIAL   COURT    REPORTER

                                                                   76TH    AX         DISIPICT

                                                                     MT.   PLEASAM.    TIJUIS
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      --3
      1
                                               The    only           thing                I     would    like.when              trial


      2        starts       that


                                                                         THE             COURT          Once        it    begins        I


      4        would       think       there    is    a    lot           of         reasons            for    the       ability        to


       5
               try    the    case       at    that    time           or         sometime shortly before                                an

       6       actual       trial      starts to physically transfer                                          the Defendant.


       7       In    the    meantime at the Defendant.s                                         request           hes     going        to

       8       be    left    here.


       9                                        Anything                 else             at    all     that        we    can        deal


      10       with        gentlemen

      1.1                                                                 MR.             TOWNSEND                No.


      12                                                                   THE            COURT              All        right.         We


      13       will     stand in recess               in       this matter until                               --    is    900        the


      14       usual        starting         time    in Titus                       county

      15                                                                   MR.            OLD           Thats            the     usual


      16       starting          time     in Titus          county.


      17                                                                   THE            COURT          Mr.      Clerk         if    you


      18       would        be    kind       enough       to      oblige                   me by        talking           with your


      19        counterpart             Monday       and          see               if         theres         any        logistical


      20        problem and see if                  they can                gear up                  to do    a    jury list          and


      21        summons          for    that.        Dont           send                 them out        yet but           just       get


      22        he    work       started       so    that         it         could              be    done.


       23                                       We    dont need                            any       further record.


       24



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                                                                                                                                       151
                                                          LLOYD     E.   BILLUPS         CSR 149
                                                               ORTCRAL COURT         REPORTER

                                                                  76TH   JUDICIAL   DISTRICT

                                                                   MT.   PLEASAM.    TEXAS
Case 4:04-cv-00408-MAC Document 44-10 Filed 12/11/17 Page 161 of 164 PageID #: 1599

       1
               STATE    OF    TEXAS

      2
               COUNTY    OF    TITUS

      3




      4
                                            I     Lloyd               E.         Billups            CSR    149       and

      5        Official       Court        Reporter          in         and           for    the    76th     Judicial

      6
               District        State        of    Texas              do        hereby          certify     that      the


      7        above     and     foregoing              contains                       a    true     and      correct

      8
               transcription          of    the   proceedings                         in the    above-styled         and

      9        numbered       causes        all    of    which               occurred           in open      court    or


     10        in   chambers     on August             12         1994          and were           reported by me.

     11                                     I          further                        certify         that          this


      12       transcription          of    the   record              of       the proceedings             truly and

      13       correctly       reflects          the    exhibits                      if    any     offered    by    the


      14
               respective       parties.


      15                                    WITNESS           MY        HAND           this    29 7-W          day    of


      16
               September        1995.


      17




      18


               LLOYD E. BILLUPS  CSR 149    OFFICIAL COURT                                             REPORTER
      19       76TH JUDICIAL DISTRICT  STATE OF TEXAS


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                                                   LLOYD     E.   BILLUPS    CSR      149                            152
                                                        oFRCM       CCURT   REPORTM
                                                           76TH JIAICLAL CISR2tCT


                                                            MY. P   AtM.1O      .
Case 4:04-cv-00408-MAC Document 44-10 Filed 12/11/17 Page 162 of 164 PageID #: 1600

      1
               Certification   Number of        Reporter                            149


      2
               Expiration Date    of   Certification                                12/31/96

      3        Business Address        Drawer              1868
                                       Mt.     Pleasant                           Texas   75456-1868
      4


               Telephone   Number      903/577-6735
       5


               Transcribed   By        Tandra              K.         Gibson
       6




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                                             LLOYD    E.   BILLUPS     CSR 149
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                                                     Mr.   RFASAM.     TD AS
    Case 4:04-cv-00408-MAC Document 44-10 Filed 12/11/17 Page 163 of 164 PageID #: 1601

           1
                                              The      within                          and     foregoing         pages

          2
                   including      this    page       having               been            examined by      the    Court

          3
                   are   found    to   be a     true    and correct                          transcription       of   the

          4        statement      of    facts    and other                      proceedings          all    of    which

           5
                   occurred      in    open   court     or         in chambers                  and were reported

          6
                   by the   Official Court Reporter.

           7
                                              SIGNED                   this                                day        of

          8
                                                       A.D.              1995.


          9



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                                              PAUL     BANNER
          13.                                 Judge     by Judicial                          Assignment

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                                                     LLOYD   E.    BILLUPS      CSR 149                               154
                                                        oFEHCiAL     COURT     REPORTIR

                                                          76TH     AAICIAL     DSITICT

                                                             MT.   PLEASANT.    TJAS
Case 4:04-cv-00408-MAC Document 44-10 Filed 12/11/17 Page 164 of 164 PageID #: 1602                                      1V




      1
                                        We    the undersigned                             attorneys of         record


               for    the                    parties                  do          hereby         agree    that    the
      2
                             respective

      3
               foregoing        pages        constitute                       a           true     and     correct


      4        transcription       of      the    statement                          of     facts        and    other


      5
               proceedings       in the    above-styled                       and numbered               cause    all


      6        of    which   occurred     in open          court              or      in chambers         and were


      7        reported      by the     Official         Court Reporter.


      8                                  SIGNED                 this                                      day      of


      9                                          A.D.               1995.


      10




      11




      12




      13

                                          Attorney              for       the        State
      14




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      16                                  Attorney              for        the       Defendant


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                                                 LLOYD    E.    BILLUPS    CSR 149

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                                                          MT. PLEASANT.   TDU15
